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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Dan Wang,                                  )
                               Plaintiff,  )
                                           ) Case No. 1:21-cv-01664
                                           )
                               v.          ) Dist. Judge Virginia M. Kendall
The Partnerships and                       )
Unincorporated Associations                ) Mag. Judge Sheila M. Finnegan
Identified in Schedule “A,”                )
                               Defendants. )

             Unreported Opinions Cited in Plaintiff’s Memorandum in
       Support of Plaintiff’s Motion for Entry of Default and Default Judgement
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BENEFIT COSMETICS LLC,
                                                      Case No. 19-cv-02179
                       Plaintiff,
                                                      Judge Manish S. Shah
       v.
                                                      Magistrate Judge Young B. Kim
BESTTOMORROW STORE, et al.,

                       Defendants.


                                FINAL JUDGMENT ORDER

       This action having been commenced by Plaintiff Benefit Cosmetics LLC (“Benefit” or

“Plaintiff”) against the defendants identified on Schedule A, and using the Online Marketplace

Accounts (collectively, the “Defendant Internet Stores”), and Benefit having moved for entry of

Default and Default Judgment against the defendants identified on Schedule A attached hereto

(collectively, the “Defaulting Defendants”);

       This Court having entered upon a showing by Benefit, a temporary restraining order and

preliminary injunction against Defaulting Defendants which included an asset restraining order;

       Benefit having properly completed service of process on Defaulting Defendants, the

combination of providing notice via electronic publication and e-mail, along with any notice that

Defaulting Defendants received from payment processors, being notice reasonably calculated

under all circumstances to apprise Defaulting Defendants of the pendency of the action and

affording them the opportunity to answer and present their objections; and

       Defaulting Defendants having failed to answer the Amended Complaint or otherwise plead,

and the time for answering the Amended Complaint having expired;




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       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants since Defaulting Defendants directly target their business activities toward consumers

in the United States, including Illinois. Specifically, Defaulting Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using counterfeit versions

of the BENEFIT Trademarks (a list of which is included in the below chart).

REGISTRATION             REGISTERED                             INTERNATIONAL
  NUMBER                 TRADEMARK                                 CLASSES
                                                For: Skin cleansers, cream, lotion, masks,
                                                moisturizer, concealers, scrubs, non-medicated
                                                lip balm; body cream, oil, and scrubs; makeup;
                                                lipstick; lip gloss; eye makeup; blush; mascara;
                                                cosmetic pencils; sun block; self-tanning skin
                                                preparations; facial cleaners, creams, masks and
                                                scrubs; perfume; cologne; scented body spray;
                                                makeup remover in Class 003.

                                                For: Cosmetic bags sold empty in Class 018.
   3,278,031
                                                For: Cosmetic brushes; makeup brushes in
                                                Class 021.

                                                For: Retail store services, online retail store
                                                services, and distributorship services in the field
                                                of cosmetics in Class 035.

                                                For: Beauty services, namely, body and facial
                                                waxing services, brow grooming services, brow
                                                and lash tinting services, skin treatment services
                                                in Class 044.
                                                For: Clothing, namely, T-shirts and aprons in
   3,345,041
                                                Class 025.
                                                For: Beauty services, namely, body and facial
                                                waxing services, brow grooming services, brow
   2,906,665               BENEFIT
                                                and lash tinting services, skin treatment services
                                                in Class 044.




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REGISTRATION        REGISTERED                           INTERNATIONAL
  NUMBER            TRADEMARK                                 CLASSES
                                        For: Cosmetics; namely, skin cleansing creams;
                                        night creams; facial creams; skin fresheners;
                                        masques or facial packs; bath oils; perfumed
                                        bath oils; colognes; eye shadow; mascara;
                                        lipstick; lip gloss; rouge; liquid rouge; body
  2,799,579           BENEFIT
                                        lotions; sun tan lotion and sun tan ultraviolet
                                        block in Class 003.

                                        For: Retail store and distributorship services in
                                        the field of cosmetics in Class 035.
                                        For: Retail store and distributorship services in
  1,772,618           BENEFIT
                                        the field of cosmetics in Class 042.
                                        For: Skin cleansers, cream, lotion, masks,
                                        moisturizer, concealers, scrubs; non-medicated
                                        lip balm; body cream, oil and scrubs; makeup;
                                        lipstick; lip gloss; eye makeup; blush; mascara;
                                        cosmetic pencils; sun block; self-tanning skin
                                        preparations; facial cleaners, creams, masks and
  3,275,963           BENEFIT           scrubs; perfume; cologne; scented body spray;
                                        makeup remover in Class 003.

                                        For: Cosmetic bags sold empty in Class 018.

                                        For: Cosmetic brushes; makeup brushes in
                                        Class 021.
                                        For: Makeup, namely brightening face powder
  2,762,562         DANDELION
                                        in Class 003.
  5,164,988         DANDELION           For: Makeup in Class 003.
  5,155,736            HOOLA            For: Cosmetics in Class 003.
  2,716,260           HOOLA             For: Cosmetic bronzer in Class 003.
  5,241,989         GALIFORNIA          For: Cosmetics; make-up powder in Class 003.
  4,437,019         ROCKATEUR           For: Cosmetics in Class 003.
                                        For: Cosmetics, namely, lip and cheek stain in
  2,263,073          BENETINT
                                        Class 003.
                                        For: Cosmetics, namely, makeup sealer in Class
  2,261,089           SHE-LAQ
                                        003.
  2,043,306        BOO BOO ZAP          For: Lotions-facial-medicated in Class 005.
  5,156,103           BOI-ING           For: Cosmetics in Class 003.
  2,012,121           BOI-ING!          For: Cosmetics, namely, eye area concealers in

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REGISTRATION              REGISTERED                            INTERNATIONAL
  NUMBER                  TRADEMARK                                CLASSES
                                                Class 003.
                                                For: cosmetics; eyebrow colors; eyebrow
     4,877,214          GIMME BROW
                                                cosmetics; eyebrow gel in Class 003.
                                                For: Cosmetics; eyebrow color; eyebrow
     5,028,067            KA-BROW!
                                                cosmetics; eyebrow gel in Class 003.
                                                For: Cosmetics; skincare preparations, namely,
     3,839,146     THE POREFESSIONAL
                                                facial lotions and makeup primer in Class 003.
                                                For: Cosmetics; mascara in Class 003.
     4,071,771          THEY'RE REAL
                                                For: Cosmetics, namely, facial highlighter in
     2,263,076           HIGH BEAM
                                                Class 003.

     4,548,049                                  For: Cosmetics; facial highlighter in Class 003.



     4,752,213          ROLLER LASH             For: Mascara, cosmetics in Class 003.


        THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful federal

trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15

U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS

§ 510, et seq.).

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and that

this Final Judgment is entered against Defaulting Defendants.

        IT IS FURTHER ORDERED that:

1.      Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

        confederates, and all persons acting for, with, by, through, under, or in active concert with

        them be permanently enjoined and restrained from:

        a. using the BENEFIT Trademarks or any reproductions, counterfeit copies or colorable

            imitations thereof in any manner in connection with the distribution, marketing,

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         advertising, offering for sale, or sale of any product that is not a genuine Benefit product

         or not authorized by Benefit to be sold in connection with the BENEFIT Trademarks;

      b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

         Benefit product or any other product produced by Benefit, that is not Benefit’s or not

         produced under the authorization, control or supervision of Benefit and approved by

         Benefit for sale under the BENEFIT Trademarks;

      c. committing any acts calculated to cause consumers to believe that Defaulting

         Defendants’ products are those sold under the authorization, control or supervision of

         Benefit, or are sponsored by, approved by, or otherwise connected with Benefit;

      d. further infringing the BENEFIT Trademarks and damaging Benefit’s goodwill; and

      e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

         storing, distributing, returning, or otherwise disposing of, in any manner, products or

         inventory not manufactured by or for Benefit, nor authorized by Benefit to be sold or

         offered for sale, and which bear any of Benefit’s trademarks, including the BENEFIT

         Trademarks, or any reproductions, counterfeit copies or colorable imitations thereof.

2.    Defaulting Defendants and any third party with actual notice of this Order who is providing

      services for any of the Defaulting Defendants, or in connection with any of the Defendant

      Internet Stores or other online marketplace accounts operated by Defaulting Defendants,

      including, without limitation, any online marketplace platforms such as iOffer, eBay,

      AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts, sponsored search engine

      or ad-word providers, credit cards, banks, merchant account providers, third party

      processors and other payment processing service providers, and Internet search engines




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      such as Google, Bing, and Yahoo (collectively, the “Third Party Providers”) shall within

      three (3) business days of receipt of this Order:

      a. disable and cease providing services being used by Defaulting Defendants, currently or

         in the future, to engage in the sale of goods using the BENEFIT Trademarks;

      b. disable and cease displaying any advertisements used by or associated with Defaulting

         Defendants in connection with the sale of counterfeit and infringing goods using the

         BENEFIT Trademarks; and

      c. take all steps necessary to prevent links to the Defendant Internet Stores identified on

         Schedule A from displaying in search results, including, but not limited to, removing

         links to the Defendant Internet Stores from any search index.

3.    Pursuant to 15 U.S.C. § 1117(c)(2), Benefit is awarded statutory damages from each of the

      Defaulting Defendants in the amount of two hundred thousand dollars ($200,000) for

      willful use of counterfeit BENEFIT Trademarks on products sold through at least the

      Defendant Internet Stores. The two hundred thousand dollar ($200,000) award shall apply

      to each distinct Defaulting Defendant only once, even if they are listed under multiple

      different aliases in the Amended Complaint and Schedule A.

4.    Any Third Party Providers holding funds for Defaulting Defendants, including PayPal, Inc.

      (“PayPal”), Alipay, Wish.com, and Amazon Pay, shall within two (2) business days of

      receipt of this Order, permanently restrain and enjoin any non-U.S. based accounts

      connected to Defaulting Defendants or the Defendant Internet Stores from transferring or

      disposing of any money or other of Defaulting Defendants’ assets.

5.    All monies currently restrained in Defaulting Defendants’ financial accounts, including

      monies held by Third Party Providers such as PayPal, Alipay, Wish.com, and Amazon Pay,



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      are hereby released to Benefit as partial payment of the above-identified damages, and

      Third Party Providers, including PayPal, Alipay, Wish.com, and Amazon Pay, are ordered

      to release to Benefit the amounts from Defaulting Defendants’ financial accounts within

      ten (10) business days of receipt of this Order.

6.    Until Benefit has recovered full payment of monies owed to it by any Defaulting

      Defendant, Benefit shall have the ongoing authority to serve this Order on Third Party

      Providers, including PayPal, Alipay, Wish.com, and Amazon Pay, in the event that any

      new financial accounts controlled or operated by Defaulting Defendants are identified.

      Upon receipt of this Order, Third Party Providers, including PayPal, Alipay, Wish.com,

      and Amazon Pay, shall within two (2) business days:

      a. locate all accounts and funds connected to Defaulting Defendants or the Defendant

         Internet Stores, including, but not limited to, any financial accounts connected to the

         information listed in Schedule A hereto, the e-mail addresses identified in Exhibit 3 to

         the Declaration of Ashli Weiss, and any e-mail addresses provided for Defaulting

         Defendants by third parties;

      b. restrain and enjoin such accounts or funds that are not U.S. based from transferring or

         disposing of any money or other of Defaulting Defendants’ assets; and

      c. release all monies restrained in Defaulting Defendants’ financial accounts to Benefit as

         partial payment of the above-identified damages within ten (10) business days of

         receipt of this Order.

7.    In the event that Benefit identifies any additional online marketplace accounts or financial

      accounts owned by Defaulting Defendants, Benefit may send notice of any supplemental

      proceeding to Defaulting Defendants by e-mail at the e-mail addresses identified in Exhibit



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       3 to the Declaration of Ashli Weiss and any e-mail addresses provided for Defaulting

       Defendants by third parties.

8.     The ten thousand dollar ($10,000) cash bond posted by Benefit, including any interest

       minus the registry fee, is hereby released to Benefit or its counsel, Greer, Burns & Crain,

       Ltd. The Clerk of the Court is directed to return the cash bond previously deposited with

       the Clerk of the Court to Benefit or its counsel by check made out to the Greer, Burns &

       Crain IOLTA account.

This is a Final Judgment.


DATED: June 5, 2019


                                            Manish S. Shah
                                            United States District Judge




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                                          Schedule A



No.   Defendant Name / Alias                      No.   Defendant Name / Alias
  1   Besttomorrow Store                            2   Blue Chip Stamps Store
  3   boomdealer Store                              4   Brand Cosmetic Store
  5   Eldridge Makeup Store                         6   DISMISSED
  7   hcx makeup store                              8   DISMISSED
  9   kisslover Store                              10   LaMuseland Beauty Store
 11   Life Of Thrones Store                        12   Makeup Store
 13   MERBOX Store                                 14   O.TWO.O Store
 15   OHC Makeup Store                             16   PerfectLady Store
 17   QiBest Makeup Store                          18   DISMISSED
 19   Rocooart Fashion ( Min. Order 0.7            20   Sexy Beautiful Store
      USD )
 21   Shop1454059 Store                           22    SuYuan Store
 23   Tender Heart                                24    Wonderland Nail Store
 25   Yaduo Store                                 26    Your Beautiful Store
 27   DISMISSED                                   28    DISMISSED
 29   All Shopping For You                        30    AmyBeautyCouple Store
 31   Anne_Shop                                   32    Armand Makeup Store
 33   Beautealth Store                            34    Beautiful Nainen Store
 35   Beautys Shopping Store                      36    BeautySnake Store
 37   Be‐Beautiful Store                          38    Beijing GreatTool Trading Co., Ltd.
 39   Brand Makeup Store                          40    ByDressing Store
 41   Cacifer Store                               42    caizhuangjiaci Store
 43   Celeste Shopping Store                      44    DISMISSED
 45   ColorBeauty Store                           46    Colored World Store
 47   Crazy Feng Fashion Jewelry                  48    Daily Makeup Store
 49   Delicate Make Up Store                      50    Dropship Makeup Store
 51   DISMISSED                                   52    DTzone Store
 53   e‐fashion shop                              54    E‐Makeup Store
 55   Exquisite Makeup Store                      56    Fashion Health&Beauty
 57   First Choosing Store                        58    Gagga Make‐up Store
 59   Go Shop Store                               60    Good quality parity Store
 61   High Quality Makeup Brush Store             62    HIS Store
 63   HitTime Store                               64    HongQI Store
 65   hotbuy88 Store                              66    HZ Beautys Store


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No.   Defendant Name / Alias                  No.   Defendant Name / Alias
 67   In Shop Store                            68   iStar‐Watch Store
 69   JaneDream Store                          70   Kadalado Store
 71   Karry Store                              72   DISMISSED
 73   Little Grace                             74   LUCY 2 Store
 75   Lucy omar 3 Store                        76   Makeup City Store
 77   Makeup Diary Store                       78   DISMISSED
 79   Maquiagem Cosmetic Store                 80   mary makeup Store
 81   Mellifluous Store                        82   mesro makeup Store
 83   MixFair Store                            84   DISMISSED
 85   PICK ME UP Store                         86   Pretty Beautys Store
 87   DISMISSED                                88   Red Dieny Store
 89   Shine‐Makeup Store                       90   DISMISSED
 91   Shop2942211 Store                        92   Shop3103036 Store
 93   Shop3674062 Store                        94   Shop3857092 Store
 95   Shop4398029 Store                        96   Shop4410080 Store
 97   Shop4599008 Store                        98   shoppingsouls
 99   Star cool fashion beauty makeup         100   Tomorrow Store
      Store
101   Two Faced Store                         102   VSChrome Store
103   WarmFamily                              104   webeauty
105   DISMISSED                               106   Women Outlet Store
107   Wondery Store                           108   1st.ing
109   anybestbuy                              110   charming202018
111   DISMISSED                               112   disiky
113   efashionshop2018                        114   DISMISSED
115   fashionhome_9                           116   fvja6588
117   hulushop2010                            118   DISMISSED
119   jigaid                                  120   DISMISSED
121   kangh18                                 122   DISMISSED
123   mobilekits                              124   DISMISSED
125   new‐decor‐led                           126   DISMISSED
127   pomelored                               128   rowyal
129   saverroad                               130   sgert
131   shopuwant01                             132   DISMISSED
133   DISMISSED                               134   DISMISSED
135   DISMISSED                               136   worthbuyer
137   zxw0826                                 138   beauty100years
139   bestielady                              140   binbinxiao
141   chengdashop                             142   chenlunying
143   cleeentree                              144   Colorcloud


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No.   Defendant Name / Alias                  No.   Defendant Name / Alias
145   fanjunxi                                146   Fashion Monkey
147   fashionow                               148   fireball
149   grapessfruit                            150   Hibuyshop
151   lilijc shopping                         152   lkkjabc
153   minminnvzhuang                          154   Miss Right Store
155   Really Interesting                      156   scalfphoto
157   shanghaixinshunhui                      158   shunzistory
159   smalldreamer                            160   suiliang
161   DISMISSED                               162   THESHIM
163   unisun                                  164   DISMISSED
165   wuxiuhui                                166   xumeiqin
167   YesILike


No.   Defendant Marketplace URL               No.    Defendant Marketplace URL
  1   aliexpress.com/store/1944831              2    aliexpress.com/store/4239029
  3   aliexpress.com/store/335082               4    aliexpress.com/store/4134009
  5   aliexpress.com/store/3257025              6    DISMISSED
  7   aliexpress.com/store/3276010              8    DISMISSED
  9   aliexpress.com/store/2961106             10    aliexpress.com/store/1241405
 11   aliexpress.com/store/2846072             12    aliexpress.com/store/2346259
 13   aliexpress.com/store/2804196             14    aliexpress.com/store/1945379
 15   aliexpress.com/store/2808073             16    aliexpress.com/store/1726310
 17   aliexpress.com/store/4223059             18    DISMISSED
 19   aliexpress.com/store/934706              20    aliexpress.com/store/2179027
 21   aliexpress.com/store/1454059             22    aliexpress.com/store/3223129
 23   aliexpress.com/store/1982240             24    aliexpress.com/store/3092083
 25   aliexpress.com/store/4618044             26    aliexpress.com/store/4411041
 27   DISMISSED                                28    DISMISSED
 29   aliexpress.com/store/1833547             30    aliexpress.com/store/2664208
 31   aliexpress.com/store/1333683             32    aliexpress.com/store/2945169
 33   aliexpress.com/store/2787109             34    aliexpress.com/store/1110720
 35   aliexpress.com/store/3768002             36    aliexpress.com/store/3872019
 37   aliexpress.com/store/3683067             38    aliexpress.com/store/908839
 39   aliexpress.com/store/4152005             40    aliexpress.com/store/136475
 41   aliexpress.com/store/1777245             42    aliexpress.com/store/4652134
 43   aliexpress.com/store/1793024             44    DISMISSED
 45   aliexpress.com/store/3139046             46    aliexpress.com/store/3202015
 47   aliexpress.com/store/938447              48    aliexpress.com/store/2892022
 49   .aliexpress.com/store/2959241            50    aliexpress.com/store/3202061
 51   DISMISSED                                52    aliexpress.com/store/727200

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No.   Defendant Marketplace URL               No.   Defendant Marketplace URL
 53   aliexpress.com/store/526261              54   aliexpress.com/store/4398032
 55   aliexpress.com/store/4380019             56   aliexpress.com/store/1849697
 57   aliexpress.com/store/3146006             58   aliexpress.com/store/2663169
 59   aliexpress.com/store/2493001             60   aliexpress.com/store/4423022
 61   aliexpress.com/store/2987004             62   aliexpress.com/store/3216076
 63   aliexpress.com/store/100071              64   aliexpress.com/store/4035013
 65   aliexpress.com/store/1212387             66   aliexpress.com/store/2960242
 67   aliexpress.com/store/2412096             68   aliexpress.com/store/1846158
 69   aliexpress.com/store/718137              70   aliexpress.com/store/431207
 71   aliexpress.com/store/4428162             72   DISMISSED
 73   aliexpress.com/store/1793028             74   aliexpress.com/store/4428184
 75   aliexpress.com/store/2847028             76   aliexpress.com/store/2899018
 77   aliexpress.com/store/1962140             78   DISMISSED
 79   aliexpress.com/store/2917009             80   aliexpress.com/store/4446044
 81   aliexpress.com/store/4377031             82   aliexpress.com/store/2224084
 83   aliexpress.com/store/2952105             84   DISMISSED
 85   aliexpress.com/store/2955069             86   aliexpress.com/store/4239020
 87   DISMISSED                                88   aliexpress.com/store/1929321
 89   aliexpress.com/store/2798158             90   DISMISSED
 91   aliexpress.com/store/2942211             92   aliexpress.com/store/3103036
 93   aliexpress.com/store/3674062             94   aliexpress.com/store/3857092
 95   aliexpress.com/store/4398029             96   aliexpress.com/store/4410080
 97   aliexpress.com/store/4599008             98   aliexpress.com/store/1804712
 99   aliexpress.com/store/4046106            100   aliexpress.com/store/1231833
101   aliexpress.com/store/4050010            102   aliexpress.com/store/1667578
103   aliexpress.com/store/1161791            104   aliexpress.com/store/1216104
105   DISMISSED                               106   aliexpress.com/store/3515096
107   aliexpress.com/store/2805128            108   ebay.com/usr/1st.ing
109   ebay.com/usr/anybestbuy                 110   ebay.com/usr/charming202018
111   DISMISSED                               112   ebay.com/usr/disiky
113   ebay.com/usr/efashionshop2018           114   DISMISSED
115   ebay.com/usr/fashionhome_9              116   ebay.com/usr/fvja6588
117   ebay.com/usr/hulushop2010               118   DISMISSED
119   ebay.com/usr/jigaid                     120   DISMISSED
121   ebay.com/usr/kangh18                    122   DISMISSED
123   ebay.com/usr/mobilekits                 124   DISMISSED
125   ebay.com/usr/new‐decor‐led              126   DISMISSED
127   ebay.com/usr/pomelored                  128   ebay.com/usr/rowyal
129   ebay.com/usr/saverroad                  130   ebay.com/usr/sgert
131   ebay.com/usr/shopuwant01                132   DISMISSED


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No.   Defendant Marketplace URL               No.   Defendant Marketplace URL
133   DISMISSED                               134   DISMISSED
135   DISMISSED                               136   ebay.com/usr/worthbuyer
137   ebay.com/usr/zxw0826                    138   wish.com/merchant/
                                                    592794cd63826c41eda696a6
139 wish.com/merchant/                        140   wish.com/merchant/
    52421a4c5aefb0148ca30bb1                        5928f323fc9cce0fd290cfed
141 wish.com/merchant/                        142   wish.com/merchant/
    59dc74c7b0a09e3dd1818b6a                        584bcdcf2c9bcc4c97fe7748
143 wish.com/merchant/                        144   wish.com/merchant/
    5972a87ee534480b69e99b2f                        597e959eec40ae58a10d377c
145 wish.com/merchant/                        146   wish.com/merchant/
    59ea0e2de6503330d128fb1a                        547d6c355c47450f67c70754
147 wish.com/merchant/                        148   wish.com/merchant/
    599d4f9e90a0f11dbd4029ef                        57ea22b9f22a04472ece6d61
149 wish.com/merchant/                        150   wish.com/merchant/
    5b87717f6cff99085986df2a                        57dce5cbd7ae491066172552
151 wish.com/merchant/                        152   wish.com/merchant/
    57cfce9c7e10335a59ffecab                        5b56a6155d643e16ba8eaf0d
153 wish.com/merchant/                        154   wish.com/merchant/
    58e4ee1bfbfadd10577aea9b                        57b8844271206621c0e5063f
155 wish.com/merchant/                        156   wish.com/merchant/
    59449ee18b96023556ad2a69                        598d6647eea5c53090e280ca
157 wish.com/merchant/                        158   wish.com/merchant/
    59de2b969aee093d378db549                        5a323ead7f9ae5578b1e3477
159 wish.com/merchant/                        160   wish.com/merchant/
    58ec9c1ed2812f144fa13b11                        584a4f922f5e531e7662cdfc
161 DISMISSED                                 162   wish.com/merchant/
                                                    576c8f4a9307ad6bb3c3ef5d
163 wish.com/merchant/                        164   DISMISSED
    5816f16c9357ed198beeab0b
165 wish.com/merchant/                        166 wish.com/merchant/
    589f289c42f60e5109ae03b3                      58df6f9f2f3d176561257bcf
167 wish.com/merchant/
    58afd95cf512505051344b98




                                         13
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                                                                          Honorable PAUL A. CROTTY, District Judge.
      KeyCite Yellow Flag - Negative Treatment
Distinguished by LVL XIII Brands, Inc. v. Louis Vuitton Malletier S.A.,
S.D.N.Y., September 13, 2016
                                                                          NATURE OF THE CASE
                   2010 WL 199906
                                                                           *1 On May 22, 2007, Plaintiffs Burberry Limited and
     Only the Westlaw citation is currently available.
                                                                          Burberry USA (“Burberry” or “Plaintiffs”) commenced
              United States District Court,
                                                                          this action against defendants Designers Imports, Inc. d/
                    S.D. New York.
                                                                          b/a Designers Imports.Com USA, Inc. (“Designers” or
                                                                          “Defendant”). Their Amended Complaint, filed June 5, 2007,
             BURBERRY LIMITED AND                                         alleges that Defendant used, sold, and advertised merchandise
             BURBERRY USA, Plaintiffs,                                    bearing three counterfeit Burberry registered trademarks: the
                          v.                                              Burberry name, the Burberry Check design, and the Burberry
                                                                          “Equestrian Knight” on horseback device.
            DESIGNERS IMPORTS, INC.,
            d/b/a Designers Imports.Com                                   Burberry brings claims of trademark counterfeiting and
                                                                          infringement pursuant to 15 U.S.C. § 1114(1)(a); false
                USA, Inc., Defendant.
                                                                          designation of origin and trademark dilution pursuant to 15
                                                                          U.S.C. § 1125(a)(1) (A); common law claims for breach
                      No. 07 Civ. 3997(PAC).
                                                                          of contract and unjust enrichment; trademark infringement
                                 |
                                                                          and unfair competition in violation of New York common
                          Jan. 19, 2010.
                                                                          law; and trademark dilution pursuant to 15 U.S.C. § 1125(c);
                                                                          likelihood of injury to business reputation pursuant to New
 West KeySummary                                                          York General Law Section 360–1; and deceptive acts and
                                                                          practices pursuant to New York General Law Section 349.
                                                                          Burberry seeks statutory damages and attorneys' fees and
 1        Trademarks           Counterfeiting
                                                                          costs, and various forms of injunctive relief, including
          Trademarks           Imports and Exports                        a permanent injunction barring Defendant from selling
          Designer was entitled to relief on its                          Burberry-branded merchandise.
          claim that importer committed trademark
          counterfeiting and infringement under the
          Lanham Act through its unauthorized use of                      Defendant claims half-heartedly that it did not sell counterfeit
          designer's trademarks. The parties stipulated that              Burberry-branded merchandise, but its real argument is that
          designer had valid registered marks entitled                    it was an innocent infringer whose actions were not willful
          to protection under the Act. Importer offered                   and were not the product of willful blindness. Defendant also
          for sale and sold merchandise displaying                        claims that Burberry has not come to Court with clean hands
          spurious designations that were identical to, or                and so Burberry is not entitled to damages, attorney's fees or
          substantially indistinguishable from, designer's                costs.
          famous, registered trademarks on goods for
          which designer trademarks were registered.                      WAIVER OF JURY AND TRIAL
          Lanham Act, § 32(1)(a), 15 U.S.C.A. § 1114(1)
          (a).                                                            The parties waived jury trial, and the Court conducted a
                                                                          bench trial on September 14 and 15, 2009. The Court heard
                                                                          the testimony of witnesses from Burberry and Defendant
                                                                          and considered the exhibits received in evidence, as well as
                                                                          designated portions of depositions. The parties stipulated to
                                                                          the following facts in the jointly-submitted pretrial order:
                                                                          1. Plaintiff Burberry Limited is a corporation duly organized
ORDER
                                                                          and existing under the laws of the United Kingdom with a




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principal place of business at Horseferry House, Horseferry
Road, London SWIP 2AW, United Kingdom.                          10. Burberry Limited owns the following valid and
                                                                enforceable U.S. trademark registrations for the BURBERRY
2. Plaintiff Burberry USA, a sister company of Plaintiff        CHECK trademark, among others: U.S. Reg. No. 1,241,222;
Burberry Limited, is located at 444 Madison Avenue, New         U.S. Reg. No. 2,732,617; and U.S. Reg. No. 2,022,789. These
York, N.Y. 10022. Burberry USA enforces in North America        restrictions are incontestable pursuant to 15 U.S.C. § 1065.
the trademarks owned by Burberry Limited. Burberry
Limited, Burberry USA, and their predecessor are herein         11. The BURBERRY CHECK trademark is famous within the
referred to collectively as “Burberry.”                         meaning of 15 U.S.C. § 1125(c).

3. Burberry has continuously used the BURBERRY® word            12. The BURBERRY CHECK trademark was famous within
mark in commerce since 1856.                                    the meaning of 15 U.S.C. § 1125(c) prior to Defendant's use
                                                                and/or sale of the items in dispute in this litigation.
4. Burberry introduced the BURBERRY CHECK trademark
in its original distinctive red, camel, black and white check   13. Burberry Limited owns the following valid
design in the 1920's. Burberry has continuously used the        and enforceable U.S. trademark registrations for the
BURBERRY CHECK in both the original colors and other            EQUESTRIAN KNIGHT DESIGN trademark, among
distinctive color combinations for over three-quarters of a     others: U.S. Reg. No. 863,179; and U.S. Reg. No. 2,512,119.
century.                                                        These registrations are incontestable pursuant to 15 U.S.C. §
                                                                1065.
5. Burberry has continuously used the Burberry equestrian
knight on horseback (the “EQUESTRIAN KNIGHT                     14. The EQUESTRIAN KNIGHT DESIGN trademark is
DESIGN”) on numerous products since 1901.                       famous within the meaning of 15 U.S.C. § 1125(c).

 *2 6. Burberry USA is the exclusive importer and distributor   15. The EQUESTRIAN KNIGHT DESIGN trademark was
in the United States of BURBERRY® merchandise that bears        famous within the meaning of 15 U.S.C. § 1125(c) prior to
the BURBERRY® mark, the BURBERRY CHECK, and/                    Defendant's use and/or sale of the items in dispute in this
or the EQUESTRIAN KNIGHT DESIGN (collectively, the              litigation.
“Burberry Trademarks”). Burberry has used the Burberry
Trademarks on, and in connection with, the advertising and      16. Defendant Designers Imports, Inc. d/b/a Designers
sale of Burberry's products, including, but not limited to,     Imports.com USA, Inc. is a New York corporation located at
scarves, swimwear, coats, jackets, polo shirts, handbags,       11 Lake Street, No. 201, Monroe, New York 10950 and/or
and t-shirts in interstate and intrastate commerce, including   1117 Route 17M, Suite 2, Monroe, New York 10950.
commerce in the State of New York and in this judicial
district.                                                       17. Since at least as early as 2003, Designers has continuously
                                                                sold apparel and accessories online, including at its website
7. Burberry Limited owns the following valid and enforceable    located at www.designersimports.com.
U.S. trademark registrations for the BURBERRY® word
mark, among others: U.S. Reg. No. 260,843; U.S. Reg.            18. Asher Horowitz is the owner and Chief Operating Officer
No. 510,077; U.S. Reg. No. 1,133,122; and U.S. Reg. No.         of Designers.
3,202,484. These registrations are incontestable pursuant to
15 U.S.C. § 1065.                                               19. Mr. Horowitz is the only officer of Designers, its only
                                                                Director, and its sole shareholder.
8. The BURBERRY word mark is famous within the meaning
of 15 U.S.C. § 1125(c).                                         20. Mr. Horowitz sets the price for the goods that his
                                                                business sells. He also decides what will be displayed on
9. The BURBERRY word mark was famous within the                 www.designersimports.com.
meaning of 15 U.S .C. § 1125(c) prior to Defendant's use and/
or sale of the items in dispute in this litigation.



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21. Mr. Horowitz sets his own salary and makes sure that bills
at the company are paid.                                          31. On March 8, 2006, Burberry's lawyer sent another
                                                                  letter to Defendant's counsel contending that Designers
 *3 22. Designers cannot allocate a portion of its expenses to    sold a counterfeit bikini and three counterfeit polo shirts
its sale of Burberry-branded items.                               that infringed the Burberry Trademarks. Designers' counsel
                                                                  responded (Ex. 177).
23. Mr. Horowitz was aware of BURBERRY products before
he founded Designers.                                             32. On May 9, 2007, Burberry's attorney sent a letter to
                                                                  Defendant's counsel contending that Designers sold two
24. Since at least as early as 2003, Designers has sold or        counterfeit quilted coats and two counterfeit white shirts
offered for sale products that display one or more of the         with check trim that infringed the Burberry Trademarks.
Burberry Trademarks that were not purchased directly from         Designers' counsel responded (Ex. 178).
Burberry or one of its authorized retailers.
                                                                  33. On July 9, 2007, Burberry's attorney sent a letter to
25. Designers has purchased keywords containing the               Defendant's counsel contending that Designers sold two
BURBERRY trademark from Google's Pay Per Click                    counterfeit scarves that infringed the Burberry Trademarks.
program such as “Burberry,” “Burberry scarf or scarves,           Defendant's counsel received this letter (Ex. 179).
“Burberry jacket,” and “Burberry handbag.” Designers
purchased similar advertising from Yahoo, including the           34. Investigators acting on behalf of Burberry purchased
keyword “Burberry scarf.” When potential customers shop           the following Burberry-branded articles of clothing
online for Burberry products, they are automatically referred     from Designers' website, www.designersimports.com (the
to the Designers website.                                         “Purchased Goods”):

26. Mr. Horowitz is the only person who decides what                 *4 • One bikini with check trim purchased on March 1,
Burberry-branded goods Designers will sell on its website.            2006;

                                                                    • Three polo shirts, one each in white, black, and gray
27. Designers' suppliers include “Moda Oggi.” Moda Oggi
                                                                      purchased on March 1, 2006;
has since been sued as a third party by Burberry for
selling counterfeit Burberry-branded products, and Burberry         • One “Constance” padded jacket purchased on February
prevailed on summary judgment against Moda Oggi on this               7, 2007;
and related claims on June 10, 2009. See Burberry Limited, et
al. v. Euro Moda, Inc., et al., Civil Docket for Case No. 1:08–     • A second padded jacket, in the longer “Langford” style,
cv–05781–CM, 2009 WL 1675080 (S.D.N.Y. June 10, 2009);                purchased on April 7, 2007;

                                                                    • One cashmere “Baby Blue Happy Scarf” and one
28. On April 12, 2005, Burberry and Designers entered into
                                                                      cashmere “Classic Plaid Scarf,” purchased on June 9,
a settlement agreement (“Settlement Agreement”) regarding
                                                                      2007;
Designers' sales of items that Burberry contented were
counterfeit. The agreement was amended on May 4, 2005.              • One “Nova Check Cashmere Scarf” purchased on
The agreement was received in evidence (Ex. 185).                     October 11, 2007;

29. After the agreement was signed, Burberry bought                 • One cashmere Cream–White Check “Plaid Mini Scarf”
products from Defendant to determine whether it was                   purchased on April 7, 2008; and
complying with the agreement.
                                                                    Two white t-shirts with checked trim purchased on
30. On February 23, 2006, Burberry's attorney sent a letter           February 7, 2007 and April 7, 2007.
to Defendant's attorney contending that Designers sold two
counterfeit scarves that infringed the Burberry Trademarks.       35. Designers shipped the Purchased Goods to Burberry's
Designers' lawyer responded that the goods were purchased         investigators.
from a Burberry store and that the goods were not counterfeit.



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36. Burberry's investigators shipped the Purchased Goods to        Burberry submitted twenty products for their expert to review
Burberry at its New York offices.                                  (Trial Tr. 41, 46). Burberry's expert found that six products (all
                                                                   handbags) were genuine but that the balance of fourteen were
37. An employee in Burberry's New York office received the         counterfeit (Trial Tr. 36, 42, 44). As previously indicated,
Purchased Goods.                                                   Defendant does not contest the counterfeit nature of twelve of
                                                                   the fourteen products.
38. On June 28, 2005, Kate McKinnon, an Investigator for
Abacus Security, sent three (3) Burberry-branded handbags           *5 Defendant does contend, however, that two of the
that had been purchased from Designers to Burberry's               Burberry expert's counterfeit determinations were erroneous:
New York Office. Burberry determined that these three (3)          the determinations relating to a blue “happy” scarf and a check
handbags were not counterfeit, but rather genuine.                 cashmere scarf, both purchased in December, 2005 (Trial
                                                                   Tr. 248–52). Mr. Horowitz testified that he suspected that J.
39. On December 15, 2005, Ayodele Akingbade, an                    Burke was a possible investigator for Burberry when he saw
Investigator for Abacus Security, sent three (3) Burberry-         Burke's name on an order for two scarves and a coat (Trial
branded handbags that had been purchased from Designers to         Tr. 248, 271–72). While Defendant had Burberry scarves in
Burberry's New York Office. Burberry determined that these         stock at the time, Designers was aware that Burberry was
three (3) handbags were not counterfeit, but rather genuine.       monitoring its compliance with the Settlement Agreement, so
                                                                   Mr. Horowitz enlisted his wife to buy two Burberry scarves
                                                                   from a Burberry store in Boca Raton, Florida (Trial Tr. 249).
                                                                   Mr. Horowitz filled Mr. Burke's order with the two scarves his
ISSUES AT TRIAL AND FINDINGS OF FACT
                                                                   wife had purchased (Trial Tr. 249–51). Burberry tested these
Defendant stipulated to the counterfeit nature of substantially    scarves and found them to be counterfeit (Trial Tr. 251–52).
all of the products that Burberry found to be counterfeit,         Mr. Horowitz challenges Burberry's determinations (Trial Tr.
except for two scarves, purchased in December, 2005.               251–52).
Accordingly, Burberry had two goals at trial: (a) to establish
                                                                   Since Burberry's findings on the two scarves were erroneous,
that Defendants were the source of the counterfeit products;
                                                                   Defendant argues that Burberry's twelve other determinations
and (b) to establish that Defendant's violations were willful
                                                                   of counterfeit must be wrong as well. Defendant's argument
or the result of willful blindness. Defendant's goal was to
minimize its damages to the extent possible.                       is falsus in uno; falsus in omnibus; but that is inconsistent
                                                                   with Defendant's stipulation that it had no factual basis
a. Proof Regarding the Source of Products                          for challenging Burberry's other determinations. Even if
                                                                   Burberry's determinations regarding the two scarves were
Burberry engaged a series of investigators to buy certain          incorrect, moreover, this would not impair the validity of
products from Defendant and submit these products, along           Burberry's separate determinations made at different times,
with the packing slips, invoices, and shipping information,        on twelve different products, that the Defendant's goods were
to Burberry (Trial Tr. 95–100). Burberry would then attach         in fact counterfeit. Finally, Defendant did not establish that
a security tag bearing a unique number to these products,          the determinations were wrong: Defendant cannot prove that
photograph the products, and prepare a chain of custody form       it sent Mr. Burke the two authentic Burberry scarves that Mrs.
(Trial Tr. 95–96). The chain of custody form listed the source     Horowitz purchased in the Boca Raton Burberry store.
of the product, the date of receipt, and the date the recipient
sent the product to another party (Trial Tr. 96). For everything   Based on the routine procedures Burberry took to protect
but the most obvious counterfeits, Burberry would ship the         its trademarks, and its carefully devised and methodically
suspect products to its London office, where Burberry's expert     applied procedures to test the authenticity of Burberry-
would examine them and determine whether a product was             branded merchandise, the Court finds that Designers sold
genuine or counterfeit (Trial Tr. 98).                             the following twelve items of counterfeit merchandise to
                                                                   Burberry:
 Date of Purchase                                           Goods Sold

 March 1, 2006                                              1. Bikini


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                                                          2. White Polo Shirt
                                                          3. Black Polo Shirt
                                                          4. Gray Polo Shirt

 February 7, 2007                                         5. “Constance” Jacket
                                                          6. White Shirt—Checked Trim

 April 7, 2007                                            7. Quilted Langford Coat
                                                          8. White Shirt—Checked Trim
                                                          9. Cashmere Cream–White Check Mini Scarf

 June 9, 2007                                             10. Cashmere Baby Blue Happy Scarf
                                                          11. Cashmere Classic Plaid Scarf

 October 11, 2007                                         12. Nova Check Cashmere Scarf

                                                                  *6 Defendant introduced testimony, however, that mitigates
b. Proof of Defendant's Willfulness or Willful Blindness
                                                                 the willfulness of his trademark violations. Mr. Horowitz
Burberry has demonstrated Defendant's willfulness based on       testified, for example, that he often traveled overseas to
its conduct spanning several years during which Defendant        purchase branded merchandise (Trial Tr. 242); that he visited
repeatedly sold a variety of counterfeit Burberry merchandise.   the offices of his suppliers (Trial Tr. 242); that, following
In addition to the April 2005 Settlement Agreement (Ex. 185),    the Settlement Agreement, he ceased selling items that
Burberry submitted a series of letters and emails proving that   Burberry claimed were counterfeit (Trial Tr. 248); that he
it repeatedly placed Defendant on notice that Defendant was      generally complied with his obligations under the Settlement
violating the trademark law by selling counterfeit Burberry      Agreement (Trial Tr. 247–48; 300–01); that all the Burberry
merchandise (Ex. 177–79). Additionally, Mr. Horowitz             items he currently sells originated in Burberry outlet centers
testified that, even after the Settlement Agreement, he          (Trial Tr. 254); that all the non-Burberry branded produces
occasionally purchased Burberry items from anonymous             he recently added to his website originated with authorized
internet vendors and from vendors whose last names he did        distributors or manufacturers (Trial Tr. 257); that he made
not know (Trial Tr. 282–84). Mr. Horowitz also testified that    numerous, sincere efforts to authenticate his merchandise
he did not always question his vendors about the source          before offering them for sale (Trial Tr. 277–82; 288–89; 292);
of their Burberry merchandise (Trial Tr. 284–85); that he        and that he was unaware that Moda Oggi was a seller of
used suppliers whose goods had been seized by the Customs        counterfeit items (Trial Tr. 295). Defendant also introduced
Department (Trial Tr. 286–87; 289–90; 292–93); and that          a supplier's deposition testimony, stating that Mr. Horowitz
he purchased a substantial amount of Burberry goods from         insisted on buying only authentic goods (Trial Tr. 304–06).
Moda Oggi, a known seller of counterfeit merchandise
(Trial Tr. 295). In fact, the United States Customs Service      CONCLUSIONS OF LAW
repeatedly notified Defendant that it was seizing Burberry-
branded goods addressed to Designers because the goods           The Court has subject matter jurisdiction under 15 U.S.C. §
were counterfeit (Exs. 223–25; 302–05).                          1121, 28 U.S.C. §§ 1331 and 1338, and has supplemental
                                                                 jurisdiction under 28 U.S.C. § 1367(a).



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                                                                     Defendant distributed, offered for sale, and sold the items.
Trademark Counterfeiting and Infringement under the                  Gucci Am., Inc. v. Duty Free Apparel, Ltd., 286 F.Supp.2d
Lanham Act (Counts I and II)                                         284, 287 (S.D.N.Y.2003).
                                                                     The Court finds that Defendant is liable for trademark
Burberry alleges that Defendant committed trademark
                                                                     counterfeiting and infringement.
counterfeiting and infringement under section 32(1)(a) of the
Lanham Act through its unauthorized use of the Burberry
trademarks. Section 32(1)(a) of the Lanham Act provides              False Designation of Origin, Trade Name, Infringement,
that a person shall be civilly liable if, without the registrant's   and False Description and Representation under the
consent, such person:                                                Lanham Act (Count III)
                                                                     The Court also finds Defendant liable under Section 43(a) of
  use[s] in commerce any reproduction, counterfeit, or copy
                                                                     the Lanham Act, 15 U.S.C. § 1125(a)(1)(A):
  or colorable limitation of a registered mark in connection
  with the sale, offering for sale, distribution, or advertising        Any person who, on or in connection with any goods or
  of any goods or services on or in connection with which               services, or any container for goods, uses in commerce any
  such use is likely to cause confusion, or to cause mistake,           word, terms, name, symbol, or device, or any combination
  or to deceive.                                                        thereof, or any false designation or origin, false or
15 U.S.C. § 1114(1)(a).                                                 misleading description of fact, or false or misleading
                                                                        representation of fact, which is likely to cause confusion,
Section 45 of the Lanham Act, 15 U.S.C. § 1127, defines
                                                                        or to cause mistake, or to “deceive as to the affiliation,
a “counterfeit” mark as “a spurious mark which is identical
                                                                        connection, or association of such person with another
with, or substantially indistinguishable from, a registered
                                                                        person, or as to the origin, sponsorship, or approval of his
mark.”
                                                                        or her goods, services, or commercial activities by another
Defendant is liable for trademark counterfeiting and                    person....
infringement if Burberry establishes that: (1) Burberry had          Having established its claim for federal trademark
valid registered marks entitled to protection under the              infringement under Section 32, it is unnecessary for the
Lanham Act; and (2) Defendant used a similar mark in                 plaintiff to make any additional showing to satisfy Section
commerce in a way that would likely cause confusion among            43(a). Russian Kurier, Inc. v. Russian Am. Kurier, Inc., 899
the relevant consuming public. Cartier Int'l B.V. v. Ben–            F.Supp. 1204, 1208 (S.D.N.Y.1995).
Menachem, 2008 WL 64005, at *10 (S.D.N.Y. Jan.3, 2008).

Burberry has met its burden. The parties stipulated                  Trademark Dilution under the Lanham Act and Dilution
that Burberry had valid registered marks entitled to                 and Likelihood of Injury under Section 360–1 of N.Y. Gen.
protection under the Lanham Act. These marks include                 Bus. Law (Counts IV and VI)1
the BURBERRY® word mark; the BURBERRY CHECK
mark; and the EQUESTRIAN KNIGHT DESIGN. Defendant                    A trademark holder claiming dilution under 15 U.S.C. §
has offered for sale and has sold merchandise displaying             1125(c) must show that: (1) the senior mark is famous; (2)
spurious designations that are identical to, or substantially        the defendants are making commercial use of the junior mark
indistinguishable from, Burberry's famous, registered                in commerce (under the Federal Trademark Dilution Act, the
trademarks on goods for which Burberry trademarks are                “FTDA”) or use of the junior mark in commerce (under the
registered, including: a bikini; a jacket; a coat; five shirts;      Trademark Dilution Revision Act of 2006, the “TDRA”);
and four scarves. Defendant intentionally used these spurious        (3) defendant's use of the junior mark began after the senior
designations without authorization and in connection with the        mark became famous; and (4) actual dilution (under the
advertising, sale, offering for sale and distribution of goods       FTDA) or a likelihood of dilution (under the TDRA). See e.g.,
for its own financial gain.                                          Malletier v. Dooney & Bourke, Inc., 561 F.Supp.2d 368, 380–
                                                                     81 (S.D.N.Y.2008).
 *7 Defendant's use of the Burberry trademarks is likely to          Plaintiffs have met their burden on their trademark dilution
cause confusion among the relevant consuming public. To              claim, based on the parties' stipulations: the fame of
determine whether confusion is likely to arise, a court need         Burberry's mark; Defendant's commercial use of Burberry's
only determine that the items at issue are counterfeit and that      mark in commerce; and Defendant's use of Burberry's mark



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subsequent to Burberry's mark becoming famous. Further,         The same principle is applicable to the New York State
Burberry has established a presumption of actual and likely     unfair competition claim. A claim under the Lanham Act,
dilution by showing that Defendant's used counterfeit marks     coupled with a showing of bad faith or intent, establishes
that were identical to the Burberry trademarks. See Savin       a claim for unfair competition. Girl Scouts of U.S.A. v.
Corp. v. Savin Corp., 391 F.3d 439, 452–53 (2d Cir.2005).       Bantam Doubleday Dell Publ'g Group, Inc., 808 F.Supp.
                                                                1112, 1131 (S.D.N.Y.1992). Use of a counterfeit mark
                                                                creates a presumption of bad faith under New York law.
Dilution by tarnishment reflects an “association arising from   Philip Morris U.S.A., Inc. v. Filizardo, 2004 WL 1375277
the similarity between a mark or a trade name and a famous      (S.D.N.Y. June 18, 2004), at *6. Accordingly, Burberry's
mark that harms the reputation of the famous mark.” 15          evidence of Defendant's sale of counterfeit Burberry-branded
U.S.C. § 1125(c). Defendant tarnished Burberry's marks by       merchandise creates a presumption of bad faith, satisfying the
using them on inferior products (Tr. 18:23–22:19; 36:17–        elements of Burberry's common law unfair competition claim.
37:4). See e.g., Hormel Foods v. Jim Henson Products, Inc.
73 F.3d 497, 507 (2d Cir.1996) (a trademark may be tarnished
when linked to products of shoddy quality). Accordingly,        Common Law Breach of Contract (Count IX)
the Court finds Defendant liable for trademark dilution by
tarnishment under both the FTDA and the TDRA.                   The April 12, 2005 Settlement Agreement is governed by
                                                                New York law (Ex. 185 ¶ 11). The parties do not dispute
 *8 Since Burberry has established that (1) the Burberry        the existence or validity of the April 12, 2005 Settlement
trademarks are famous, and (2) there is a likelihood of         Agreement, nor does Defendant argue that Burberry failed to
dilution, Defendants are also liable under New York State       perform under the Settlement Agreement.
Business Law § 360–1 for dilution and likelihood of injury to
business reputation. See Malletier, 561 F.Supp.2d at 381.       Burberry has also established Defendant's non-performance.
                                                                Paragraph 2.6 of the Settlement Agreement provides that
Deceptive Acts and Practices under New York Law (Count          Defendant will not “knowingly infringe or dilute Burberry's
V)                                                              trademarks.” The same paragraph defines “knowingly” as
                                                                occurring when Defendant “knows or should have known that
New York General Business Law § 349 forbids “[d]eceptive        their actions violate Burberry's trademark rights.”
acts and practices.” Burberry has satisfied the three-factor
test for establishing a § 349 violation: (1) that Defendant      *9 The Court has already found that Defendant committed
engaged in a consumer-oriented act (sale of Burberry-branded    trademark infringement. It now finds that the same infringing
merchandise); (2) that was misleading in a material way         conduct constituted a breach of contract. See e.g., Heisman
(the products were counterfeit); and (3) Burberry suffered      Trophy Trust v. Smack Apparel Co., 595 F.Supp.2d 320, 329
injury. See Vitabiotics, Ltd. V. Krupka, 606 F.Supp. 779,       (S.D.N.Y.2009) (evidence of trademark infringement shows
785 (E.D.N.Y.1984) (sale of infringing products creates         the likelihood of success on breach of settlement agreement
presumption of injury under Section 349). Accordingly, the      claim).
Court finds Defendant liable under Section 349 of the New
York General Business Law.                                      Regarding damages, Section 12 of the Settlement Agreement
                                                                contains a liquidated damages clause providing that
Trademark Infringement and Unfair Competition under             Defendant is obligated to pay “$1,500.00 per day for each day
New York Common Law (Counts VII and VIII)                       a breach occurs.”
The New York common law on trademark infringement
and unfair competition claims mirrors the Lanham Act. To        Defendant's breach of contract liability, however, is limited
prevail on its common law claim of trademark infringement,      to violations that occurred prior to Burberry's commencement
Burberry need only present evidence sufficient to establish     of the lawsuit. Under New York's doctrine of the election of
a violation of section 32(1) of the Lanham Act. Standard &      remedies, when a party breaches a contract, the adverse party
Poor's Corp., Inc. v. Commodity Exch., Inc. ., 683 F.2d 704,    has to make an election: to either treat the entire contract as
708 (2d Cir.1982). Since Burberry has established liability     breached and pursue damages for the breach or, alternatively,
under the Lanham Act, it has also established liability under   to reject the proposed breach, demand performance, and
New York's common law of trademark infringement.                continue to treat the contract as valid. See e.g., Inter–Power of




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New York Inc. v. Niagara Mohawk Power Corp., 259 A.D.2d           in the authenticity of its own Burberry-branded inventory.
932, 934, 686 N.Y.S.2d 911 (3d Dept.1999).                        Accordingly, the Court finds that Defendant's trademark
                                                                  violations were willful.
Accordingly, Defendant is liable only for trademark
violations occurring prior to May 22, 2007, the date               *10 Defendant, however, has introduced some evidence of
Burberry commenced this lawsuit. These pre-commencement           compliance with the terms of the Settlement Agreement and
violations include nine of the twelve items: the four items       of some level of diligence. These factors mitigate the degree
Defendant sold on March 1, 2006 (Bikini; White Polo Shirt;        of Defendant's willfulness.
Black Polo Shirt; and Gray Polo Shirt); the two items
Defendant sold on February 7, 2007 (the “Constance” Jacket
                                                                  DAMAGES
and the White Shirt—Checked Trim); and the three items
Defendant sold on April 7, 2007 (the Quilted Langford Coat;       The Court asked the parties to provide summations of their
the White Shirt–Checked Trim; and the Cashmere Cream–             damages. Burberry claimed statutory damages under 15
White Check Mini Searf).                                          U.S.C. § 1117(c) in the amount of $6.5 million (Dkt. # 30,
                                                                  at 2, 10). Defendants argued that its maximum exposure is
Common Law Unjust Enrichment (Count X)
                                                                  $18,000 (Dkt. # 32 at 13).
The Court dismisses Burberry's unjust enrichment claim
                                                                  Section 15 U.S.C. § 1117(c) provides:
because a party cannot prevail on remedies under both
contract and quasi-contract theories. See e.g., Clark–              In a case involving the use of a counterfeit mark (as defined
Fitzpatrick, Inc. v. Long Is. R.R. Co., 70 N.Y.2d 382, 388, 521     in section 1116(d) of this title) in connection with the sale,
N.Y.S.2d 653, 516 N.E.2d 190 (1987) (“quasi contract” only          offering for sale, or distribution of goods or services, the
applies in the absence of an express agreement, and is not          plaintiff may elect, at any time before final judgment is
really a contract at all, but rather a legal obligation imposed     rendered by the trial court, to recover, instead of actual
in order to prevent a party's unjust enrichment).                   damages and profits under subsection (a) of this section, an
                                                                    award of statutory damages for any such use in connection
Defendant's Willfulness or Willful Blindess
                                                                    with the sale, offering for sale, or distribution of goods or
The Court finds that Defendant acted willfully in selling           services in the amount of—
twelve counterfeit Burberry-branded items of merchandise.
                                                                    (1) not less than $1,000 or more than $200,000 per
Actual knowledge is not necessary for willful trademark
                                                                    counterfeit mark per type of goods or services sold, offered
infringement liability; rather, “[i]nfringement is willful
                                                                    for sale, or distributed, as the court considers just; or
when the defendant had knowledge that [his] conduct
represented infringement or perhaps recklessly disregarded          (2) if the court finds that the use of the counterfeit mark
the possibility.” Hermes Int'l v. Kiernan, 2008 WL 4163208,         was willful, not more than $2,000,000 per counterfeit mark
at *3 (E.D.N.Y. Aug.28, 2008).                                      per type of goods or services sold, offered for sale, or
                                                                    distributed, as the court considers just.
Here, Burberry established Defendant's willfulness by
demonstrating a course of conduct spanning several years          15 U.S.C. § 1117(c) (2004) (amended 2008).2
during which Defendant repeatedly sold a variety of
                                                                  In determining the amount of statutory damages, courts
counterfeit Burberry merchandise. Defendant repeatedly and
                                                                  consider several factors, including:
knowingly violated its obligations under the Settlement
Agreement. Defendant willfully failed to investigate the bona       (1) the expenses saved and the profits reaped; (2) the
fides of Burberry-branded goods it purchased for sale and           revenues lost by the plaintiff; (3) the value of the
by failing to implement procedural safeguards against the           [trademark]; (4) the deterrent effect on others besides
sale of counterfeit goods. When Defendant became aware              the defendant; (5) whether the defendant's conduct was
that Burberry, through its agent J. Burke, placed a test            innocent or willful; (6) whether a defendant has cooperated
order for Burberry items, Defendant did not fill the order          in providing particular records from which to assess the
from its own inventory, but rather sent Mrs. Horowitz to an         value of the infringing material produced; and (7) the
authorized Burberry store to purchase items to fill the order.      potential for discouraging the defendant.
This is further evidence that Defendant was not confident



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Kenneth Jay Lane, Inc. v. Heavenly Apparel, Inc. 2006 WL          itemized fee application, supported by time-sheets, along with
728407, at *6 (S.D.N.Y. March 21, 2006).                          a statement of the nature of the work performed, as well
                                                                  as explanations of each attorney's expertise and any other
Several of these factors support a substantial award.             relevant factors. See e.g., Pressman v. Estate of Steinworth,
Defendant has acted willfully in selling twelve counterfeit       886 F.Supp. 365, 367 (S.D.N.Y.1999).
Burberry-branded items of merchandise. Burberry's
trademarks are highly valuable and of worldwide renown.
The goal of deterring others from similar conduct requires a      INJUNCTIVE RELIEF
significant award. Louis Vuitton Malletier, S.A. v. LY USA,
                                                                  Section 34(a) of the Lanham Act provides for injunctive
2008 WL 5637161, at *2 (S.D.N.Y. Oct.3, 2008). A large
                                                                  relief to prevent trademark violations “according to the
award is also necessary because the Settlement Agreement
                                                                  principles of equity and upon such terms as the court may
failed to deter Defendant and because of Defendant's ability
                                                                  deem reasonable.” 15 U.S.C. § 1116(a). Courts may grant
to reach a vast customer base through internet advertising. See
                                                                  permanent injunctions where a plaintiff demonstrates actual
e.g., Rolex Watch U.S.A., Inc. v. Jones, 2002 WL 596354, at
                                                                  success on the merits and irreparable harm. Gucci Am., Inc. v.
*5 (S.D.N.Y. Apr.17, 2002).3                                      Duty Free Apparel, Ltd., 286 F.Supp.2d at 290. As indicated,
                                                                  Burberry has established success on the merits. Burberry has
There are other factors which mitigate the degree
                                                                  also established irreparable harm by establishing a likelihood
of Defendant's willfulness. Defendant cooperated in
                                                                  of confusion. See Genesee Brewing Co., Inc. v. Stroh Brewing
providing financial records. These records indicate that
                                                                  Co., 124 F.3d 137, 142 (2d Cir.1997). Accordingly, the
Defendant reported sales of $4,276,581 for Burberry-branded
                                                                  Court permanently enjoins Defendant from infringing on any
merchandise sold between March 29, 2005 and June 26, 2008
                                                                  Burberry trademarks.
(Ex. 308). Defendant also reported net income of $1,158,295
for scarves, shorts, jackets, and coats sold between March        The Court denies Burberry's request to completely bar
29, 2005 and May 13, 2008 (Ex. 220).4 Burberry-branded            Defendant from selling Burberry goods. Defendant may
merchandise, however, represented only a percentage of            continue to participate in the secondary market provided
Defendant's entire business, and not all Burberry-branded         Defendant sells only legitimate products. In light of
items were counterfeit .5 Finally, few courts have awarded        Defendant's continuing pattern of trademark infringement,
maximum statutory damages on the basis of a per mark,             however, any further violation of the injunction will result
per type of good calculation. See e.g., Gucci Am., Inc. v.        in Defendant's being permanently enjoined from selling,
MyReplicaHandbag.com, 2008 WL 512789, at *5 (S.D.N.Y.             offering for sale, advertising, or distributing any Burberry-
Feb.26, 2008) (collecting cases to note that “[M]ost judges       branded merchandise.
have issued awards well below the maximum available on the
basis of per-mark-per-type-of-goods”).                            CONCLUSION

 *11 Having considered all relevant factors, the Court awards     The foregoing constitutes the Court's findings of fact and
Burberry statutory damages in the amount of $1,500,000.           conclusions of law. Defendant is liable to Burberry for a
This amount represents $100,000 per mark per types of goods       total of $1,500,000 in statutory damages. Defendant is further
sold. Specifically, Defendant infringed three of Burberry's       liable for Burberry's reasonable attorneys' fees and costs, in
registered trademarks (the Burberry name, the Burberry            an amount to be determined by the Court, after Burberry's
Check design, and the Burberry “Equestrian Knight” on             counsel submits contemporaneous time records, reflecting the
horseback device) and sold five types of counterfeit Burberry-    work done in this litigation. Finally, Defendant is hereby
branded merchandise (Bikini; Shirts; Jacket; Coat; and            permanently enjoined from infringing on any Burberry
Scarves). An award of $100,000 per mark per type of good          trademarks. If Defendant violates Burberry's trademarks in
sold totals $1,500,000.                                           the future, then Defendant will automatically be permanently
                                                                  enjoined from selling, offering for sale, advertising, or
Since there was willful infringement and no “extenuating
                                                                  distributing any Burberry-branded merchandise.
circumstances,” the Court allows Burberry attorneys' fees
and costs, as required by 15 U.S.C. § 1117(b). Sara                *12 Plaintiff is directed to submit a proposed order of
Lee Corp. v. Bags of New York, Inc., 36 F.Supp.2d 161,            judgment on 10 days notice.
170 (S.D.N.Y.1999). Burberry's counsel should submit an


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SO ORDERED.                                                      All Citations

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Footnotes
1     The Court will analyze Burberry's federal and state law dilution claims together. The New York State anti-dilution statute,
      N.Y. Gen. Bus. L. § 360–1, and the Federal Trademark Dilution Act, the federal anti-dilution statute in effect prior to
      October 6, 2006, are alike. Louis Vuitton Malletier v. Dooney & Bourke, Inc., 454 F.3d 108, 119 (2d Cir.2006). This
      analysis is essentially unchanged under the Trademark Dilution Revision Act of 2006, effective October 6.2006. Tiffany
      (NJ) Inc. v. eBay, Inc., 576 F.Supp2d 463, 523 (S.D.N.Y.2008). Some courts have held that the New York State statute
      provides greater protection against dilution than the TDRA. See GMA Accessories, 2008 WL 591803, at *11. But the
      Court need not engage in a separate analysis for Burberry's New York State claims because the Court concludes that
      Burberry's dilution claim succeeds under the more exacting FDTA standard.
2     Prior to October 13, 2008, the minimum for § 1117(c)(1) was $500 and the maximum was $1,00,000; and the maximum
      for § 1117(c) (2) was $1,000,000. See Prioritizing Resources and Organization for Intellectual Property Act of 2008, Title
      I, sec. 104, § 1117, 122 Stat 4256, 4259 (Oct. 13, 2008). Defendant's sales of counterfeit Burberry items occurred prior
      to October 13, 2008. Accordingly, the Court applies the pre-amendment statutory amounts. See e.g., Century 21 Real
      Estate LLC v. Bercosa Corp., 666 F.Supp.2d 274, 2009 WL 3111759, at *12n.9 (E.D.N.Y. Sept. 18, 2009).
3     Plaintiffs' Ex. 300 indicates that between September 13, 2003 and June 11, 2008, Designer's Burberry advertising in
      Google had been clicked 1,021,744 times.
4     Plaintiffs' Ex. 220 was not introduced at trial. After the trial, however, on September 25, 2009, the Court reopened the
      trial record to admit this exhibit into evidence (Dkt.# 28).
5     Plaintiffs' Ex. 308 indicates that Burberry-branded merchandise represents the following percentages of Designer's overall
      sales: 65 .13% between March 29, 2005 and December 31, 2005; 34.44% between January 1, 2006 and December
      31, 2006; 21.35% between January 1, 2007 and December 31, 2007; and 6.97% between January 1, 2008 and June
      26, 2008.


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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BURBERRY LIMITED, a United Kingdom              )
corporation, and BURBERRY LIMITED, a New        )
York corporation,
                                                     Case   No. l4-cv-8220
                           Plaintiffs,
                                                     Judge John W. Darrah
        v.
                                                     Magistrate Judge Geraldine Soat Brown
THE PARTNERSHIPS aNd
UNINCORPORATED AS SOCIATIONS
IDENTIFIED ON SCHEDULE "A,"

                           Defendants.

                                     FINAL JUDGMENT ORDER

        This action having been commenced by Plaintiffs Burberry Limited, a United Kingdom

corporation ("Burberry UK"), and Burberry Limited, a New York corporation ("Burberry US"),

together, 'oBurberry" or "Plaintiffs," against the Partnerships and Unincorporated Associations

identified on Amended Schedule A attached hereto (collectively, the "Defendants"), and using

the Defendant Domain Names and Online Marketplace Accounts (collectively, the "Defendant

Intemet Stores");

        This Court having entered upon a showing by Burberry, a temporary restraining order

and preliminary injunction against Defendants which included a domain name transfer order and

asset restraining order;

        Burberry having properly completed service of process on Defendants, the combination

of providing notice via electronic publication or email, along with any notice that Defendants

received from domain name registrars and payment processors, being notice reasonably
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calculated under all circumstances to apprise Defendants      of the pendency of the action    and

affording them the opportunity to answer and present their objections; and

       None of the Defendants identified in Amended Schedule A attached hereto (collectively,

the "Defaulting Defendants") having answered the Complaint or appeared in any way, and the

time for answering the Complaint having expired;

       THIS COURT HEREBY FINDS that Defaulting Defendants are liable for willful federal

trademark infringement and counterfeiting (15 U.S.C. $ 1114), false designation of origin (15

U.S.C. g ll25(a)), cybersquatting (15 U.S.C. $ 1125(d)) and violation of the Illinois Uniform

Deceptive Trade Practices Act (815 ILCS $ 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiffs' Motion for Entry of Default and Default
Judgment is GRANTED        in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that:

1.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or     in active concert

       with them be permanently enjoined and restrained from:

       a.   using Burberry's BURBERRY Trademarks or any reproductions, counterfeit copies

            or colorable imitations thereof in any manner in connection with the distribution,

            marketing, advertising, offering for sale, or sale of any product that is not a genuine

            Burberry Product or not authorized by Burberry        to be sold in   connection with

            Burberry's BURBERRY Trademarks;

       b.   passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Burberry Product or any other product produced by Burberry, that is not Burberry's
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           or not produced under the authorization, control or supervision of Burberry         and

           approved by Burberry for sale under Burberry's BURBERRY Trademarks;

           committing any acts calculated       to   cause consumers   to believe that   Defaulting

           Defendants' products are those sold under the authorization, control or supervision of

           Burberry, or are sponsored by, approved by, or otherwise connected with Burberry;

     d.    further infringing Burberry's BURBERRY Trademarks and damaging Burberry's

           goodwill;

     e.    otherwise competing unfairly with Burberry in any manner;

     f.    shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning,   or   otherwise disposing   of, in any manner,   products or

           inventory not manufactured by or for Burberry, nor authorized by Burberry to be sold

           or offered for sale, and which bear any of Burberry's BURBERRY Trademarks or

           any reproductions, counterfeit copies or colorable imitations thereof;

     o
     b'    using, linking to, transferring, selling, exercising control over, or otherwise owning

           the Online Marketplace Accounts, the Defendant Domain Names or any other domain

           name or online marketplace account that is being used to sell or is the means by

           which Defaulting Defendants could continue to sell Counterfeit Burberry Products;

           and

      h.   operating and/or hosting websites at the Defendant Domain Names and any other

           domain names registered or operated by Defaulting Defendants that are involved with

           the distribution, marketing, advertising, offering for sale, or sale of any product

           bearing the BURBERRY Trademarks            or any reproductions, counterfeit copies or
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          colorable imitations thereof that is not a genuine Burberry Product or not authorized

          by Burberry to be sold in connection with Burberry's BURBERRY Trademarks.

2.   The Defendant Domain Names are perrnanently transferred to Burberry's control. The

     domain name registries for the Defendant Domain Names, including, but not limited to,

     VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet and the Public

     Interest Registry, within three (3) business days of receipt of this Order, shall unlock and

     change the registrar   of   record for the Defendant Domain Names        to a registrar of
     Burberry's selection, and the domain name registrars shall take any steps necessary to

     transfer the Defendant Domain Names to Burberry's account at a registrar of Burberry's

     selection.

J.   Those in privity with Defendants and with actual notice of this Order, including any

     online marketplaces such as iOffer, social media platforms, Facebook, YouTube,

     Linkedln, Twitter, Internet search engines such as Google, Bing and Yahoo, web hosts

     for the Defendant Domain Names, and domain name registrars, shall within three (3)

     business days of receipt of this Order:

     a.   disable and cease providing services for any accounts through which Defaulting

          Defendants engage      in the sale of   counterfeit and infringing goods using the

          BURBERRY Trademarks, including any accounts associated with the Defaulting

          Defendants listed on Amended Schedule A attached hereto;

     b.   disable and cease displaying any advertisements used          by or   associated with

          Defaulting Defendants in connection with the sale of counterfeit and infringing goods

          using the BURBERRY Trademarks; and
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      c.   take all steps necessary to prevent links to the Defendant Domain Names identified

           on Amended Schedule A from displaying in search results, including, but not limited

           to, removing links to the Defendant Domain Names from any search index.

4.    Pursuant   to 15 U.S.C. $ I I l7(c)(2), Burberry is awarded statutory   damages from each   of

      the Defaulting Defendants in the amount of two million dollars ($2,000,000) for willful

      use   of   counterfeit BURBERRY Trademarks on products sold through at least the

      Defendant Internet Stores.

5.    Western Union shall, within two (2) business days of receipt of this Order, permanently

      block any Western Union money transfers and funds from being received by the

      Defaulting Defendants identified in Amended Schedule A.

6.    PayPal, Inc. ("PayPal") shall, within two (2) business days       of receipt of this Order,

      permanently restrain and enjoin any China or Hong Kong based accounts connected to

      Defaulting Defendants, Defaulting Defendants' Online Marketplace Accounts or

      Defaulting Defendants' websites identified in Amended Schedule A from transferring or

      disposing of any money or other of Defaulting Defendants' assets.

7.    All monies currently   restrained in Defaulting Defendants' financial accounts, including

      monies held by PayPal, are hereby released to Burberry as partial payment of the above-

      identified damages, and PayPal is ordered to release to Burberry the amounts from

      Defaulting Defendants' PayPal accounts within ten (10) business days of receipt of this

      Order.

8.    Until Burberry has recovered full payment of monies owed to it by any Defaulting

      Defendant, Burberry shall have the ongoing authority to serve this Order on PayPal in the
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      event that any new PayPal accounts controlled or operated by Defaulting Defendants are

      identified. Upon receipt of this Order, PayPal shall within two (2) business days:

      a.   Locate    all   accounts and funds connected    to Defaulting Defendants,    Defaulting

           Defendants' Online Marketplace Accounts          or Defaulting    Defendants' websites,

           including, but not limited to, any PayPal accounts;

      b.   Restrain and enjoin such accounts or funds that are China or Hong Kong based from

           transferring or disposing of any money or other of Defaulting Defendants' assets; and

           Release all monies restrained    in Defaulting Defendants' PayPal accounts to Burberry

           as   partial payment of the above-identified damages within ten (10) business days of

           receipt of this Order.

9.    Until Burberry has recovered full payment of monies owed to it by any Defaulting

      Defendant, Burberry shall have the ongoing authority to serve this Order on any banks,

      savings and loan associations, or other financial institutions (collectively, the "Financial

      Service Providers") in the event that any new financial accounts controlled or operated by

      Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

      Providers shall within two (2) business days:

      a.   Locate    all   accounts connected   to Defaulting   Defendants, Defaulting Defendants'

           Online Marketplace Accounts or Defaulting Defendants' websites;

      b.   Restrain and enjoin such accounts from receiving, transferring or disposing of any

           money or other of Defaulting Defendants' assets; and

      c. Release all monies restrained in Defaulting Defendants'             financial accounts to

           Burberry as partial payment of the above-identified damages within ten (10) business

           days of receipt of this Order.
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10.    In the event that Burberry identifies any additional online marketplace accounts, domain

       names or financial accounts owned by Defaulting Defendants, Burbeffy may send notice

       of any supplemental proceeding to Defaulting Defendants by email at the email addresses

       identified in Amended Schedule A attached hereto.

11.    The ten thousand dollar ($10,000) cash bond posted by Burberry, including any interest

       minus the registry fee, is hereby released to Burberry or its counsel, Greer Burns   & Crain,

       Ltd. The Clerk of the Court is directed to return the cash bond previously deposited with

       the Clerk of the Court to Burberry or its counsel by check made out to the Greer Burns     &

       Crain IOLTA account.

This is a Final Judgment.

DATED:December       I/     ,2014



                                                        rict Court Judge John W. Darrah
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 Burberry Limited, a United Kingdom corporation, and Burberry Limited, a New York corporation v.
 The Partnerships and Unincorporated Associations ldentified on Schedule "A" Case No. 14-cv-8220



                                              Amended Schedule A
           Defendant Domain Names
No.                      Domain Name
 t     burberrv-india.biz
 2     burberrv-handbaes-uk. biz
 3     a   ustralia-burberrv.biz
 4     usa-burberrv-hand bags.biz
 5     canada-burberry.biz
 6     ukburberryoutlet.biz
 7     bu rberrv-si nga po re. biz
 8     bu   rberrvfactorvoutletusa. biz
 9     binti.biz
 10    tastvrecipes.biz
 1.L   dailystock.biz
 12    joyousbuy.cn
 13    burberrysca rf.co
 t4    replicabagshome.co
 15    re ol ica bu rbe rrvsca   rf.co.   u   k
 19    inbu rberry.co.uk
 21    flo rist-ro mfo rd.co.    u   k
 22    buvmmlv.co.uk
 23    idolreplicas.co.uk
 24    robertsbridgeha ll.co. uk
 25    pavpsl.co.uk
 27    stvleca pture.co.uk
 29    baesoutlet.co.uk
 30    dorod isital.co.uk
 31    michian.co.uk
 32    celticda nce.co. uk
 33    ra ioa   uliewellers.co.uk
 34    lancasterchryslerieep.co.uk
 35    replica ha nd bags-uk.co. uk
 36    replicabagsgood.co.uk
 37    doshopsell.com
 38    burberrv-outletonline.com
 39    burberrv-outletinc.com
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 40    bu                          .com
 41,   womennewburberry.com
 42    kobburberrytaske.com
 43    bu rbe rrysa ld i bo rse.com
 44    burberrv-mall.com
 45    burberrvoasche rsolde.com
 46    shopdiscountburberry.com
 47    burberryvend itaita lia.com
 48    bu rbe rrvcla ssicbags.com
 49    ipburberrvbas.com
 50    burberrv-cloth inssa le.com
 51    kobburberrykvinder.com
 52    burberryreta ilshop.com
 53    burberrysretail.com
 54    xn--burberrvkbe    n   havn-txb.com
 55    burberryoutletpro.com
 56    burberrvoutletonIines20L4.com
 57    bu   rberrvfactorvo utlets2014.com
 58    outletonline-burberry.com
 59    discountburberrystore.com
 60    burberryshows.com
 6t    buvchea oburberrvonline.com
 62    shopburberryshoes.com
 63    shopburberrvsale.com
 64    okcheapburberrv.com
 65    burberrvsa lemall.com
 66    burberryonlinestore.com
 67    chea pburberryvipsale.com
 68    fash io n burberrysh irts.com
 69    achatventeburberry.com
 70    buynewburberry.com
 71    shopcheapburberrv.com
 72    burbe rrylocations.com
 73    bu rbe rrysstoreo n I i ne.com
 74    bu rberrvbaesforsa le.com
 75    wholesalebu rberrv.com
 76    bu rberrvonsa lestore.com
 77    burberrvsa lenow.com
 78    burberrywomen.com
 79    burberryoutletonline20L4.com
 80    bu rberryfacto ry2015.com
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 81     burberrybd ubai.com
 82     chea pburberrvo utletssto re.co m
 83     handel-de.com
 84     luxurvzsale.com
 85     sacfend isoldes.com
 86     uomotimberland.com
 87     doudou     ne no   rthfaceve nte.co m
 88     findbagss.com
 89     baesoutletretail.com
 90     handbaes-ereece.com
 91     thehandbaesforcheap.com
 92     ca   nada-soose-oa ris.com
 93     spaccioborsedonna.com
 94     Jea   ns-germany.com
 95     ralphlaurenpolopris.com
 96     classicdiscounthats.com
 97     botteshommes.com
 98     danma rktilsale.com
99      northfacepa risfra nce.com
1_00    topfashionscarf.com
101     buberrybagscheapsa le.com
LO2     tiffa nyoutlet-sto re.com
103     handtaschen-de.com
704     newbassstore2014.com
105     mvfashiononlinestore.com
106     magasindoudounepascher.com
107     imarouefr.com
108     fashionikeshoes.com
109     I   uxu rybagsfash ion.com
110     goleatherma ll.com
11,L    modatim berlandonline.com
L12     ma rq uesensolde.com
L13     2014luxurybags.com
L1.4    interlineagencv.com
115     fashionshoppine88S.com
1,1,6   lflae.com
tt7     bbsbroadcaster.com
118     sundavsline.com
119     loudsbass.com
120     menlinda2014us.com
72L     tangmirbags.com


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722                    l.com
123    cheapcoatfr.com
724    m    uffle r-shawl-sca rf.com
725    prixtimberla nd.com
126    doudounes-magasin.com
127    discou ntwomenbags.com
128    venditastivaliuomo.com
129    taschenda men-schweiz.com
130    womensbassreta il.com
13L    vesker-norway.com
732    til kvin ne rogveske r.com
133    lovebuyoakleys.com
734    terminatetickets.com
135    handbagscm.com
136    binocshoo.com
1.37   marquescle.com
138    sacma rquemagasrn.com
139    amodait.com
1,40   beerducate.com
141    sacmodeluxe.com
1,42   nfomonnaie.com
743    ovevida.com
144    skconkl.com
L45    replica handbagshow.com
r46    replicadesignerha ndbags4u.com
147    likehandbagsonline.com
L48    ba   bvclotheswholesa   le   rs.com
1,49   blackmerpompa.com
150    ha nd   baes-belts-ma ll.com
151    marouelinks2OL4.com
t52    newmarouekev.com
153    newmarqueskey.com
154    newmarouesweb.com
155    newmarq uesite.com
155    freshpickups.com
757    horancorak.com
158    lvmarts.com
159    onlinelong.com
160    brand-hot-sa le.com
1,61   soldespaschere.com
1.62   favouritebagcollection.com
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163    outlethandbagsale.com
164    iewefashion.com
165    shoppinebagsvip.com
765    begsvip2014.com
1.67   luxufocus.com
168    eshopclothes.com
769    chea obassma ll.com
170    chea oha nd basswomen.com
771    borsevenditamilano.com
172    chemisebelgiq ue.com
173    greekwomenha ndbags.com
774    topsnea kerworld 666.com
175    borseoutlet2014.com
176    handbaeshomeonline.com
177    sacfemmesolde.com
178    d   isco   u   ntbeltforsa le.com
179    bestreplicahandbag2.com
180    discountclassicbelt.com
181    bassonline2014.com
182    mvloveshoppingmall.com
183    taschensa leshop.com
184    discounthand bassshow.com
185    bberrv20l4outlet.com
186    borseoutletdonna.com
L87    watchshopok.com
188    bagsus2u.com
189    riverladycruises.com
190    oerfectpensa le.com
191    oerfectbaesale.com
L92    forfelixrocksites.com
193    marke-cl.com
L94    orcha rdcheckbags.com
195    christiandiorhand bass.com
196    ventefrmarque.com
797    yeahropa.com
198    watcheselife.com
199    outletslondon.com
200    online-bra ndshop.com
201)   handbasuk.com
202    lvmensbags.com
203    decentheels.com


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204                      tssr    .com
205    topmybag.com
206    hervedresses20l2.com
207    iersevfr.com
208    shoxtnmall.com
209    cheaptnmall.com
2to    salediscountbag.com
21,1   cheapestwholesaleoutlets.com
212    eshop2015.com
213    burebass.com
214    buvbassuip.com
275    buvcheaosnea keronline.com
216    shopcheapsneaker.com
217    cheapbra ndtshirt.com
218    jiayi506.com
219    eoibags.com
220    stvlishboston.com
221    messengerhaned bags.com
222    nikekv.com
223    toooneaaa.com
224    fashioneasyget.com
225    repma llsneaker.com
226    savingmore-online.com
227    bagsen.com
228    gbuybags.com
229    handbaesbar.com
230    hip-hopvip.com
231,   coatsfrance.com
232    jacketfr.com
233    baguiotour.com
234    diamondsnap.com
235    ccwatches.com
236    sonnenoutlet.com
237    desonnenbrillen.com
238    markende.com
239    brands-shoes.com
240    srnvacas.com
241    bedsidebaes.com
242    pumpsshirts.com
243    buydiscountbra nd.com
244    nltassen.com


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245    developbags.com
246    brandfactoryshop.com
247    onsale-bags.com
248    uloveshares.com
249    yia nda hanbags.com
2so    24salebag.com
251    alicelady.com
252    a   licebasshop.com
253    chea oclothinscha rm.com
254    offcialnikeshop.com
255    guccibe ltsoutletbcus.com
256    tinashops.com
257    siubbottoit.com
258    freehoteirlesa ll.com
259    bella rineestate.com
260    childreni.com
261,   replicahandbagsus.com
262    replica ha nd bags888.com
263    transoffering.com
264    buell-potsdam.com
265    ezidwatches.com
266    2014succi be ltsonsa le.com
267    cheapbelts20L4.com
268    oickha nd baesa le.com
269    livinginmiamibeach.com
270    edesignerha nd bagstrend.com
271.   hotsnea kersonsa le.com
272    fa   uxtotebags.com
273    coov-bags.com
274    shopolazaonline.com
275    replicadream.com
276    fa shio n bra   nds-store.co m
277    on   I   ines-o utletstore.com
278    luxurybrandsonlines.com
279    vetitrendy.com
280    386advice.com
281    sacfinfo.com
282    plusdea lmart.com
283    topsalebag.com
284    aplusbas.com
285    abmbags.com


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286           )mybag.com
287   reolicas-boutioue.com
288   onecopvone.com
289   nbalebronll.com
290   nbalebron6.com
291   ozvlc8.com
292   aooarelare.com
293   essentia ldress.com
294   knowncoat.com
295   withapparel.com
296   apparelsisht.com
297   afforda blecoat.com
298   famouscoat.com
299   aooarelsome.com
300   dressalong.com
301   cheapguccibeltshop.com
302   totodress.com
303   clothesform.com
304   na   mebra ndd ress.com
305   dressmallon.com
306   dressesforum.com
307   stylebeltssa le.com
308   madbecause.com
309   scarfsaleing.com
310   bu rbe rry-d isco u nt. i nfo
311   buycheapbag.info
312   sacschanel.info
313   shoooinsluxurv.info
3L4   ha nd   baes-re olicas. i nfo
315   marcasciarpa.info
316   burberrys-outletonline.net
317   bu   rberryoutletstore2014. net
318   handbagsbu rberrvaustra lia.net
319   burberrys-outlet.net
320   1bu rbe rrvoutlet. net
321   freetousa. net
322   replica pradahandbags.net
323   shopdesisnerbagmalls.net
324   sale-swiss.net
32s   baesfactorvo utlet. net
326   tshirtma roue.net


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327   lvnikes.net
328   nicescarf.net
329   replicaluxury.net
330   lou isvuitto    n   ha    ndvaskorsverige. net
331   qiq   ifashions0l.net
332   repl icawatcheview. net
333   achatma rques.net
334   replica-clothing.net
335   brandsclothing.net
336   shoplvmonogram idylle.net
337   lezizsofra    la r.   net
338   designerbaghome.net
339   fashionha ndbasshoppins.net
340   designer-shop.net
341   chea p-burberry.org
342   bestburberrybags.org
343   classicburberrybags.org
344   chea pburberryhand bags.org
345   bu    rbe rryfa cto ryo ut et.o rg
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346   burberrv-walletsa le.org
347   bu rbe rrvtascheno utlets.o rg
348   bass88.ors
349   handbags-discount.org
350   soyoyo.org
351   vetementdoudoune.org
3s2   tshirthommefemme.org
353   tshirtbon.ors
354   vetementsra ph la u re n.o rg
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355   polonorge.org
356   tilbudtasker.ore
3s7   doudounepa ris.org
3s8   ha    ndtaskopen.org
3s9   doudounemoinscher.org
360   buychea phandbags.org
351   scarvesonline.org
362   sacmarque.org
363   best-bags.org
364   vaskorreaonline.org
365   sacpascherenligne.org
366   laukutfinland.ors
367   reolicasha nd bass.org


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368       replicaaha nd bags.org. uk
369       bu rberryfacto ryo utlets. us
370       bu   rberryoutletsto   res. us
37L       burberrvoutletstore. us
372       burberrywallet. us
373       ccgrass. us
374       bbhand baes-outlet. us
375       pacificgp.us
376       bboutletbaessale. us


                                     Defendant Domain Names Registrants
No.               Defendant      /   Registrant Name                       Registrant Email
      1   terrfic. co., ltd,                                usedfortestine20ll@email.com
      2   chen songlin                                      13108938L6@oo.com
      3   Stephanie Meier                                   info@yahei.net
   4      lin lian lian                                     dailystock@ hotmail.com
      5   joyousbuy.cn                                      oyousbuy@163.com
      6   xialin chen                                       jisfee9988@L26.com
      7   wen ben zhou                                      e59e@qo.com
   8      BESTDFDD SSLIN
  12      kaiye chen
  13      renywing
  1.4     may may
  15      Hildeearde MacMillan
  16      Craie Abdullah
  18      Adam Rosser
  20      Haiwen Yans
  27      ifb Americas Steffi Eneels
  22      Jodi Fasnacht
  23      NAET TEC UK Limited Comapny
  24      Oliver Beckford
  25      Tezira Nabongo
  26      Samira benbrika
  27      huachao chen
  28      oine hua                                          qdjhdh@yahoo.com
  29      wans xiaoli                                       1286096313@qq.com
  30      sox bks                                           L925857046@qq.com
  31      lizhipens                                         heiuirfdl63.com
  32      vane oinszhao                                     hurndee@163.com
  33      zheng chunwang                                    L2546I1787 @qo.com
  34      fang xingai                                       L4448L7228@oo.com


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  35   Huane Tian                         ronice988@163.com
  36   Chen Fang                          haorenjies@L63.com
  37   gu meihua                          liujiudaili@163.com
  38   zhans han                          summerswimer@163.com
  39   iackhuane                           19476L8773@qq.com
  40   YANG GONGFEI                       NHUENS@SINA.COM
  41   biglove                            564268297 @qq.com
  42   zhao hao                           zhaohao3s@163.com
  43   Linpain                            463956089@qq.com
  44   lin anxiao                         burberryLT19@163.com
  45   xrang xrang                        xb2OL4O8O7 @163.com
 46    yule                               2286028183@oo.com
 47    Caroline Riahi                     bidu9575@163.com
 48    MoMo Too                           domian@sina.cn
 49    Amy Bloom                          yangsi20L0@126.com
  50   Bennie Jeans                       2O20L1,42O3@oo.com
  51   leon hartleburv                    leonha rtlebury3b@outlook.com
  52   han wu                             resistrar@mail.zssi.com
  53   guoqrn yang                        prcla risse@hotma il.com
  54   wu genslone                        ronice1899@smail.com
  55   lorenzo hosan                      iimmsab@hotmail.com
  56   xrao xr gua                        grongttew@yahoo.com
 57    leigh avery                        lilleieh 13@hotmail.co.uk
 58    Wans ShanShi                       re p I ica wa tch es0 (oe m   a   i   l.co m
 59    chen guanghua                      ronice1982@smail.com
 60    Elsa Swift                         mw8klrc03nu9@gmail.com
 51    peter louis                        peter.louis58@gmail.com
 62    Dan Custer                         patrickjn3T6@gmail.com
                                          048B4AE2 FAA34A54A6A3 D93356 1 E2C14. PROTE
 63    WHOISGUARD, INC.                   CT@WHOISGUARD.COM
 64    Guo Ai E                           cantadukkan.com @oo.com
 65    black jack                         L786567774@qq.com
 66    luo xiaolan                        gtrkdsss@ 163.com
 67    li bai                             a252t52@t26.com
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                                                   pw-5bb23a86070057 108de75396ecdf8c12
 233   See PrivacyG                                @privacygua rdian.org
                                                   pw-8b76e48fa5 b5542460cd 184d4fbea b20
 234   See PrivacyG uardia n.org                   @privacvsua rdian.org
                                                   pw-9a 59f7a c8a7 4a4f05L43ea2829669517
 235   See PrivacyG ua rdia n.org                  @privacygua rdian.org
                                                   pw-b7bce0097 24c37 3cdddc92 b8888f6a5 b
 236   See PrivacyG ua rdia n.org                  @orivacvgua rdian.org
                                                   pw-be43d4e0b2949bd bbfa5df39 1c553a9d
 237   See PrivacvG ua rdia n.org                  @privacvguardian.org
                                                   pw-d4e1b46fa0aad5848b886da59fdc5d09
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 64    ha    kertwustv5456@ hotma i Lcom
 65    iu   ratfe rs45778@ hotma il.com
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 70    versxedu20l-2 @hotmail.com
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L37    lovefashionfu@ hotmail.com
138    chooseitem123 @L63.com
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 2t   cnreplica4u@gmail.com
      customerservice-
 22   online24hs@ hotmail.com
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 26   info   @   replica bagsnow.co m
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 32   lvnike9@email.com
 33   marquelinks@ hotmail.com
 34   meifa neO594@vmail.com
 35   m    uffle r-shawl-sca rf@ hotma il.com
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 39   rachelwatchbag@gmail.com
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 43   reolicahiohop@smail.com
 44   reolicahiohop@vahoo.com
 45   replicastores@gmail.com
 46   sacmarq ue@hotmail.com
 47   sa   les@2014luxurybrand.com
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Coach, Inc. v. Ocean Point Gifts, Not Reported in F.Supp.2d (2010)
2010 WL 2521444


                                                                          SIMANDLE, District Judge.
      KeyCite Yellow Flag - Negative Treatment
Distinguished by Buzz Bee Toys, Inc. v. Swimways Corp., D.N.J., May 15,    *1 This matter comes before the Court on Plaintiffs Coach,
2014                                                                      Inc. and Coach Services, Inc.'s (“Coach”) motion for default
                   2010 WL 2521444                                        judgment (Docket No. 9) as against Defendant Ocean Point
     Only the Westlaw citation is currently available.                    Gifts (“Defendant”). For the reasons expressed below, the
      United States District Court, D. New Jersey.                        Court will grant Plaintiffs' motion.

                COACH, INC. and Coach
                                                                          I. BACKGROUND
              Services, Inc., Plaintiff,
                         v.                                                  A. Facts1
            OCEAN POINT GIFTS and                                         For over sixty years Coach has been in the trade of
                                                                          luxury fashion accessories. Coach manufactures, markets,
           Does 1 Through 10, Defendant.                                  and sells a variety of goods including, most prominently,
                                                                          handbags. Coach sells its goods through its own specialty
                Civil Action No. 09–4215 (JBS).
                                                                          retail stores, department stores, catalogs, and via the Internet
                                |
                                                                          at www.coach.com. Coach owns a number of trademarks,
                         June 14, 2010.
                                                                          trade dresses, and design elements/copyrights that it uses on
                                                                          its products.
 West KeySummary
                                                                          Based on information obtained from a private investigator and
                                                                          Coach staff, Coach alleges that Defendant Ocean Point Gifts
 1        Trademarks           Measure and amount                         has sold counterfeit Coach items at its store located at 1631
          A designer handbag manufacturer was entitled                    Boardwalk, Atlantic City, New Jersey. (Compl. ¶ 28; Smith
          to $200,000.00 in damages against a store                       Decl. ¶¶ 3–4.) For example, Defendant sold a $12.99 imitation
          that sold counterfeit handbags bearing the                      of a $200 Coach wallet that included a paper insert reading
          manufacturer's trademarks. The manufacturer                     “The Coach Signature Collection” with contact information
          was entitled to an award of $10,000 per                         for Coach Consumer Service. (Smith Decl. ¶ ¶ 5–6.) Ocean
          infringement for 20 infringements based on the                  Point Gifts has not been given permission to use the Coach
          wilfulness shown by the store which continued                   trademarks. (Pyatt Decl. ¶ 11; Compl. ¶ 33.)
          to sell the counterfeit bags after receiving the
          manufacturer's complaint and its culpability                    Plaintiffs served Defendant Ocean Point Gifts with a copy
          of failing to respond to the manufacturer's                     of the summons and complaint on August 23, 2009. (Docket
          complaint. Lanham Act, § 35(a–b), 15 U.S.C.A.                   No. 5.) On November 20, 2009, nearly three months after
          § 1117(a–b).                                                    process was served, the investigator returned to the store and
                                                                          found that the Defendant was still selling counterfeit Coach
          24 Cases that cite this headnote                                products. (Smith Decl. ¶ 8.) Coach alleges that Defendant
                                                                          Ocean Point Gifts has engaged in selling counterfeit goods
                                                                          knowingly and intentionally for the purpose of trading on the
                                                                          reputation of Coach and that Defendant will continue to do so
Attorneys and Law Firms                                                   unless otherwise restrained. (Compl.¶¶ 34, 36.)

Erica Susan Helms, Esq., Sterns & Weinroth, PC, Trenton,
NJ, for Plaintiffs.                                                         B. Procedure
                                                                          On August 18, 2009, the Plaintiffs filed a nine-count
                                                                          Complaint against Ocean Point Gifts and ten John Does
OPINION                                                                   presenting claims of trademark counterfeiting (15 U.S.C.
                                                                          § 1114), trademark infringement (15 U.S.C. § 1114),



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     Case: 1:21-cv-01664 Document #: 85-1 Filed: 02/11/22 Page 60 of 144 PageID #:3319
Coach, Inc. v. Ocean Point Gifts, Not Reported in F.Supp.2d (2010)
2010 WL 2521444

trade dress infringement (15 U.S.C. § 1125(a)), false                 otherwise defend and the Clerk of the Court entered a default.
designation of origin and false advertising (15 U.S.C.                Therefore, the first issue is whether the Plaintiffs have stated
§ 1125(a)), trademark dilution (15 U.S.C. § 1125(c)),                 a sufficient cause of action. As will be explained below,
copyright infringement (17 U.S.C. §§ 501–513), trafficking            the Court determines that Coach has established Defendant's
in counterfeit trademarks (N.J.Stat.Ann. § 56:3–13.16), unfair        liability for the purposes of this default judgment motion.
competition (N.J.Stat.Ann. §§ 56:4–1, 56:4–2), and unjust
enrichment. The Defendant was properly served on August
23, 2009, but has failed to respond. On November 10,                     1. Federal Claims
                                                                      In their Complaint, Plaintiffs have asserted six federal claims
2009, Coach filed a request for default, which the Clerk              against the Defendant: trademark counterfeiting (15 U.S.C.
of Court entered pursuant to Rule 55(a), Fed.R.Civ.P., on             § 1114(1)(a)); trademark infringement (15 U.S.C. § 1114(1)
November 12, 2009. Coach now moves the Court to enter a               (a)); trade dress infringement (15 U.S.C. § 1125(a)); false
default judgment against Defendant and seeks a permanent              designation of origin and false advertising (15 U.S.C. §
injunction, statutory damages, and an award of attorney fees,         1125(a)(1)(A)); trademark dilution (15 U.S.C. § 1125(c)); and
investigator fees, and costs.                                         copyright infringement (17 U.S.C. §§ 501–513). Each was
                                                                      stated sufficiently to establish liability based on federal law.

II. DISCUSSION
 *2 Fed.R.Civ.P. 55(b)(2) authorizes the entry of a default              a. Trademark Infringement (15 U.S.C. § 1114(1)(a)) and
judgment against a party that has defaulted. However, default            False Designation (15 U.S.C. § 1125(a)(1)(A))
judgment is not a right. Franklin v. Nat'l Mar. Union of Am.,         Trademark infringement (Count II) and false designation
No. 91–480, 1991 WL 131182, at *1–2 (D.N.J. July 16, 1991)            (Count IV) are measured by identical standards. A & H
(quoting 10A Wright, Miller, & Kane, Federal Practice and             Swimwear, Inc. v. Victoria's Secret Stores, Inc., 237 F.3d 198,
Procedure § 2685 (3d ed.1998)), aff'd, 972 F.2d 1331, 1331            210 (3d Cir.2000). The record must show: (1) the plaintiff has
(3d Cir.1992). The decision about whether default judgment            a valid and legally protectable mark, (2) the plaintiff owns
is proper is primarily within the discretion of the district court.   the mark, and (3) the defendant's use of the mark causes a
Hritz v. Woma Corp., 732 F.2d 1178, 1180 (3d Cir.1984).               likelihood of confusion. Id.

                                                                       *3 The first two elements are satisfied by registration
   A. Standard of Review                                              and ownership of the relevant trademarks. (Compl.¶¶ 14–
Once a party has defaulted, the consequence is that “the              15.) The third element is also satisfied. In the Complaint
factual allegations of the complaint, except those relating to        (Compl.¶ 49) and through exhibits, (e.g. Smith Decl., Ex.
the amount of damages, will be taken as true.” Comdyne I,             B) the record has uncontested assertions and evidence that
Inc. v. Corbin, 908 F.2d 1142, 1149 (3d Cir.1990) (internal           are sufficient to show a likelihood of confusion between the
quotations omitted) (citing Thomas v. Wooster, 114 U.S. 104,          counterfeit handbags and genuine Coach product. Further,
5 S.Ct. 788, 29 L.Ed. 105 (1885)). Entry of default judgment          it is reasonable to believe that some consumers would be
where damages are not a sum certain requires an application           confused by these counterfeit products. See Coach, Inc. v.
to the court to prove, inter alia, damages. Fed.R.Civ.P. 55(b)        Cellular Planet, No. 2:09–cv–00241, 2010 WL 1853424, at
(2); Comdyne, 908 F.2d at 1149. In addition, liability is not         *1, *4 (S.D.Ohio, May 7, 2010) (holding that although the
established by default alone. D.B. v. Bloom, 896 F.Supp. 166,         counterfeit items could be distinguished from genuine Coach
170 n. 2 (D.N.J.1995) (citing Wright, supra, § 2688). The             items because they were being sold out of a trunk of a car, the
Court must determine whether a sufficient cause of action             counterfeit nature of the products meant they were inherently
was stated, Chanel, Inc. v. Gordashevsky, 558 F.Supp.2d 532,          likely to cause confusion). Therefore, a cause of action for
535 (D.N.J.2008), and whether default judgment is proper.             trade infringement and false designation has been sufficiently
Chamberlain v. Giampapa, 210 F.3d 154, 164 (3d Cir.2000).             established.


  B. Sufficiency of Causes of Action                                    b. Trademark Counterfeiting (15 U.S.C. § 1114(1)(a))
In the present case, after being properly served on August            To establish trademark counterfeiting (Count I) the record
23, 2009 (Docket No. 5), the Defendant failed to appear or            must show (1) the defendant infringed a registered trademark



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in violation of the Lanham Act, 15 U.S.C. § 1114(1)(a) and           became famous; and (4) defendant's use causes dilution by
(2) the defendant intentionally used the trademark knowing           lessening the capacity of the plaintiff's mark to identify and
it was counterfeit or was willfully blind to such use. Chanel        distinguish goods or services.
v. Gordashevsky, 558 F.Supp.2d at 537. “The only distinction       Times Mirror Magazine, Inc. v. Las Vegas Sports News,
between the standard for federal trademark counterfeiting          LLC, 212 F.3d 157, 163 (3d Cir.2000); 800–JR–Cigar, Inc. v.
and the standard for establishing infringement is that to          GoTo.com, Inc., 437 F.Supp.2d 273, 293 (D.N.J.2006).
obtain treble or statutory damages for a counterfeiting claim,
a plaintiff must show that the defendant intentionally used        As set forth in Count V of the Complaint, the Plaintiff
the plaintiff's trademark, knowing that it was a counterfeit.”     has shown that the relevant Coach marks are “famous”
Chanel v. Gordashevsky, 558 F.Supp.2d at 536–537. Intent           and Defendant's actions lessen the capacity of such marks
can be inferred from continued use after being given notice.       to identify and distinguish Coach products. (Compl.¶¶ 75–
Platypus Wear, Inc. v. Bad Boy Club, Inc., No. 08–02662,           76.) The interstate nature of the commerce and the timing
2009 WL 2147843, at *6 (D.N.J. July 15, 2009)                      of the Defendant's use of the mark is not perfectly clear
                                                                   from the record. Private investigator Erin Smith, employed
Here, both elements of trademark counterfeiting are met.           by a Pennsylvania investigative firm, purchased a wallet at
As discussed above, a trademark was infringed. The alleged         Defendant's store. (Smith Decl. ¶¶ 2, 5.) This is evidence that
willfulness of the Defendant (Compl.¶ 41) is confirmed             the Defendant is involved in interstate commerce. Similarly,
by evidence showing the Defendant continuing to sell the           although uncertain due to the Defendant's failure to respond,
handbags nearly three months after being served with notice        the Defendant's use almost certainly began following the time
of the Complaint. (Smith Decl. ¶ 8, Ex. C.) Therefore, a cause     when the Plaintiffs' marks became famous. Therefore, the
of action for trademark counterfeiting has been sufficiently       Court will accept that these elements are satisfied and a cause
established.                                                       of action for trademark dilution has been established.


   c. Trade Dress Infringement (15 U.S.C. § 1125(a))                  e. Copyright Infringement (17 U.S.C. §§ 501–513)
To establish trade dress infringement (Count III), a               To establish copyright infringement pursuant to 17 U.S.C.
plaintiff must show: (1) the allegedly infringing design is        §§ 501–513, a plaintiff must prove (1) ownership of a valid
nonfunctional, (2) the design is inherently distinctive or has     copyright, and (2) copying of constituent elements of the work
acquired secondary meaning, and (3) consumers are likely to        that are original. Feist Publ'ns, Inc. v. Rural Tel. Serv. Co.,
confuse the source of the plaintiff's product with that of the     Inc., 499 U.S. 340, 361, 111 S.Ct. 1282, 113 L.Ed.2d 358
defendant's product. McNeil Nutritionals, LLC v. Heartland         (1991); Dam Things from Denmark v. Russ Berrie & Co., Inc.,
Sweeteners, LLC, 511 F.3d 350, 357 (3d Cir.2007).                  290 F.3d 548, 561 (3d Cir.2002). The copying element can
                                                                   be proven by showing that the defendant had access to the
Each of these elements was stated in the Complaint,                work and there are substantial similarities between the two
(Compl.¶¶ 57–59) and was not contested. The Court is               works. Dam Things, 290 F.3d at 561. Both elements have been
therefore satisfied that the Plaintiffs have a meritorious claim   sufficiently asserted to state a cause of action for copyright
for trade dress infringement based on the non-functional           infringement. (Compl.¶¶ 84–86.) Therefore, a cause of action
nature of the infringement, the distinctiveness of the Coach       for copyright infringement has been established.
elements, and the likelihood of confusion.

                                                                      2. State Claims
   d. Trademark Dilution (15 U.S.C. § 1125(c))                     In their Complaint Plaintiffs have also asserted three state
 *4 To establish trademark dilution under the Lanham Act a         law claims: trademark counterfeiting (N.J.Stat.Ann. § 56:3–
plaintiff must prove:                                              13.16); unfair competition (N.J.Stat.Ann. §§ 56:4–1, 56:4–
                                                                   2); and unjust enrichment. The state common law claim was
  (1) the plaintiff is the owner of a mark that qualifies          sufficiently stated and because federal liability has already
  as a ‘famous' mark in light of the totality of eight             been established, state statutory liability is also met.
  factors listed in § 1125(c)(1); (2) the defendant is making
  commercial use in interstate commerce of a mark or trade
  name; (3) defendant's use began after the plaintiff's mark         a. State Statutory Claims



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N.J. Stat. Ann. § 56:3–13.16 provides civil liability against a    have been prevented from prosecuting their case, engaging in
person who engages in trafficking of counterfeit marks and         discovery, and seeking relief in the normal fashion. Defendant
N.J. Stat. Ann. § 56:4–2 provides civil liability against a        was properly served, yet failed to appear or defend itself
person who appropriates trademarks. These state law claims         in any fashion and has continued to sell bags. (See Smith
are similar to the federal Lanham Act claims and this Court        Decl. ¶ 8.) It has been nearly a year and the Defendant has
has found liability under federal law to be sufficient to          failed to contact the Court or the Plaintiffs. This shows the
establish liability under state law. See Axelrod v. Heyburn, No.   Defendant's culpability in its default. See Platypus Wear, 2009
09–5627, 2010 WL 1816245, at *3 (D.N.J. May 3, 2010);              WL 2147843 at *5. Plaintiff is entitled to default judgment
Zinn v. Seruga, No. 05–3572, 2009 WL 3128353, at *27–              against Defendant Ocean Point Gifts.
*28 (D.N.J. Sept.28, 2009); N.V.E., Inc. v. Day, No. 07–4283,
2009 WL 2526744, at *2 (D.N.J. Aug.18, 2009). Therefore,
because Plaintiffs have established liability for their federal      D. Remedies
claims for trademark counterfeiting, the Plaintiffs have also
                                                                      1. Statutory Damages
established trademark counterfeiting under N.J. Stat. Ann. §
                                                                   The Lanham Act provides that a plaintiff can elect to recover
56:3–13.16 and unfair competition under N.J. Stat. Ann. §§
                                                                   either actual damages based on the defendant's profits and
56:4–1, 56:4–2.
                                                                   the plaintiff's damages (15 U.S.C. § 1117(a)) or statutory
                                                                   damages (15 U .S.C. § 1117(c)). The Plaintiffs have elected
   b. Unjust Enrichment                                            to recover statutory damages. (Mem. in Supp. of Mot. for
 *5 The Plaintiffs have stated a claim under New Jersey            Default J. and Permanent Inj., 11.) As discussed below, after
common law for unjust enrichment. (Compl.¶ 107.) Here              considering past awards in this District, the point of sale, the
the Defendant was profiting from counterfeit items based on        extent of sales, and the lack of evidence concerning plaintiffs'
Coach's reputation. It would be unjust for the Defendant to        losses, the Court will award $200,000 in statutory damages.
enrich itself without compensating the Plaintiffs, so a cause
of action for unjust enrichment has been established. See          For statutory damages the plaintiff may recover “not less than
Howard Johnson Int'l, Inc. v. Vraj Brig, LLC, No. 08–1466,         $1,000 or more than $200,000 per counterfeit mark per type
2010 WL 215381, at *9 (D.N.J. Jan.14, 2010) (citing Kopin          of goods or services sold, offered for sale, or distributed,
v. Orange Prod.s, Inc., 297 N.J.Super. 353, 366–68, 688 A.2d       as the court considers just.” 15 U.S.C. § 1117(c)(1)). If
130 (N.J.Super.Ct.App.Div.1997)).                                  the use of the counterfeit mark was willful, the maximum
                                                                   increases to $2,000,000 per mark per type of good. 15 U.S.C.
In sum, each count of the complaint stated a sufficient cause of   § 1117(c)(2). For use to be willful, a defendant must show
action that is supported by evidence in the record. The Court      an “aura of indifference to plaintiff's rights” or a “deliberate
now turns to whether default judgment is proper.                   and unnecessary duplicating of a plaintiff's mark ... in a
                                                                   way that was calculated to appropriate or otherwise benefit
                                                                   from the good will the plaintiff had nurtured.” SecuraComm
   C. Default Judgment                                             Consulting Inc. v. Securacom Inc., 166 F.3d 182, 187 (3d
“Before imposing the extreme sanction of default [judgment],       Cir.1999) (citations and internal marks omitted), superseded
district courts must make explicit factual findings as to (1)      by statute on other grounds as recognized by Banjo Buddies,
whether the party subject to default has a meritorious defense,    Inc. v. Renosky, 399 F.3d 182, 187 (3d Cir.1999).
(2) the prejudice suffered by the party seeking default, and (3)
the culpability of the party subject to default.” Doug Brady,       *6 “In the absence of clear guidelines for setting a statutory
Inc. v. N.J. Bldg. Laborers Statewide Funds, 250 F.R.D. 171,       damage award, courts have tended to use their wide discretion
177 (D.N.J.2008) (citing Emcasco Ins. Co. v. Sambrick, 834         to compensate plaintiffs, as well as to deter and punish
F.2d 71, 74 (3d Cir.1987)).                                        defendants, often borrowing from factors considered for
                                                                   statutory damages in copyright infringement.” Louis Vuitton
The current record does not show any meritorious defenses.         Malletier & Oakley, Inc. v. Veit, 211 F.Supp.2d 567, 583–84
Because the Defendant did not respond, the Court cannot            (E.D.Pa.2002) (citing cases showing wide range of statutory
determine whether the Defendant had meritorious defenses           damages awarded by district courts). Because statutory
that are not reflected in the record. The Plaintiffs have been     damages are meant to serve as a substitute for actual damages
prejudiced by the Defendant's failure to answer because they       the Court should discern whether the requested damages


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“bear some relation to the actual damages suffered.” Bly v.        Supermarket, No. 06–cv–951, Consent Judgment at 1 (D.N.J.
Banbury Books, Inc., 638 F.Supp. 983, 987 (E.D.Pa.1986);           Feb. 13, 2008) (settlement of $20,000).
see also Gucci Am. V. Duty Free Apparel, Ltd., 315 F.Supp.2d
511, 520 (S.D.N.Y.2004) (“To the extent possible, statutory         *7 This case falls somewhere between the Internet cases
damages ‘should be woven out of the same bolt of cloth             and the cigarette cases. While the counterfeit products at
as actual damages.’ ”) (quoting 4 Melville B. Nimmer &             issue were not widely distributed via the Internet, they are
David Nimmer, Nimmer on Copyright § 14.04[E] [1], at 14–           counterfeit luxury items of far greater value than cigarettes.
69 (2003.))                                                        If the Internet cases represent “the new era of counterfeiting,”
                                                                   Louis Vuitton & Oakley, 211 F.Supp.2d at 584, this case
To assess whether the request is appropriate, the Court may        reminds us that there are still hucksters on the boardwalk
be guided by past statutory damage awards. See Louis Vuitton       capitalizing on the famous marks of others. To determine
Malletier, S.A. v. Mosseri, No. 07–2620, 2009 WL 3633882,          damages when there is less guidance from other cases this
at *3 (D.N.J. Oct.28, 2009); N.V.E., 2009 WL 2526744, at           Court has adopted factors that have been used in the Second
*3–*4; Louis Vuitton & Oakley, 211 F.Supp.2d at 583–84.            Circuit:
The recent Lanham Act cases in this District for counterfeit
products can be generally grouped under two categories:              (1) the expenses saved and the profits reaped; (2) the
Internet cases and cigarette cases.                                  revenues lost by the plaintiff; (3) the value of the copyright;
                                                                     (4) the deterrent effect on others besides the defendant; (5)
The typical Internet case involves a suit against someone            whether the defendant's conduct was innocent or willful;
selling counterfeit luxury items on the Internet. These cases        (6) whether a defendant has cooperated in providing
often have high damage awards due in part to the wide market         particular records from which to assess the value of the
exposure that the Internet can provide. See Louis Vuitton v.         infringing material produced; and (7) the potential for
Mosseri, 2009 WL 3633882, at *3 (awarding $25,141.31 per             discouraging the defendant.
infringement for $4,072,892.22 total); Chanel, Inc. v. Guetae,     Platypus Wear, 2009 WL 2147843, at *7; Fitzgerald Publ'g
2009 WL 1653137, at *5 (D.N.J. June 8, 2009) (awarding             Co. v. Baylor Publ'g Co., 807 F.2d 1110, 1117 (2d Cir.1986).
$490,818.45 total); Chanel, Inc. v. Mosseri, No. 07–2619,
Order at 2 (D.N.J. May 20, 2008) (awarding $180,000 per            As discussed earlier in the context of trademark
infringement for $3,780,000 total); Chanel v. Gordashevsky,        counterfeiting, the Defendant's conduct was willful, so the
558 F.Supp.2d at 538 (awarding $2,238,624.50 total); Chanel,       maximum award of $2,000,000 per counterfeit mark per
Inc. v. Craddock, No. 05–1593, 2006 WL 1128733, at *1              type of good sold is available. Four types of goods were
(D.N.J. April 27, 2006) (awarding $100,000 per infringement        sold by the Defendant that carried counterfeit Coach marks:
for $8,100,000 total); see also Louis Vuitton & Oakley,            handbags, wallets, scarves, and hats2. Five Coach trademarks
211 F.Supp.2d 567, 584–85 (awarding $1,500,000 total and           were infringed: the “Signature C;”3 “Coach Leatherware
stating “the point of sale is very relevant to the statutory
                                                                   Est.1941;”4 “COACH;”5 “Coach & Lozenge Design;”6 and
damages discussion”).
                                                                   “Coach Op Art”7).
The typical cigarette case involves a small retail store selling
counterfeit cigarettes. These cases have dramatically lower        Because there are four types of goods and five marks, the
damage awards. See Philip Morris USA, Inc. v. Jaritza              statutory damage amount must be not less than $20,000 or
Supermarket, Inc., No. 09–CVS–2372, 2009 WL 4496047,               more than $40,000,000. The Plaintiffs have requested one
at *2 (D.N.J. Nov.9, 2009) (awarding $4,000 total); Philip         hundred times the minimum statutory damages, $100,000
Morris USA, Inc. v. Dorta Bars & Liquor, Inc., No. 07–4599,        per mark per good for a total of $2,000,000. However,
Order of June 1, 2009 at 3 (D.N.J. June 1, 2009) (awarding         the Plaintiffs have provided no information about their lost
$1,000 each against two defendants). These awards were             revenue or the value of their trademarks, trade dresses, and
similar to cigarette case settlement amounts enforced by this      copyrights. While the Court is tempted to follow the approach
Court. See Lorillard Tobacco Co. v. Asian Am. Mkt., No.            of Philip Morris v. Dorta Bars and ask for an affidavit
06–cv–00948, Order at 2 (D.N.J. July 7, 2008) (settlement          supporting its damage request, 2009 WL 872026, at *3
of $3,000); Lorillard Tobacco Co. v. Atlantic Produce &            (D.N.J. Mar.30, 2009), the Court recognizes that the root of
                                                                   this deficiency is Defendant's failure to respond.



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The Court chooses to follow the approach of Platypus Wear
and award $10,000 per infringement for $200,000 total, ten
times the minimum statutory damages. 2009 WL 2147843,                2. Costs and Attorney Fees
at *7. This amount is within the guidelines established           In addition to statutory damages, Coach asks for both attorney
by Congress, takes into account the wilfulness shown by           fees and costs, which their evidence shows to be $7,648 for
continuing to sell bags after receiving the Complaint and the     attorney fees, $443.33 for investigative fees, and $434.95 for
culpability of failing to respond, and is significant enough      costs.
to serve as compensation to the Plaintiffs and a deterrent to
both the Defendant and others. This award also acknowledges       The costs of actions brought under § 43(a), § 43(d), or a
that the sales took place at a small shop on the boardwalk        willful violation under § 43(c) of the Lanham Act (codified at
rather than the Internet. This award is consistent with another   15 U.S.C. § 1117(a), (d), & (c), respectively) can be recovered
recent case in this District which only increased the award       pursuant to § 35(a) (codified at 15 U.S.C. § 1117(a)).
beyond $10,000 per infringement due to the mass-distribution      In “exceptional cases” the court may award reasonable
of a banned substance using the Internet. N.V.E., 2009 WL         attorney fees. 15 U.S.C. § 1117(a). “Exceptional” has been
2526744, at *4 (awarding $250,000 even though plaintiff           interpreted by the Court to mean involving culpable conduct.
requested $2,000,000). Because neither the Internet nor a         Securacomm, 224 F.3d at 280. Because this case involved
banned substance is present here, ten times the minimum,          the culpable conduct of continuing to sell goods after the
namely $10,000 per infringement, is appropriate, for each of      Complaint was received, then consistent with other decisions
the twenty infringements.                                         by this Court, attorney fees and costs will be awarded to the
                                                                  Plaintiffs.9 See Louis Vuitton v. Mosseri, 2009 WL 3633882,
 *8 To check whether this amount “bears some relation,”           at *4; Chanel v. Gordashevsky, 558 F.Supp.2d at 539.
Bly, 638 F.Supp. at 987, the Court will approximate what
the Plaintiff may have gotten based on an “actual damages”        Attorneys fees can includes fees for investigators working
calculation under 15 U.S.C. §§ 1117(a)-(b). See Malletier         under the direction of an attorney. Chanel v. Gordashevsky,
v. Apex Creative Int'l Corp., 687 F.Supp.2d 347, 355–356          558 F.Supp.2d at 539 (citing Louis Vuitton S.A. v. Downtown
(S.D.N.Y.2010).                                                   Luggage Ctr. ., 706 F.Supp. 839, 842 (S.D.Fla.1988); 130
                                                                  Cong. Rec. H12076, H12083 (Oct. 10, 1984) (J. Explanatory
During the November 20, 2009 visit8 by Investigator Smith         Statement on Trademark Counterfeiting Legis.) ). Thus, in this
there were 25 bags priced at $24.99, 60 handbags priced           case the fees that the Plaintiffs have paid to the investigative
from $39.00 to $59.00 and 5 scarf and hat matching sets           firm can be included in damages.
with an unstated price. (Smith Decl. ¶ 8.) If the Court
assumes that the scarf and hat sets were also priced $39.00 to
                                                                     3. Permanent Injunction
$59.00, then the value of the displayed inventory that day was
                                                                   *9 Coach also seeks the equitable relief of a permanent
between $3,159.75 and $4,459.75. Assuming the store sold
                                                                  injunction to enjoin the Defendant from infringing Coach's
this volume of displayed inventory each week and the store
                                                                  trademarks. This request is consistent with 15 U.S.C. §
had a 300% profit margin, then the amount of trebled damages
                                                                  1116(a). The Supreme Court requires that any plaintiff
would be between $7,109.44 and $10,034.44 per week. Thus,
                                                                  seeking a permanent injunction to show:
the “actual damages” would equal the Court's determination
of statutory damages at some point between 20 and 28 weeks          (1) that it has suffered an irreparable injury; (2) that
of sales. This period of time is approximately equal to the         remedies available at law, such as monetary damages,
tourist season on the Jersey Shore. The Court's determination       are inadequate to compensate for that injury; (3) that,
is more reasonable than the requested award of $2,000,000           considering the balance of hardships between the plaintiff
which would not approximate actual damages without four to          and defendant, a remedy in equity is warranted; and (4) that
six years of brisk year-round sales of counterfeit items.           the public interest would not be disserved by a permanent
                                                                    injunction.
Thus, considering the limited record of losses, the point of      eBay, Inc. v. MercExchange, LLC, 547 U.S. 388, 391, 126
sale, and the likely extent of the Defendant's business and       S.Ct. 1837, 164 L.Ed.2d 641 (2006) (citations omitted).
consistent with other awards in this District, the Court will
award $10,000 per infringement for $200,000 total.



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                                                                      only be served by upholding copyright protections and,
   a. Irreparable Injury
                                                                      correspondingly, preventing the misappropriation of the
The Third Circuit has explicitly stated that “once the
                                                                      skills, creative energies, and resources that are invested in
likelihood of confusion caused by trademark infringement
                                                                      the protected work.
has been established, the inescapable conclusion is that there
                                                                   Apple Computer, Inc. v. Franklin Computer Corp., 714 F.2d
was also irreparable injury.” Pappan Enter.s, Inc. v. Hardee's
                                                                   1240, 1255 (3d Cir.1983) (quoting Klitzner Indus., Inc. v. H.K.
Food Sys.s, Inc., 143 F.3d 800, 805 (3d Cir.1998) (quoting
                                                                   James & Co., 535 F.Supp. 1249, 1259–60 (E.D.Pa.1982).
Opticians Ass'n of Am. v. Indep. Opticians of Am., 920
                                                                   Issuing an injunction will serve the public interest goals of
F.2d 187, 1976 (3d Cir.1990). Thus, because a likelihood of
                                                                   preventing consumer confusion and the trademark holder's
confusion has been shown, the requirement of irreparable
harm has been met.                                                 property interest. Microsoft, 490 F.Supp.2d at 883. Here the
                                                                   public interest is served by issuing an injunction.

   b. Inadequacy of Remedies at Law                                 *10 Because each of the eBay requirements have been met
While a remedy at law would provide a degree of                    by Coach, the Court will grant Coach the relief it seeks
monetary relief, it will not compensate for the injury to          by enjoining Defendant Ocean Point Gifts from infringing
Coach's reputation or necessarily prevent future trademark         Coach's trademarks and copyrights. Ocean Point Gifts must
infringement. Louis Vuitton v. Mosseri, 2009 WL 3633882            also surrender the infringing products for destruction by
at *5; See also Audi AG v. D'Amato, 469 F.3d 534, 550 (6th         freight prepaid to Coach.
Cir.2006) (stating when there is potential for future harm there
is no adequate remedy at law). A remedy at law would be            In sum, the Court will grant $200,000 in statutory damages
inadequate to compensate Coach.                                    under the Lanham Act and $8,526.28 in attorney fees
                                                                   and litigation costs, bringing Plaintiffs' total recovery from
                                                                   Defendant Ocean Point Gifts to $208,526.28. In addition,
   c. Balancing of Hardships                                       the Court will permanently enjoin Ocean Point Gifts from
The only hardship imposed upon the Defendant is that they          infringing Coach's trademarks and copyrights in the future
obey the law. On the other hand if an injunction were not          and require it to surrender all infringing products it currently
issued then Coach suffers the hardships that gave rise to this     possesses.
suit, loss of reputation and sales. Louis Vuitton v. Mosseri,
2009 WL 3633882 at *5 (citing Microsoft Corp. v. McGee,
490 F.Supp.2d 874, 882–83 (S.D.Ohio 2007).                         III. CONCLUSION
                                                                   For the foregoing reasons the Court will grant the Plaintiffs'
                                                                   motion for default judgment, award a default judgment
   d. Public Interest                                              of $208,526.28, and issue a permanent injunction. The
The Third Circuit has recognized that the public has an            accompanying order for default judgment and permanent
interest in trademark and copyright protection.                    injunction shall be entered.

    Since Congress has elected to grant certain exclusive
    rights to the owner of a copyright in a protected work,        All Citations
    it is virtually axiomatic that the public interest can
                                                                   Not Reported in F.Supp.2d, 2010 WL 2521444


Footnotes
1       The facts recited herein are derived from the Plaintiffs' supporting declaration, including private investigator Richard H.
        Smith and Coach's Manager of Intellectual Property April E. Pyatt, and documents attached thereto.
2       Neither scarves nor hats are explicitly listed as a class of goods that the “Signature C” mark, Registration 2,822,318, is
        registered for under International Class 24. But because the class is broad and scarves and hats could be considered
        “clothing,” then this will be sufficient.
3       Registration No. 2,822,318
4       Registration No. 3,441,671
5       Registration No. 1,071,000



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6      Registration No. 1,309,779
7      Registration No. 3,696,470
8      This visit identified the largest inventory of any of the investigator's visits. During the July 13, 2009 visit by Investigator
       Smith there were “at least 50 different counterfeit Coach products” but no price was entered into evidence. (Smith Decl.
       ¶ 4.)
9      In their brief, Plaintiffs request $8,113.25 in attorney fees. The supporting documents (Davis Decl. ¶ 8; Confoy Decl. ¶ 8)
       show attorney costs as $7,648. The Court will only award what the evidence shows.


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                                                                 products. Deckers contends that Defendants use a variety of
                                                                 domain names set up by registrants (the “Accused Domain
                    2013 WL 169998
                                                                 Names”) and create websites that incorporate copyright-
               United States District Court,
                                                                 protected content, images, and product descriptions to
                      N.D. Illinois,
                                                                 mislead consumers into believing that they are purchasing
                    Eastern Division.
                                                                 genuine UGG® products.
              DECKERS OUTDOOR
                                                                 On December 20, 2012, the Court granted Deckers' ex
             CORPORATION, Plaintiff,                             parte motion for entry of (1) a temporary restraining order
                       v.                                        (“TRO”); (2) a domain name transfer order; (3) an asset
                                                                 restraining order; (4) an expedited discovery order; and
        DOES 1–100 d/b/a the aliases
                                                                 (5) an order permitting service of process by email and
    identified on Schedule “A”, Defendants.                      electronic publication. Defendants were served with notice
                                                                 of the preliminary injunction proceedings and the TRO. On
                       No. 12 C 10006.                           December 28, 2012, this Court extended the time for the
                               |                                 TRO to remain in effect (through 3:00 p.m. on January
                        Jan. 16, 2013.                           16, 2013) on Plaintiff's motion, finding that Plaintiff had
                                                                 demonstrated good cause for the extension. On January
Attorneys and Law Firms
                                                                 15, 2013, the Court held a hearing on Plaintiffs' motion
Justin R. Gaudio, Kevin W. Guynn, Amy Crout Ziegler,             for a preliminary injunction. No Defendant appeared at
Greer, Burns & Crain, Ltd., Chicago, IL, for Plaintiff.          the preliminary injunction hearing or submitted any written
                                                                 objection to the motion. For the reasons set forth below,
                                                                 Plaintiffs' motion for entry of a preliminary injunction is
MEMORANDUM OPINION AND ORDER                                     granted.

JOHN Z. LEE, District Judge.

 *1 Plaintiff Deckers Outdoor Corporation (“Plaintiff”           Discussion
or “Deckers”) has sued Defendants DOES 1–100
                                                                 A party seeking a preliminary injunction must show (1) that
(“Defendants”) for federal trademark infringement,
                                                                 its case has “some likelihood of success on the merits,” and
counterfeiting and false designation of origin in violation of
                                                                 (2) that it has “no adequate remedy at law and will suffer
the Lanham Act, 15 U.S.C. §§ 1114 and 1125(a), cyberpiracy
                                                                 irreparable harm if a preliminary injunction is denied.” Ezell
in violation of the Anticybersquatting Consumer Protection
                                                                 v. City of Chi., 651 F.3d 684, 694 (7th Cir.2011). If the moving
Act (“ACPA”), 15 U.S.C. § 1125(d), and deceptive practices
                                                                 party meets these threshold requirements, the district court
in violation of the Illinois Uniform Deceptive Trade Practices
                                                                 “weighs the factors against one another, assessing whether the
Act (“UDTPA”), 815 Ill. Comp. Stat. § 510, et seq. Plaintiff
                                                                 balance of harms favors the moving party or whether the harm
is a fashion brand that produces and distributes high-end
                                                                 to the nonmoving party or the public is sufficiently weighty
footwear products, most prominently UGG® brand products.
                                                                 that the injunction should be denied.” Id. The district court's
Deckers sells UGG® brand products throughout the United
                                                                 weighing of the facts is not mathematical in nature; rather,
States and in Illinois via a network of authorized retailers,
                                                                 it is “more properly characterized as subjective and intuitive,
Concept Stores and on its website, with the domain name
                                                                 one which permits district courts to weigh the competing
<www.uggaustralia.com>. Deckers holds the registration for
                                                                 considerations and mold appropriate relief.” Ty, Inc. v. Jones
the UGG® trademark in more than 100 countries worldwide,
                                                                 Group, Inc., 237 F.3d 891, 895–96 (7th Cir.2001) (quoting
including U.S. Trademark Registration No. 3,050,925.
                                                                 Abbott Labs. v. Mead Johnson & Co., 971 F.2d 6, 12 (7th
                                                                 Cir.1992)). The Court addresses each factor in turn.
Plaintiff alleges that Defendants, individuals and business
entities who reside in the People's Republic of China or other
foreign jurisdictions, operate commercial websites targeting     I. Likelihood of Success on the Merits
Illinois residents with offers to sell counterfeit UGG®
                                                                   A. Trademark Claims


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 *2 Under the Lanham Act, a defendant is liable for federal        1043 (7th Cir.2000). Second, the plaintiff must show that
trademark infringement and counterfeiting if the defendant         “the challenged mark is likely to cause confusion among
“without the consent of the registrant ... use[s] in commerce      consumers.” Id. A court will not reach the second element
any reproduction, counterfeit, copy, or colorable imitation        “until persuaded that the mark is sufficiently distinctive to
of a registered mark in connection with the sale, offering         warrant prima facie protection as a trademark.” Spraying Sys.
for sale, distribution, or advertising of any goods or services    Co. v. Delavan, Inc., 975 F.2d 387, 392 (7th Cir.1992).
or in connection with which such use is likely to cause
confusion, or to cause mistake, or to deceive.” 15 U.S.C. §         *3 When considering whether a particular mark is protected
1114(a). Section 43(a) of the Lanham Act further imposes           under the Lanham Act, the law recognizes five categories
liability upon a defendant who “on or in connection with           of trademarks, in ascending order of distinctiveness: generic,
any goods or services ... uses in commerce any ... false           descriptive, suggestive, arbitrary, and fanciful. See Two
designation of origin, false or misleading description of fact,    Pesos, 505 U.S. at 768; Packman v. Chi. Tribune Co., 267
or false or misleading misrepresentation of fact, which is         F.3d 628, 638 (7th Cir.2001). A plaintiff with a trademark
likely to cause confusion or to cause mistake, or to deceive       registered in accordance with the Lanham Act is entitled to
as to the ... origin, sponsorship, or approval of his or           one of two presumptions: (1) that his registered trademark is
her goods ... by another person.” 15 U.S.C. § 1125(a)(1).          not merely descriptive or generic; or (2) that if descriptive, the
Under the UDPTA, a defendant is liable for, among other            mark is accorded secondary meaning. See Packman, 267 F.3d
things, (1) passing off goods as those of another; (2) causing     at 638. Secondary meaning exists “only if most consumers
likelihood of confusion or of misunderstanding as to the           have come to think of the mark not as descriptive at all
source, sponsorship, approval, or certification of goods; or (3)   but as the name of the product.” Id. at 639. A defendant
causing likelihood of confusion or of misunderstanding as to       may overcome this presumption with evidence that the mark
affiliation, connection, or association with another. 815 Ill.     is merely generic or descriptive, or that it lacks secondary
Comp. Stat. 510/2(a).                                              meaning. Id.

Deckers' Lanham Act and UDTPA claims involve the same              In this case, Deckers is entitled to the presumption that its
elements. See Packaging Supplies, Inc. v. Harley–Davidson,         marks are protected under the Lanham Act because it holds
Inc., No. 08 C 400, 2011 WL 1811446, at *5 (N.D.Ill. May 12,       valid and subsisting registrations for trademarks in the United
2011); Morningware, Inc. v. Hearthware Home Prods., Inc.,          States. (Evert–Burks Decl. ¶ 3.) Deckers has not licensed or
673 F.Supp.2d 630, 639 (N.D.Ill.2009) (“Where a plaintiff's        authorized Defendants to use any of its UGG® trademarks.
factual allegations under the Illinois Uniform Deceptive           (Id. ¶ 20.) Defendants have put forth no evidence that the
Trade Practices Act also form the basis for plaintiff's claims     UGG® trademarks registered by Deckers are merely generic
under the Lanham Act, the legal inquiry is the same under          or descriptive. Thus, Deckers satisfies the first element of its
both statutes. Claims for unfair competition and deceptive         Lanham Act claim.
business practices brought under Illinois statutes are to
be resolved according to the principles set forth under            In determining whether a plaintiff satisfies the second element
the Lanham Act.”) (citing Gimix, Inc. v. JS & A Group,             of a Lanham Act claim, that the challenged mark is likely to
Inc., 699 F.2d 901, 908 (7th Cir.1983)). Moreover, “the            cause confusion among consumers, the Seventh Circuit has
ultimate test is whether the public is likely to be deceived       identified seven relevant factors: (1) the similarity between
or confused by the similarity of the marks .... Whether            the marks in appearance and suggestion; (2) the similarity of
we call the violation infringement, unfair competition or          the products; (3) the area and manner of concurrent use; (4)
false designation of origin, the test is identical—is there a      the degree and care likely to be exercised by consumers; (5)
likelihood of confusion?” Two Pesos, Inc. v. Taco Cabana,          the strength of the plaintiff's mark; (6) any actual confusion;
Inc., 505 U.S. 763, 780, 112 S.Ct. 2753, 120 L.Ed.2d 615           and (7) the intent of the defendant to “palm off” his product
(1992) (internal citations omitted).                               as that of another. AutoZone, Inc. v. Strick, 543 F.3d 923, 929
                                                                   (7th Cir.2008). No one factor is dispositive, but the similarity
A trademark infringement claim under the Lanham Act has            of the marks, actual confusion, and the defendant's intent are
two elements. See 15 U.S.C. § 1125(a). First, the plaintiff        “particularly important.” Id.
must show “that its mark is protected under the Lanham
Act.” Barbecue Marx, Inc. v. 551 Ogden, Inc., 235 F.3d 1041,



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Here, Deckers has submitted extensive documentation
showing that Defendants are selling counterfeit versions of         Here, the UGG® trademarks are well-known among fashion
UGG® products. (Evert–Burks Decl. ¶ 17.) Both Deckers and           consumers worldwide, as evidenced by the extensive media
Defendants advertise and sell their products over the Internet,     coverage of the brand, including popular magazines like Time,
targeting consumers looking for UGG® merchandise. (Id.              Vogue and Elle. (Evert–Burks Decl. ¶¶ 12–13.) International
¶¶ 11, 17–20.) Those consumers are diverse with varying             celebrities including Kate Moss and Jennifer Aniston are
degrees of sophistication, and they are likely to have              frequently photographed in UGG® products. (Id. ¶ 13.)
difficulty distinguishing authentic UGG® merchandise from           Additionally, Defendants register, traffic in and use domain
counterfeit products. Indeed, it appears that Defendants            names that are identical or confusingly similar to the
are intentionally trying to induce consumers looking for            well-known UGG® mark. As described above, many of
genuine UGG® products to purchase fake products instead.            Defendants' Accused Domain Names directly incorporate the
In that regard, Defendants use the UGG® trademark in                word “UGG” and Defendants use copyrighted photographs of
many of their Accused Domain Names, and they advertise              UGG® products and logos in order to sell counterfeit versions
products that look almost exactly like authentic UGG®               of them. These facts manifest a bad-faith intent to profit from
products and bear the UGG® logo. (Compl., Schedule A.)              the UGG® mark. Therefore, the Court finds that Deckers is
Although Deckers does not offer evidence of actual consumer         likely to succeed on the merits of its ACPA claim.
confusion at this time, such evidence is not required to prove
that a likelihood of confusion exists, particularly given the
compelling evidence that Defendants are attempting to “palm         II. Irreparable Harm/Inadequate Remedy at Law
off” their goods as genuine UGG® merchandise. CAE, Inc. v.          Having determined Deckers is likely to succeed on the merits
Clean Air Eng'g, Inc., 267 F.3d 660, 685 (7th Cir.2001).            of its claims, the Court next considers whether the company
                                                                    will suffer irreparable harm without a preliminary injunction,
 *4 Taking the evidence as a whole, the Court believes              and whether the company has an adequate remedy at law.
that Deckers is likely to establish a prima facie case of           There is a “well-established presumption that injuries arising
trademark infringement and false designation of origin under        from Lanham Act violations are irreparable, even absent a
the Lanham Act and the UDPTA sufficient to support the              showing of business loss.” Abbott Labs., 971 F.2d at 16;
entry of a preliminary injunction.                                  see also AM Gen. Corp. v. DaimlerChrysler Corp., 311 F.3d
                                                                    796, 805 (7th Cir.2002) (confirming “the law's presumption
                                                                    that trademark dilution or infringement threatens irreparable
   B. Cyberpiracy                                                   injury for which there is no adequate remedy at law.”).
Deckers also sues Defendants for cyberpiracy in violation           “This willingness to find irreparable harm in trademark cases
of the ACPA. The ACPA was enacted to combat                         stems from an understanding that the ‘most corrosive and
“cybersquatting,” which is “the bad faith registration of           irreparable harm attributable to trademark infringement is the
domain names with intent to profit from the goodwill                inability of the victim to control the nature and quality of
associated with the trademarks of another.” Vulcan Golf,            the defendants' goods. Even if the infringer's products are of
LLC v. Google Inc., 726 F.Supp.2d 911, 915 (N.D.Ill.2010)           high quality, the plaintiff can properly insist that its reputation
(quoting Solid Host, NL v. Namecheap, Inc., 652 F.Supp.2d           should not be imperiled by the acts of another.’ ” 7–Eleven,
1092, 1099 (C.D.Cal.2009)). Cybersquatters “register well-          Inc. v. Spear, No. 10 C 6697, 2011 WL 830069, at *6 (N .D.
known marks to prey on customer confusion by misusing               Ill. Mar. 3, 2011) (quoting Int'l Kennel Club of Chi., Inc. v.
the domain name to divert customers from the mark owner's           Mighty Star, Inc., 846 F.2d 1079, 1092 (7th Cir.1988)).
site to the cybersquatter's own site.” Id. To state a claim
under the ACPA, Deckers must show that “(1) it had a                 *5 Deckers has submitted evidence that it has spent
distinctive or famous mark at the time the domain name was          substantial sums of money to market the UGG® brand in the
registered, (2) the defendant[s] registered, trafficked in, or      United States and abroad. (Evert–Burks Decl. ¶¶ 5–7.) The
used a domain name that is identical or confusingly similar to      UGG® brand has earned numerous awards and accolades,
plaintiff's mark, and (3) the defendant[s] had a bad faith intent   including Brand or Boots of the Year awards for the years
to profit from that mark.”1 MasterCard Int'l Inc. v. Trehan,        2004, 2007, 2008, 2010 and 2011 from Footwear Plus, and
629 F.Supp.2d 824, 830 (N.D.Ill.2009) (quoting Flentye v.           was selected as one of Forbes Best 200 Small Companies
Kathrein, 485 F.Supp.2d 903, 914 (N.D.Ill.2007)).                   numerous times. (Id. ¶ 8.) As noted, popular magazines and
                                                                    television shows have covered the success of the UGG®


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                                                                   by [an] injunction because enforcement of the trademark laws
brand, celebrities are frequently photographed wearing
UGG® footwear, and Deckers regularly promotes its products         prevents consumer confusion.” Eli Lilly & Co. v. Natural
with extensive, international advertising campaigns. (Id. ¶        Answers, Inc., 233 F.3d 456, 469 (7th Cir.2000). The public
10, 12–15.) The Court finds that Defendants' unauthorized          has an interest in not being confused or defrauded into buying
use of the UGG® trademark threatens to irreparably harm            counterfeit UGG® products.
the reputation and goodwill Deckers has developed with
respect to its merchandise. This risks diluting the mark            *6 In sum, Deckers is likely to succeed on the merits of
and undermining the years Deckers has spent “nurturing its         its claims, and the balance of the harms weighs in its favor.
                                                                   On these facts, the Court holds that Deckers has satisfied
business.” Ty, Inc., 237 F.3d at 903. Thus, the Court finds that
                                                                   its burden of establishing the prerequisites for entry of a
Deckers will suffer irreparable harm without a preliminary
                                                                   preliminary injunction.
injunction, and that there is no adequate remedy at law for
this harm.
                                                                   IV. Specific Equitable Relief
                                                                   Deckers asks that the TRO entered by this Court on December
III. Balancing the Harms/Public Interest
                                                                   20, 2012 be converted into a preliminary injunction so
Because Deckers has met the threshold requirements
                                                                   that Defendants remain enjoined from the manufacture,
necessary for the Court to grant its request for a preliminary
                                                                   importation, distribution, offer for sale, and sale of products
injunction, the Court now weighs the factors against one
                                                                   bearing counterfeit UGG® trademarks during the pendency
another and assesses whether the balance of harms favors
                                                                   of this litigation. Pursuant to the TRO, Deckers caused dozens
Deckers or whether the harm to the Defendants or the public
                                                                   of PayPal accounts associated with Defendants' websites
is sufficiently weighty that the injunction should be denied.
                                                                   to be frozen. (Gaudio Decl. ¶ 2.) Deckers also served the
In balancing the harms between Deckers and Defendants, the
                                                                   TRO on the relevant domain-name registries, requesting
Court applies a “sliding scale: [t]he more likely the plaintiff
is to win, the less heavily need the balance of harms weigh        transfer of the Defendants' names. (Id.) Deckers argues that a
                                                                   preliminary injunction is necessary so that the domain names
in his favor.” Girl Scouts of Manitou Council v. Girl Scouts
                                                                   remain in Deckers' control and the Defendants' PayPal and
of U.S. of Am., Inc., 549 F.3d 1079, 1086 (7th Cir.2008)
                                                                   other accounts remain frozen until completion of these legal
(quoting Roland Mach. Co. v. Dresser Indus., Inc., 749
                                                                   proceedings. Without this relief, Defendants would be able to
F.2d 380, 387 (7th Cir.1984)). Here, Deckers has a strong
                                                                   continue to sell counterfeit UGG® products and move monies
likelihood of prevailing on the merits, leaving Defendants
                                                                   from such sales to offshore accounts.
with a proportionately small chance of showing that they have
any right to sell or market counterfeit UGG® merchandise.
                                                                   In sum, the Court holds that, under all the circumstances
As a result, Defendants have little basis for arguing that they
                                                                   presented, the preliminary injunction that Deckers seeks is
will suffer any harm by virtue of the preliminary injunction.
                                                                   necessary and appropriate.
Indeed, as one court has noted, “one who adopts the marks of
another for similar goods acts at his own peril, since he has
no claim to the profits or advantages thereby derived.” Burger     V. Conclusion
King Corp. v. Majeed, 805 F.Supp. 994, 1006 (S.D.Fla.1992)         For these reasons, the Court grants Plaintiff's motion for entry
(internal quotations omitted).                                     of a preliminary injunction.

The public interest also weighs in favor of entering a
preliminary injunction. See Girl Scouts of Manitou Council,        SO ORDERED.
549 F.3d at 1086 (the balancing process should encompass
“any effects that granting or denying the preliminary              All Citations
injunction would have on nonparties.”). In trademark
                                                                   Not Reported in F.Supp.2d, 2013 WL 169998, 105
infringement cases such as this, “the public interest is served
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Footnotes




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1     The ACPA identifies nine factors to consider in assessing bad-faith intent, including: (1) the person's intent to divert
      consumers from the mark owner's online location to a site accessible under the domain name that could harm the goodwill
      represented by the mark; (2) the person's provision of material and misleading false contact information when applying
      for the registration of the domain name; (3) the person's registration or acquisition of multiple domain names which the
      person knows are identical or confusingly similar to marks of others; and (4) the extent to which the mark incorporated in
      the person's domain name is not distinctive or famous. 15 U.S.C. § 1125(d)(1)(B)(i). A court is not limited to considering
      only the enumerated factors, and “the most important grounds for finding bad faith ‘are the unique circumstances of th[e]
      case.’ ” Virtual Works, Inc. v. Volkswagen of America, Inc., 238 F.3d 264, 268 (4th Cir.2001) (quoting Sporty's Farm
      L.L.C. v. Sportsman's Mkt., Inc., 202 F.3d 489, 499 (2d Cir.2000)).


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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DEN-MAT HOLDINGS, LLC,

       Plaintiff,                                          Civil Action No.: 1:20-cv-06194

v.                                                         Judge Thomas M. Durkin

THE PARTNERSHIPS AND UNINCORPORATED                        Magistrate Judge Susan E. Cox
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                DEFAULT JUDGMENT ORDER

        This action having been commenced by DEN-MAT HOLDINGS, LLC (“DEN-MAT”)

 against the defendants identified in the attached First Amended Schedule A and using the

 Defendant domain names and online marketplace accounts (collectively, the “Defendant Internet

 Stores”), and DEN-MAT having moved for entry of Default and Default Judgment against the

 defendants identified in the First Amended Schedule A attached hereto (collectively, the

 “Defaulting Defendants”);

        This Court having entered upon a showing by DEN-MAT, a temporary restraining order

 and preliminary injunction against Defaulting Defendants which included an infringement

 injunction order and asset restraining order;

        DEN-MAT having properly completed service of process on Defaulting Defendants, the

 combination of providing notice via electronic publication and e-mail, along with any notice that

 Defaulting Defendants received from payment processors, being notice reasonably calculated

 under all circumstances to apprise Defaulting Defendants of the pendency of the action and

 affording them the opportunity to answer and present their objections; and
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       None of the Defaulting Defendants having answered the Complaint or appeared in any

way, and the time for answering the Complaint having expired;

       THIS COURT HEREBY FINDS that it has personal jurisdiction over the Defendants

since the Defendants directly target their business activities toward consumers in the United

States, including Illinois. “In the context of cases like this one, that means a plaintiff must show

that each defendant is actually operating an interactive website that is accessible in Illinois and

that each defendant has aimed such site at Illinois by standing ready, willing and able to ship its

counterfeit goods to customers in Illinois in particular (or otherwise has some sufficient

voluntary contacts with the state).” Am. Bridal & Prom Indus. Ass’n v. P’ships &

Unincorporated Ass’ns Identified on Schedule A, 192 F.Supp.3d 924, 934 (N.D. Ill. 2016). In this

case, Plaintiff has presented screenshot evidence that each Defendant Internet Store is reaching

out to do business with Illinois residents by operating one or more commercial, interactive

Internet Stores through which Illinois residents can and do purchase products using counterfeit

versions of Plaintiff’s trademarks. See Docket No. 11 which includes screenshot evidence

confirming that each Defendant Internet Store does stand ready, willing, and able to ship its

counterfeit goods to customers in Illinois bearing infringing and/or counterfeit versions of the

SNAP-ON SMILE trademark, which is covered by U.S. Trademark Registration No. 3,252,363

(the “SNAP-ON SMILE Trademark”).

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), and false designation of

origin (15 U.S.C. § 1125(a)).




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       IT IS HEREBY ORDERED that DEN-MAT’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Default Judgment is entered against Defaulting Defendants.

IT IS FURTHER ORDERED that:

1.     Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

       confederates, and all persons acting for, with, by, through, under, or in active concert

       with them be permanently enjoined and restrained from:

       a. using the SNAP-ON SMILE Trademark or any reproductions, counterfeit copies or

           colorable imitations thereof in any manner in connection with the distribution,

           marketing, advertising, offering for sale, or sale of any product that is not a genuine

           DEN-MAT Product or not authorized by DEN-MAT to be sold in connection with the

           SNAP-ON SMILE Trademark;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           DEN-MAT Product or any other product produced by DEN-MAT, that is not DEN-

           MAT’s or not produced under the authorization, control or supervision of DEN-MAT

           and approved by DEN-MAT for sale under the SNAP-ON SMILE Trademark;

       c. committing any acts calculated to cause consumers to believe that Defaulting

           Defendants’ products are those sold under the authorization, control or supervision of

           DEN-MAT, or are sponsored by, approved by, or otherwise connected with DEN-

           MAT;

       d. further infringing the SNAP-ON SMILE Trademark and damaging DEN-MAT’s

           goodwill;

       e. otherwise competing unfairly with DEN-MAT in any manner;



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     f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

         distributing, returning, or otherwise disposing of, in any manner, products or

         inventory not manufactured by or for DEN-MAT, nor authorized by DEN-MAT to be

         sold or offered for sale, and which bear any of the SNAP-ON SMILE Trademark or

         any reproductions, counterfeit copies or colorable imitations thereof;

     g. using, linking to, transferring, selling, exercising control over, or otherwise owning

         the online marketplace accounts or any other online marketplace account that is being

         used to sell or is the means by which Defaulting Defendants could continue to sell

         Counterfeit/Infringing Products; and

     h. operating and/or hosting websites that are involved with the distribution, marketing,

         advertising, offering for sale, or sale of any product bearing the SNAP-ON SMILE

         Trademark or any reproductions, counterfeit copies or colorable imitations thereof

         that is not a genuine DEN-MAT Product or not authorized by DEN-MAT to be sold

         in connection with the SNAP-ON SMILE Trademark.

2.   Those in privity with Defaulting Defendants and with actual notice of this Order,

     including any online marketplaces such as, but not limited to, Amazon or Alibaba Group

     Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,

     “Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet

     search engines such as Google, Bing and Yahoo, shall within ten (10) days of receipt of

     this Order:

     a. disable and cease providing services for any accounts through which Defaulting

         Defendants engage in the sale of counterfeit and infringing goods using the SNAP-

         ON SMILE Trademark, including any accounts associated with the Defaulting

         Defendants listed on First Amended Schedule A attached hereto;

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     b. disable and cease displaying any advertisements used by or associated with

         Defaulting Defendants in connection with the sale of counterfeit and infringing goods

         using the SNAP-ON SMILE Trademark; and

     c. take all steps necessary to prevent links to the Defendant identified on First Amended

         Schedule A from displaying in search results.

3.   Pursuant to 15 U.S.C. § 1117(c)(2), DEN-MAT is awarded statutory damages from each

     of the Defaulting Defendants in the amount of two hundred fifty thousand dollars

     ($250,000) for willful use of counterfeit SNAP-ON SMILE Trademark on products sold

     through at least the Defendant Internet Stores.

4.   The domain name registries for the Defendant Domain Names, including, but not limited

     to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

     Interest Registry, within ten (10) days of receipt of this Order, shall, at DEN-MAT’s

     choosing:

         a   permanently transfer the Defendant Domain Names to DEN-MAT’s control,

         including unlocking and changing the registrar of record for the Defendant Domain

         Names to a registrar of DEN-MAT’s selection, and the domain name registrars shall

         take any steps necessary to transfer the Defendant Domain Names to a registrar of

         DEN-MAT’ selection; or

         b   cancel the registrations for the Defendant Domain Names and make them

         inactive.

5.   eBay, Inc. (“eBay”), PayPal, Inc. (“PayPal”), ContextLogic, Inc. (“WISH”), Amazon

     Payments, Inc. (“Amazon”), and Heguang International Limited or Dunhuang Group

     d/b/a DHGATE, DHGate.com, DHPORT, DHLINK and DHPAY (“DHGate”), shall,

     within ten (10) days of receipt of this Order, permanently restrain and enjoin any

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     accounts connected to Defaulting Defendants, Defaulting Defendants’ online marketplace

     accounts or Defaulting Defendants’ websites identified on First Amended Schedule A

     from transferring or disposing of any money or other of Defaulting Defendants’ assets.

6.   All monies currently restrained in Defaulting Defendants’ financial accounts, including

     monies held by eBay, PayPal, WISH, Amazon, and DHGate, are hereby released to

     DEN-MAT as partial payment of the above-identified damages, and eBay, PayPal,

     WISH, Amazon, and DHGate is ordered to release to DEN-MAT the amounts from

     Defaulting Defendants’ eBay, PayPal, WISH, Amazon, and DHGate accounts within ten

     (10) days of receipt of this Order.

7.   Until DEN-MAT has recovered full payment of monies owed to it by any Defaulting

     Defendant, DEN-MAT shall have the ongoing authority to serve this Order on eBay,

     PayPal, WISH, Amazon, and DHGate in the event that any new eBay, PayPal, WISH,

     Amazon, and DHGate accounts controlled or operated by Defaulting Defendants are

     identified. Upon receipt of this Order, eBay, PayPal, WISH, Amazon, and DHGate shall

     within ten (10) days:

     a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

         Defendants’ online marketplace accounts or Defaulting Defendants’ websites,

         including, but not limited to, any eBay, PayPal, WISH, Amazon, and DHGate

         accounts;

     b. Restrain and enjoin such accounts or funds that are Asia based from transferring or

         disposing of any money or other of Defaulting Defendants’ assets; and

     c. Release all monies restrained in Defaulting Defendants’ eBay, PayPal, WISH,

         Amazon, and DHGate accounts to DEN-MAT as partial payment of the above-

         identified damages within ten (10) days of receipt of this Order.

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8.   Upon Plaintiff’s request, the Internet marketplace website operators and/or administrators

     for the Seller IDs shall disable and/or cease facilitating access to the Seller IDs, including

     any other alias seller identification names being used and/or controlled by Defendants to

     engage in the business of marketing, offering to sell, and/or selling goods bearing and/or

     using counterfeits and infringements of Plaintiff’s SNAP-ON SMILE Trademark.

9.   Until DEN-MAT has recovered full payment of monies owed to it by any Defaulting

     Defendant, DEN-MAT shall have the ongoing authority to serve this Order on any banks,

     savings and loan associations, or other financial institutions (collectively, the “Financial

     Service Providers”) in the event that any new financial accounts controlled or operated by

     Defaulting Defendants are identified. Upon receipt of this Order, the Financial Service

     Providers shall within ten (10) days:

     a. Locate all accounts connected to Defaulting Defendants, Defaulting Defendants’

         online marketplace accounts or Defaulting Defendants’ websites;

     b. Restrain and enjoin such accounts from receiving, transferring or disposing of any

         money or other of Defaulting Defendants’ assets; and

     c. Release all monies restrained in Defaulting Defendants’ financial accounts to DEN-

         MAT as partial payment of the above-identified damages within ten (10) days of

         receipt of this Order.

     d. Upon Plaintiff’s request, the Internet marketplace website operators and/or

         administrators for the Seller IDs shall disable and/or cease facilitating access to the

         Seller IDs, including any other alias seller identification names being used and/or

         controlled by Defendants to engage in the business of marketing, offering to sell,

         and/or selling goods bearing and/or using counterfeits and infringements of Plaintiff’s

         SNAP-ON SMILE Trademark.

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10.    In the event that DEN-MAT identifies any additional online marketplace accounts, or

       financial accounts owned by Defaulting Defendants, DEN-MAT may send notice of any

       supplemental proceeding to Defaulting Defendants by e-mail at the email addresses

       identified in Exhibit 2 to the Declaration of Todd Tiberi and any e-mail addresses

       provided for Defaulting Defendants by third parties.

11.    The bond posted by Plaintiff in the amount of $10,000.00 is hereby ordered released by

       the Clerk to Plaintiff or Plaintiff’s counsel.

This is a Default Judgment.

Dated: December 15, 2020

                                               _____________________________________
                                               United States District Court Judge




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                         FIRST AMENDED SCHEDULE A

              No.                          Defendants
               1      Noemigal
               2
               3
               4
               5      WORDyong
               6      DONGJU
               7      Hainan Yidiantong Technology Co., Ltd.
               8      TYSXHLQGWWWJD
               9
              10
              11      Jaco-US
              12
              13      Awesome Things LLC
              14
              15      VA-S
              16
              17      lin xian mu gua ping xiang yu lin cun
              18
              19
              20
              21      Shiny Jewelry 30
              22      ruoyong Song2019
              23      Meikai
              24      GLVHG
              25      SDSGFDTRC
              26      ARCE
              27      Icing cake
              28      Summer hope
              29      UhappyBuy
              30      pastalo
              31      qingyun's shop
              32      XIAOPY
              33
              34
              35      topshowbeauty
              36      fashion_shopaa


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               37     verynicegirl
               38
               39
               40     jewelrybestgift
               41
               42     bestsellerpro
               43     wholesalesdhgates
               44     pick_what_to_buy
               45     we.are.open
               46
               47     prestontalton91
               48     big.dealstore
               49     imperiall11
               50     modern-online-store
               51     magg_store
               52     cohenstore999
               53
               54
               55     ph_love_store
               56     dnwholesal3
               57     adamshopp20
               58
               59
               60     seedekstore
               61
               62
               63
               64
               65
               66     supersonic_e_store
               67
               68     vikver25
               69
               70     onjetplane
               71     benabetis
               72
               73
               74     motiohayon
               75     shop2009mb


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               76
               77
               78     ariel8497ariel
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               85
               86     we_r_bay
               87
               88
               89     smart-pro-shop
               90
               91     markaugin
               92
               93     anas-2000-store
               94     ebuytrade2
               95     rmdus.rmdus
               96     insane-deal
               97
               98     dealstore*
               99     zmistore
              100     best-items-shop
              101     1lt_pdzm9d9zz
              102     quick*market
              103     astarasalesinc
              104
              105
              106     thili.2015
              107     alosolomo-0
              108     usagoodstore*
              109     bestdeals728
              110     racelou-80
              111
              112     orbelii
              113
              114


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              115     berryshop9
              116
              117     edi1001il
              118
              119     avifr-423789
              120     home*heaven*co
              121     il2014_naha
              122
              123     storekv
              124
              125
              126     hanz_arcade
              127     allbestproduct102
              128     dengtal-online
              129
              130     jhonstorex
              131     locus_store
              132     lahirdila-0
              133     sam_shop8
              134     lidamoux_deals
              135     since.2020
              136     mayolly
              137     bestroofsface
              138     maciejmwarc_0
              139     memorycardsforyou
              140
              141     kope94
              142     gobigstore2018
              143     all.you.needstore
              144     kifliy
              145     *_kavindulakmal_*
              146
              147     metriturs
              148     ferguson.hihi
              149
              150
              151     harsdil_49
              152
              153     sonlight.shop


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              154     tcser-0
              155     shakewais-0
              156
              157
              158     Maomaodegudou
              159     byeond store
              160
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              164
              165     yandolgino0
              166     needyouknow
              167
              168
              169
              170     lahiru_96
              171     inm_store
              172     imixcity
              173
              174     hot-deals2568
              175     wondersonline
              176     summer_sky17
              177
              178     ldszyz
              179
              180
              181
              182     vika-7750
              183
              184
              185     houbing
              186     qwehobo
              187     All for all Co.Ltd
              188     renjunqiangshop
              189
              190     dfwedfq
              191     Tabe Dream Home
              192     haimla


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              193     wangliang8
              194     zhangqin-zhubao
              195
              196
              197     GT-Power
              198     Shenzhen Right Grand Jewelry Co., Ltd.
              199
              200     WLL926940
              201     Xiao Mu DI
              202
              203     BenBenYU
              204     AT T-Power
              205     Meet You Varitystore
              206
              207     misszhong
              208
              209     meran359
              210     hanxiucao223
              211     zhangjie000888
              212     zijinmla
              213
              214
              215     xiaominl
              216     rbeagvwesdbresd
              217     zongqun
              218
              219
              220
              221     liujiulei
              222     NIKI Your
              223
              224
              225
              226     yonghongUS
              227     Karea
              228
              229     STCORPS7 CO., LTD
              230
              231     zahupu


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              232     novior
              233     Bonwuno Brand Store
              234     guojingGao
              235
              236
              237     moodlove1723
              238     biig-deals
              239     gzy1_2706
              240
              241
              242     liord1
              243     sun5395
              244     teehthclub_us
              245     brimal_4930
              246
              247
              248     19babydeals
              249     ultrapire
              250
              251
              252
              253     sahaprageet0
              254
              255     jieke1962
              256
              257     amiamit23
              258
              259     passionfruit24
              260
              261     luckshop888
              262     lk2015-nadis
              263
              264     lebresilien365
              265
              266     nanchangyingjie1850
              267     nk_online_store99
              268     t_s_design_store
              269
              270     sonrisaq-75


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              271     bravoclassic
              272
              273
              274     shopping-home888
              275     qiyie-71
              276     tektek2222
              277     technical.jrs
              278
              279
              280
              281
              282
              283     zoom-more
              284     adamhihi1122
              285     hugox-shop
              286     dempsey_4525
              287     taprobana-store
              288     poeqnrg
              289     cos-sky
              290     rajapcha0
              291
              292     nyliyan
              293     windylegend
              294
              295     christinebet
              296     sxdf32
              297     ilruska0
              298     nyzhan_87
              299     romeogogogo
              300
              301     upforbest
              302     gracefulvara
              303
              304
              305
              306     dcnv_83
              307     fhpq_16
              308     astromarket99
              309


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              310
              311     topmail123
              312
              313     Everyone OK
              314     qinghengchen
              315     Factory Direct A
              316     xqbaoei
              317
              318     A18
              319
              320
              321     Factory Direct Sales S
              322     liduliyunye
              323     my cool store
              324     zongfua
              325     hgtarewTD67
              326
              327
              328
              329
              330
              331     allbluego
              332     crtyuia
              333     Andy1688
              334
              335     anngege
              336     Donaldaa
              337     Make something you love
              338     usaynothingatall
              339     kalamantus
              340     Polaken kecksan Finten
              341     yinxun trade
              342     Wangzhe6023
              343     Tayloraaee
              344     kim001313
              345     golligent
              346
              347     krngye6
              348


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              349     zeri
              350
              351     World nice
              352     romantic-jewelry
              353     yanzhaojiu754
              354     dongnghiyy406
              355     Patrickcosmetics
              356     lucky yan mei
              357
              358
              359
              360     Mariannakkk
              361     zeqi
              362
              363     Mamihlapinayu
              364     StockInto
              365     Uptown Town
              366     bassamfive
              367
              368     JIUYUEHUNLING
              369     pezi
              370     corsetforu
              371
              372     broother
              373
              374     SiLH
              375     ahfmsi12
              376
              377     xiaoanan
              378     zhanlanlan123
              379     sixstations
              380     jkfjudfxhrty
              381     bassamone
              382     zhumei
              383
              384     QIZHSH
              385
              386     iskdifhsufc
              387     Arturo.garcia35


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              388     chen anny
              389     BAZARR
              390     zefi
              391     fezi
              392     Billion world
              393     bassamthree
              394     xingyunbaihuo
              395
              396     xiaoxingxing9
              397     Majestic_Trader1
              398     AdjudicatevX
              399     vezi
              400
              401     metallica
              402     aezi
              403     xezi
              404     tezi
              405     VHJYDTJTY
              406     bassamggood
              407     WOWPRODUCTCART
              408     longpinzubei
              409     23sd46h57ds65.
              410     dezi
              411     qezi
              412     jiangbinbin55321
              413     zeeshan clothes
              414     Treasureofasia328
              415     wezi
              416     cezi
              417     nezi
              418     zeni
              419     bassamfour
              420     GongjiuxianvIu
              421     zhenglei236
              422
              423     chkanqa
              424     ruvja
              425     MTONJIAMfan8953
              426     iphone.my


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              427     chongzhou
              428     waq05
              429     F88
              430
              431     PPPenny
              432     shiju
              433     nianzeshop
              434
              435
              436     fenwutu
              437     DLKKLB
              438
              439
              440     xng99
              441     Jayaaee
              442     guojingshop
              443     Stevenaa
              444     Boutique Store Everyone
              445     spire shoping
              446     Kaylaaaee
              447     Sandraaaee
              448     JosephUUaa
              449     zongliaoa
              450     God
              451     Courtneyyy
              452     yubodedianstore
              453
              454     liyufangoj
              455
              456     wangzhipingshop
              457     Fashion Ruby
              458     qinsiwoaini
              459     gaoyiboshop
              460     tootuebbrs
              461     girl secrets
              462     losekkgy
              463     Brynn Cainq
              464     Maryaaee
              465


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              466     Leannaaaee
              467     jingliangdedian
              468     sheshiriemc
              469     Little Shop-001
              470     Cynthiauu
              471     toheeaneh
              472     yizhuangshou
              473     Clothing men's women's maternal and infant stores
              474
              475     Breadstretors
              476     Caitlinaa
              477     Kristina}yya
              478     Jaysonyy
              479     bashou
              480     Tang Mobile Accessories
              481     adixiaodian
              482     Enedinauu
              483
              484
              485     pataaee
              486     Jacobaaee
              487
              488     Jamesaaasa
              489     Aimaim
              490     Jamesaaee
              491     shonneegkyv
              492     luq0569shop
              493     jishanty
              494     huilitao
              495     AndrewUU
              496
              497     tongxiaodadan
              498     anyqiqiq1
              499     Kelseyaa
              500     Deidrauu
              501     nesheighoyroe
              502
              503     beijingjinaocoltd
              504     Sherkeyrayy

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              505     haishengal
              506     opopbea
              507     Canishauu
              508     patitoughmexaa
              509     changlingmi463
              510     jianjiertys
              511     watchmenluxhry
              512     wenhuaqianliu
              513     batiao
              514     Homeruu
              515     Crazyruby
              516     junioraaee
              517     E88
              518     gdjftjd
              519     Davidaass
              520     CharlesUUa
              521     tateswlwg
              522
              523     slithesbnoosj
                      https://www.wish.com/merchant/5ab3a22fc989494ce11
              524     5d69a
              525     pwoemrovjnr
              526
              527     Johnaaee
              528
              529
              530     titateskixles
              531     Meirenyuanji
              532
              533     heuboee
              534     Oliviaaaee
              535     wendins
              536     Markuu
              537     Greatwomendkret
              538     Samlisy
              539
              540     wangwenhuangi
              541     just enjoy shopping
              542     JYOARAshop
              543     hsfow98fw

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              544     le mei you
              545     lishichun6868
              546     Zjjyuaa
              547
              548     zhangjingay
              549     Richarduu
              550     meetyourneed
              551
              552     gaisiqiudaiyi
              553     Neciayy
              554     121q
              555     vrfgg
              556     maningmayun
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              558     wukaixi
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              562     newintrend.com
              563     princessdressworld.com




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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


Kiesque, Incorporated                          )
                                               )
v.                                             )    Case No. 18-cv-7761
                                               )
THE PARTNERSHIPS and                           )     Judge: Hon. Charles P. Kocoras
UNINCORPORATED ASSOCIATIONS                    )
IDENTIFIED ON SCHEDULE “A”                     )     Magistrate: Hon. Mary M. Rowland
                                               )
                                               )



                                FINAL JUDGMENT ORDER


       This action having been commenced by Plaintiff, Kiesque (“Plaintiff”) against the

defendants operating the websites/webstores identified on Schedule “A” to Plaintiff’s Complaint

(collectively, the “Infringing Webstores”), and Plaintiff having moved for entry of Default and

Default Judgment against the defendants not already dismissed, identified in Appendix “A”

(collectively, the “Defaulting Defendants”);

       This Court having entered upon a showing by Plaintiff a temporary restraining order and

preliminary injunction against Defaulting Defendants;

       Plaintiff having properly completed service of process on Defaulting Defendants,

providing notice via e-mail, along with any notice that Defaulting Defendants received from the

ecommerce platforms, hosts, and payment processors, being notice reasonably calculated under

all circumstances to apprise Defaulting Defendants of the pendency of the action and affording

them the opportunity to answer and present their objections; and

       Defaulting Defendants having failed to answer the Complaint or otherwise
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plead, and the time for answering the Complaint having expired;

       THIS COURT HEREBY FINDS that it has personal jurisdiction over Defaulting

Defendants because Defaulting Defendants directly target their business activities toward

consumers in the United States, including Illinois. Specifically, Defaulting Defendants are

reaching out to do business with Illinois residents by operating one or more commercial,

interactive Infringing Websites through which Illinois residents can purchase products bearing

counterfeit versions of LIQUID PALISADE trademark, U.S. Reg. No. 5314847.

       The registration is valid, unrevoked, and uncancelled. Defendants use the mark and

display images protected by trademark and copyright on the infringing websites without

Plaintiff’s permission or consent.

       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

   IT IS FURTHER ORDERED that

   1. Defendants, their affiliates, officers, agents, servants, employees, attorneys, confederates,

and all persons acting for, with, by, through, under or in active concert with them be permanently

enjoined and restrained from:

    a. using the LIQUID PALISADE trademark or any reproductions, counterfeit copies or

       colorable imitations thereof in any manner in connection with the distribution, marketing,




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     advertising, offering for sale, or sale of any product that is not a genuine Kiesque product

     or not authorized by Plaintiff to be sold in connection with the LIQUID PALISADE

     Trademark;

   b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     Kiesque product or any other product produced by Plaintiff, that is not Plaintiff’s or not

     produced under the authorization, control or supervision of Kiesque and approved by

     Plaintiff for sale under the LIQUID PALISADE Trademark;

   c. committing any acts calculated to cause consumers to believe that Defendants’

     Counterfeit Products are those sold under the authorization, control or supervision of

     Kiesque, or are sponsored by, approved by, or otherwise connected with Kiesque;

   d. further infringing the LIQUID PALISADE trademark and damaging Plaintiff’s goodwill;

   e. otherwise competing unfairly with Plaintiff in any manner;

   f. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

     storing, distributing, returning, or otherwise disposing of, in any manner, products or

     inventory not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or

     offered for sale, and which bear any of the LIQUID PALISADE trademark, or any

     reproductions, counterfeit copies or colorable imitations thereof;

   g. using, linking to, transferring, selling, exercising control over, or otherwise owning or

     operating the infringing webstores, websites, or any other domain name that is being used

     to sell or is the means by which Defendants could continue to sell Counterfeit Products;

   h. operating and/or hosting infringing webstores, websites and any other domain names

     registered or operated by Defendants that are involved with the distribution, marketing,

     advertising, offering for sale, or sale of any product bearing the LIQUID PALISADE




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       trademark or any reproductions, counterfeit copies or colorable imitations thereof that is

       not a genuine Kiesque product or not authorized by Kiesque to be sold in connection with

       the LIQUID PALISADE trademark;

    i. registering any additional stores, websites, or domain names that use or incorporate any of

       the LIQUID PALISADE trademark; and

    j. using images covered by the PLAINTIFF’s Copyrights or any of PLAINTIFF’s original

       photographs that Kiesque uses to advertise the sale of original Kiesque products.

2. Those in privity with Defaulting Defendants and with actual notice of this Order, including

ecommerce platform providers, such as Alibaba, Ali-Express, Amazon, eBay, Wish, etc., shall

within three (3) business days of receipt of this Order:

    a. disable and cease providing services for any accounts through which Defaulting

       Defendants, in the past, currently or in the future, engage in the sale of goods using the

       LIQUID PALISADE Trademarks, including, but not limited to, any accounts associated

       with the Defaulting Defendants listed on Schedule “A” not dismissed from this action;

       and

    b. disable any account linked to Defaulting Defendants, linked to any e-mail addresses used

       by Defaulting Defendants, or linked to any of the Infringing webstores/websites.

    Pursuant to 15 U.S.C. § 1117(c)(1), Plaintiff is awarded statutory damages from each of the

Defaulting Defendants in the amount of Two-Million Dollars (U.S.) and No Cents

($2,000,000.00) for using counterfeit LIQUID PALISADE Trademarks on products sold through

at least the Infringing webstores/websites. As to each Defaulting Defendant, until such

Defaulting Defendant has paid in full the award of statutory damages against it:




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   a. Alibaba, Ali-Express, Amazon, eBay, Wish (collectively the “Platforms”) and PayPal,

      Payoneer, WorldFirst, World First Asia Limited, World First Markets Limited, World

      First USA, Inc., Bill.com, Pingpong, Payeco, Umpay/Union Mobile Pay, Moneygram,

      Western Union and any of their subsidiaries (collectively the “Payment Processors”)

      shall, within two (2) business days of receipt of this Order, permanently restrain and

      enjoin any accounts connected to Defaulting Defendants, Defaulting Defendants’

      Infringing webstores/websites identified in Schedule “A”, except those dismissed, from

      transferring or disposing of any money or other of Defaulting Defendants’ assets.

   b. All monies currently restrained in Defaulting Defendants’ financial accounts, including

     monies held by the Platforms or the Payment Processors are hereby released to Plaintiff

     as partial payment of the above-identified damages, and are ordered to release to Plaintiff

     the amounts from Defaulting Defendants’ Platform or Payment Processor accounts within

     ten (10) business days of receipt of this Order.

   c. Plaintiff shall have the ongoing authority to serve this Order on the Platforms or the

     Payment Processors in the event that any new accounts controlled or operated by

     Defaulting Defendants are identified. Upon receipt of this Order, the Platforms or the

     Payment Processors shall within two (2) business days:

         i. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

           Defendants’ Infringing webstores/websites, including, but not limited to, any

           accounts connected to the information listed in Schedule “A” of the Complaint, the

           e-mail addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and

           any e-mail addresses provided for Defaulting Defendants by third parties;




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           ii. Restrain and enjoin such accounts or funds from transferring or disposing of any

             money or other of Defaulting Defendants’ assets; and

           iii. Release all monies restrained in Defaulting Defendants’ accounts to Plaintiff as

             partial payment of the above-identified damages within ten (10) business days of

             receipt of this Order.

       4. Until Plaintiff has recovered full payment of monies owed to it by any Defaulting

Defendant, Plaintiff shall have the ongoing authority to serve this Order on any banks, savings

and loan associations, payment processors, or other financial institutions (collectively, the

“Financial Service Providers”) in the event that any new financial accounts controlled or

operated by Defaulting Defendants are identified. Upon receipt of this Order, the Financial

Service Providers shall within two (2) business days:

    a. Locate all accounts and funds connected to Defaulting Defendants, Defaulting

       Defendants’ Infringing webstores/websites, including, but not limited to, any accounts

       connected to the information listed in Schedule “A” of the Complaint, the e-mail

       addresses identified in Exhibit 1 to the Declaration of David Gulbransen, and any e-mail

       addresses provided for Defaulting Defendants by third parties;

    b. Restrain and enjoin such accounts or funds from receiving, transferring or disposing of

       any money or other of Defaulting Defendants’ assets; and

    c. Release all monies restrained in Defaulting Defendants’ financial accounts to Plaintiff as

       partial payment of the above-identified damages within ten (10) business days of receipt

       of this Order.

    5. In the event that Plaintiff identifies any additional webstores, websites, domain names or

financial accounts owned by Defaulting Defendants, Plaintiff may send notice of any




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supplemental proceeding to Defaulting Defendants by e-mail at the email addresses identified in

Exhibits 1 to the Declaration of David Gulbransen and any e-mail addresses provided for

Defaulting Defendants by third parties.


IT IS SO ORDERED.

Dated: 5/14/2019


                                            Hon. Charles P. Kocoras




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                                            Appendix A




Doe     Store Name                                  Store/Merchant ID
2       beautycosmetic                              beautycosmetic
4       canni                                       canni
6       chevy                                       chevy
7       chvwco                                      chvwco
9       fantasticnail                               fantasticnail
10      gzbogel                                     gzbogel
11      jiaoyan                                     jiaoyan
12      pinpaibeauty3                               pinpaibeauty3
14      ransheng                                    ransheng
16      yisuhappybuy                                yisuhappybuy
17      yusam                                       yusam
18      ywob                                        ywob
19      -Sunflower-                                 133597
20      5A International Trade - 24 Hours           1749400
21      AACAR Store                                 3256131
22      Adorn Neatnew Store                         2957149
23      Afuyee Makeup Store                         2942201
26      All for beautiful Store                     3101035
27      Amoy Makeup Store                           2784144
29      Anything Store                              2961007
30      AoNa Manicure Art Store                     1925735
32      attractiveBeauty                            1982693
35      BanquetMakeup Store                         2782163
44      Beautifully Store                           2944150
46      Beauty and Young                            1898109
48      BeautySquare Store                          4470057
49      Beautytaotao--gel polish world Store        1046652
52      Blingling Cosmeticos Store                  3116026
55      Bonnie Nail Store                           2947177
57      C-osmetics & Maquiagem Store                3254098
59      cn1520588074mgjt store Store                4434118
60      ColorBeauty Store                           3139046
62      Cosmetic Diary                              2220048
64      Daily Makeup Store                          2892022



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65      Dasiy Makeup Store                   2404101
66      Dazzling Girl Co.,Ltd. Store         2224039
70      EchiQ Fake Nails Store               1850698
71      Elite99 Royal Beauty                 1357906
72      Elizabeth's Wonder Store             1043347
73      Enchanting Goblin Store              3247027
77      Feihoo Store                         2663003
79      Fighting ! Women Makeup Store        2932087
80      Five Girl Store                      3963002
82      Gelike ec Official Store             2842053
83      Glitter girl Store                   3459002
84      Go Shop Store                        2493001
85      Happiness station Store              2755002
87      Harry's Cosmetic Store               2961237
89      Hi Store                             1836781
92      I Believe I Can Fly                  2335044
95      In Shop Store                        2412096
96      Ineffable Store                      4393042
97      isaybeauty Store                     3252080
98      ISHOWTIENDA SHALLOW Store            4375054
99      J Nails Art Salon                    2227125
101     Just Nail Gel Store                  3198077
102     KA ColorMake up Box Store            2960211
103     kai yunly online Store               2337222
104     KCE Nail Shop                        2166096
105     KOKO Life                            1741023
106     LANYA NAIL ART Store                 4508008
109     Linefree Store                       4384081
110     LoeRoyal BeautyMall Store            2667045
112     Lovegirl Store                       2956074
113     Loveliness Girl Store                2945144
114     Luckly Star Mall                     2028084
115     M&N Store                            2214140
116     Ma-gic Show T1me Store               3223136
117     Makeup & Healthy Store               2960047
118     Makeup Banquet Store                 3219119
119     Makeup Domain Store                  2948076
121     Makeup Garden Shop Store             2882254
122     Makeup Secret Store                  4310041



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123     Makeup Shopping Store                1092193
125     Maquiagem Cosmetic Store             2917009
126     Mellifluous Store                    4377031
127     Minl makeups Store                   2931086
128     MintSun                              1854070
130     MLxs Nail Art Store                  2885164
131     My Beauties Store                    2962142
133     Na-tural Beauties Store              3221072
135     Nail Gel Professional Shop           2169059
136     Nail Gel Professional Shop Store     2788103
149     Nail's House                         1879221
141     Nicwel Ltd. Store                    2392102
142     NICWEL makeup Store                  3218030
143     Oh Goddess Store                     4482037
144     OTAO offical flagship store          1416022
145     Paraness Nail Art Store              2929038
152     Princess's Secret Store              2959149
154     Resurrection Beautiful Life Store    2178145
155     Rose Lips Store                      2958007
156     S-avvy Maquiagem Make&Up Store       1854248
157     Saroline Lover Secret Store          2789121
159     Sheis Makeup Store                   1970025
162     Shing Bea Store                      2942202
163     Shop1898301 Store                    1898301
166     Shop3058031 Store                    3058031
167     Shop3368050 Store                    3368050
169     Shop3894069 Store                    3894069
170     Shop4218050 Store                    4218050
171     Shop4389030 Store                    4389030
173     Shop4550017 Store                    4550017
174     Shopping-Online Store                3862030
175     SkinCare&Makeup Store                4495067
177     Super Fashion 8191 Club              2148009
179     Taste Life                           2184025
181     The Cats' Store                      3620026
182     The Secret Of Winter Store           2679024
186     Tuesday Store                        1308150
187     Ubeauty cute Store                   2786029
190     USDH beautygirl Store                3520065



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192     VEAMOR A Official Store                1925241
        Verntion Nail Gel Professional Shop
193     Store                                  2784126
195     Voberry Technology Co.,Ltd             1170120
197     Warm Girl Store                        1937634
198     We Lovepretty Store                    2943160
199     Women Beautiful Cottage Store          2955143
200     Women's Makeup Show Store              3270015
207     YY Makeup-Drop Shipping Store          3217056
208     Zation Magical Store                   3099021
209     24 Online                              A18UE1BKIOGECC
210     ABASSKY                                ATP09TF73V9H0
211     AHHHAH                                 AQ8L4CYUFHJ6Q
213     Amaping                                A2ZYMDTKK0NYZ2
214     ANIMOAO Shop                           A9XAS4XEE0E1X
215     Anshinto                               A2CEAKAQ3CCE18
216     APPointed                              A26E8BRMTKHCO
218     Aviat                                  A2BXGEEPPT5L7E
219     BaoST                                  AM1FSW3TOQNPS
220     Beautybigbang                          A3R76BRU0LWQ16
222     Cattie Girl                            A3G73J0YO4T9X5
223     charts_DRESS                           A2SZFFBK9L0LTR
224     CITY                                   A1ICNR6OPFXT9O
227     CreazyDog                              A1E91VU44IKQ9G
229     DDU ecommerce(ships from China)        A2GTJ4VVOR0SC9
230     Deesee                                 A10HR8FWPH38X2
231     DesigN                                 A33HXV2EOQ993H
234     Dolloress                              A2ZFXJZLWOHQ0X
235     EShocking                              AGDDHYO7E1EME
236     ever.grace                             A21DWH89CT65XB
237     EVERYDI STORE                          A1TOERMISK7WI5
238     Exte                                   ABA12MV69679A
239     Fashion Thing                          A2DHQIKS9IMLRA
245     honor2008                              A1F5GU34UY9JOE
246     Hunzed                                 A3EX5443WMT1LE
247     Huphoon                                A2UY31LAHOQSK9
249     IMOMO                                  A3GNVMULVXA0XV
205     jeepjin                                A1TTFCHJTUIXE4
252     joeyroyo                               A1EV4FXPRFOKD7




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254     Leewa                             APMFYD6GB037N
255     Lingsun Tech                      AWEWYD6T8LA4J
256     Liobaba                           A3D1VGN9EH8TXQ
260     Longay                            A1IYL3UZKD86MA
262     loweryeah                         A1C0CXITRWX17X
264     Mandy-Store                       A3DTWSZFTXMPWI
265     mchoice                           A2RH6DRJZAU7GS
267     NewKelly                          A1VJ6UC6HE5ZYU
269     Nice Meeting                      A3H3K37VJM5KZ2
270     NICOLE DIARY                      A2VD7DZI615VAY
272     Promisen                          A36NYX01WFGPP8
273     Putars Store                      A1C70DMHMA0V6V
274     RedDhong                          A173556IL1AFQ2
276     sdsd&oo                           A27MZ6P13Y234T
277     sendian                           A1C3S382W5X6IP
278     SHare                             A2GCBL8Z2F15TZ
281     SZJIASJY                          A18UIB62HFWSX8
282     SZMMRM                            A1B9DGMAX6CRXF
296     ZHIWEI XU                         AR4P7BQFUMIDC
298     DaissyN                           DaissyN
299     GeogerN                           GeogerN
300     HarrysonN                         HarrysonN
301     OldWoolf                          OldWoolf
350     anybestbuy                        anybestbuy
351     behome                            behome
353     cassinishop / thai-amulet         thai-amulet
357     global-buy-mall                   global-buy-mall
359     goodshop_268                      goodshop_268
361     jeyadamani                        jeyadamani
362     luckiness87                       luckiness87
367     oldwoolfmarket                    oldwoolfmarket
369     rainbow-lee                       rainbow-lee
370     s2sr                              s2sr
371     sale.sale1                        sale.sale1
372     shcifang                          shcifang
373     shopbest2u                        shopbest2u
374     tosal_5                           tosal_5
375     trendynailworld                   trendynailworld
376     warehouse87                       warehouse87



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377     CuraliNailStamping                    CuraliNailStamping
378     fashionnailoil                        fashionnailoil
379     Kvantym-Store                         Kvantym-Store
380     SODIAL                                SODIAL
381     18                                    594773fc25c4f55733524dab
382     546654                                584520c2728de6034a4dee3b
383     564165456                             584820a1d914f560174bcf95
385     18602717318                           593270698635f072823451bb
386     accmonster                            5981d44bd4cc347d3bfc701f
390     alittlematchgirl                      5810b8033deb9416275cd2f7
392     armsmarket                            5810b8aea70e0356e64d3ec8
395     bangqunliu                            56e419cd3a698c380aa5f8d0
397     bayancloth                            577627617d818d622df20f6c
        beatwin21e73692f43d11e6952802cb4df
398     73154                                 58a59060096b2d7e42214e69
400     beautydeal                            559d11aad9018e56826b0dc4
407     billzhou                              5a4311ee7dee4a6c57357b9f
408     blackj                                5810b8c7af5d3c198b0b3d50
409     boboclothingwholesalecoltd            54c077d139b8c06c438697a3
411     bornqueen                             58abec3216bcc7502b234a36
414     caorle                                57679be51e7bb05e613986d5
420     chinayangzhangtrademall               58de49b25f8d965740a4c27b
421     chongwei                              58a30ec8c105706e7e036b05
422     chutian                               5784b6d4681164174ffb6e68
        colbuyf56d6d5ada8611e5bc6102cc0290
424     6e19                                  56ccee288bd26e4c516ae296
429     cutiescoconut                         56d58fbb8bd26e6271e2d908
433     demty                                 57e4b82c444968729dbdab24
435     djkfjskjldflksdjflaskdf               5adae73acd968d431a23af9c
439     dungu                                 5788713f0cb30d217245f877
447     fancybuying                           56c2c4342fab501165addda9
448     fanginternationalshop                 56dbcaea3a9cb801c574c9b1
450     fashionfactorystore                   53ef48fe104dae3e483eb998
457     funengkangtechnologyltd               55c2c02352f31142652ab11d
458     fuyuezong                             593809d78635f05b9c1d6741
462     hammer                                58ca0c110b2ef0505e813d07
463     hannattt                              5850f6270f5c4a5210b24077
470     ilovewig                              5319d507717951485119cb85
475     jackabc                               5959f96adba4dc10c1432b04
476     jackson89                             585248f850ef594d7291adcd



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477     jamesbusiness                              58d729d8542abc5351f317fb
478     jasontradecoltd                            5502759b24850b169496f38c
479     jerry11111                                 56db932cd783b002cbc5224f
480     jianwustore                                56e7a043c634cf26b078924a
481     jindandandejia                             58aaeb920b12a451170e2da6
484     kareem                                     54e20bf5d55e5d2cf3254448
488     kingofpop                                  5628500905121812012c6e1f
492     lakajewelry                                58b931ac0ee890530ee64ea7
494     lanour                                     56889b25a7efa726b38e6cdc
495     laotie                                     5a06b4257b584e6e1be9b275
496     largelandowners                            57b32ea65f26cc18d9fcaa38
        lihaibin854588402612ee11e7884e06a3c
497     33231e8                                    58d90e77d61aa056027d512e
500     liweic                                     58d7a8ed08111752becb560b
501     liyongshengg                               58e352bd475ab6104a0b1abe
503     longong                                    57ad4e4a0ea8f918e190f607
504     lovelife888                                57171c37e48a335913d2d534
        lovelyhomeinternationaltradgingcooperat
505     ion                                        549b6c1344a282131388559f
507     lowkeylifehousehold                        58becd6bbeaaa30e144f5861
508     lqdd616                                    5943cc53ff3e802f912d7460
511     majuncheng                                 598c6d11f628f53ed5a0e0fd
525     nailuniquestore                            5afa7845a896162bd59d40ff
526     nanjingselfelectricalcoltd                 55fb736527aa51428fbbcaac
528     newgainian                                 57ce66a46ac6e11d62a29386
534     packii                                     53f2c2069020ee03626d6ee1
535     pengpengqin0327                            5a6af64434e72060aee03edf
541     redson                                     593116b50d7f40536bafb053
543     rongrong111                                56fcd979c1bed144e9bc85b5
548     shanghailovebrandfactorystore              537b63a85aefb071200648fc
549     shanghaiweijintradingcoltd                 538370487360462cb32b7010
550     shenhy2                                    5a2f32df7f9ae56820a1423b
552     shenzhensafetechnologycoltd                55bb43f8a08b324dbb374a4c
554     shenzhenyishijiahetechnologycoltd          54991eb0653d516327ad82e4
568     supergift                                  54f13ebea0086e329580a109
571     terjit                                     5783343b9d6eff5a44c25639
577     upington                                   5783477bf1ab1f1132bea5c0
579     w_beauties                                 58c68fe9e16d63583ab3aaf7
581     wangjinshop                                5850e14d6339b440939c2fcf
582     wangyang625                                599f9049f628f54fe75b914a



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584     weifenghomesuppliesfranchisestores    58628ee1e62d6a4d4d787e7d
586     wenbinshop                            587dd30cdc7f834d52f45d33
594     xiekaikuishop                         5878e0fa7a5b4f4d75362968
595     xinxiaomongxiuong                     5a66e7ae6f602308e2a61b1d
601     yourbeauty                            54f13bc9d55e5d2b5c1904fb
603     yuesky                                55eee665f794b74231bfe81b
605     zeroflystore                          571a3146718b7c3ada6107e3
606     兴华一路41区科林源大厦                          557aa0840a43e41b9f181967
607     北京环球直通文化传媒有限公司                        557f959286d66543ca14a976
609     广东深圳市优宜得网络科技有限公司                      556dadfaa2c01a27bd57a6c6
610     广州奇米斯商贸有限公司                           54aa3799ffff657b8f15e581
617     深圳市启程远征科技有限公司                         555beee0b05cf10e946c853a
620     跃飞越网络科技有限公司                           56055ad47d083679a4861cbd
621     阿狸梦想母婴店                               5780aa105d4e9c0f9a842947
456
(623)   funhobbies                            582d4f892f28c942a4bd9151




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                                                                 v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The party
                                                                 seeking summary judgment has the burden of establishing
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                                                                 that there is no genuine dispute as to any material fact. See
    Only the Westlaw citation is currently available.
                                                                 Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). A court
             United States District Court,
                                                                 must “construe all facts and reasonable inferences in the light
            N.D. Illinois, Eastern Division.
                                                                 most favorable to the non-moving party.” Apex Digital, Inc.
                                                                 v. Sears, Roebuck, & Co., 735 F.3d 962, 965 (7th Cir. 2013).
             River LIGHT V, L.P. and
            Tory Burch LLC, Plaintiffs,
                     v.                                          II. Facts
                                                                 Plaintiffs River Light V, L.P. and Tory Burch LLC hold
         ZHANGYALI, et al., Defendants.                          a valid and incontestable trademark in the shape of two
                                                                 capital T's, registered with the United States Patent and
                       No. 15 CV 5918
                                                                 Trademark Office under the number 3,029,795. [52] ¶ 1.1
                              |
                                                                 Defendant I Love U To The Moom And Back advertised,
                     Signed 08/22/2016
                                                                 offered for sale, and sold earrings featuring a counterfeit Tory
Attorneys and Law Firms                                          Burch trademark, without plaintiffs' authorization, through
                                                                 an online Aliexpress.com store. [52] ¶¶ 2–4. It listed the
Kevin W. Guynn, Amy Crout Ziegler, Jessica Lea Bloodgood,        earrings for $1.80, and described them as “Hot fashion follow
Justin R. Gaudio, Greer, Burns & Crain, Ltd., Chicago, IL,       out big classic double T stud earrings the branded styled
for Plaintiffs.                                                  fashion rose gold button earrings for women.” [52] ¶ 2.
                                                                 Defendant advertised and offered to ship the earrings to
Michael J. Robins, Robins & Associates LLC, Chicago, IL,
                                                                 potential customers in Illinois and elsewhere in the United
for Defendants.
                                                                 States. [52] ¶ 4.


Memorandum Opinion and Order                                     III. Analysis

Manish S. Shah, United States District Judge                        A. Expert Reports
                                                                  *2 In its response to this motion, defendant refers to
 *1 Defendant I Love You To The Moom And Back operates           and attaches the declarations of Wenquing Li and Michal
an online store and sold earrings bearing a counterfeit Tory     Malkiewicz—two expert reports that opine on plaintiffs'
Burch trademark. The owners of that trademark, plaintiffs        actual damages and defendant's willfulness in infringing upon
River Light V, L.P. and Tory Burch LLC, brought claims           plaintiffs' trademarks. See [62-1], [62-3]. Plaintiffs request
under the Lanham Act and the Illinois Uniform Deceptive          that the expert reports be stricken, because defendant never
Trade Practices Act. Plaintiffs now move for summary             disclosed the identities of, or its intent to use, any expert
judgment and seek statutory damages of $150,000. For the         witnesses. Under Rule 37(c), “[i]f a party fails to provide
following reasons, summary judgment is granted in favor of       information or identify a witness as required by Rule 26(a) or
plaintiffs, and statutory damages in the amount of $100,000      (e), the party is not allowed to use that information or witness
will be awarded.                                                 to supply evidence on a motion, at a hearing, or at a trial,
                                                                 unless the failure was substantially justified or is harmless.”
                                                                 Fed. R. Civ. P. 37(c). Exclusion is “automatic and mandatory,”
I. Legal Standards
                                                                 unless the sanctioned party can show that nondisclosure was
Summary judgment is appropriate if the movant shows that
                                                                 either justified or harmless. David v. Caterpillar, Inc., 324
there is no genuine dispute as to any material fact and the
                                                                 F.3d 851, 857 (7th Cir. 2003) (quoting Salgado v. Gen. Motors
movant is entitled to judgment as a matter of law. Spurling v.
                                                                 Corp., 150 F.3d 735, 742 (7th Cir. 1998)).
C & M Fine Pack, Inc., 739 F.3d 1055, 1060 (7th Cir. 2014);
Fed. R. Civ. P. 56(a). A genuine dispute as to any material
                                                                 Defendant concedes that it failed to make any initial
fact exists if “the evidence is such that a reasonable jury
                                                                 disclosures or disclosures of expert testimony, and that the
could return a verdict for the nonmoving party.” Anderson
                                                                 Li and Malkiewicz declarations constitute expert opinions. Its


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only excuse is that it did not have an opportunity to provide        § 1125(a) (count II), and their Illinois claims, based on the
the necessary disclosures. Defendant claims that it did not          same conduct, under the Illinois Uniform Deceptive Trade
decide to commission expert reports until after December 16,         Practices Act, 815 ILCS § 510/1 et seq. (count IV). Defendant
2015, when the briefing schedule for this motion was set             does not dispute liability and concedes that it owes plaintiffs
and discovery was stayed, and that the expert reports were           statutory damages under 15 U.S.C. § 1117(c). The only issue
not ready until six days before its response brief was due.          in dispute is the amount of those damages. Thus, summary
This excuse is not sufficient justification. Defendant both          judgment is granted with respect to counts I, II, and IV.3
requested and received the reports before the filing deadline
for its response brief, and it could have moved to lift the stay
or amend the briefing schedule under Federal Rule of Civil              C. Statutory Damages
Procedure 56(d). What it should not have done was use a stay          *3 Plaintiffs seek an award of statutory damages in the
of discovery as an opportunity to attach an expert report to its     amount of $150,000. Under § 1117(c)(1), a plaintiff may
response brief without warning.                                      seek statutory damages between $1,000 and $200,000 “per
                                                                     counterfeit mark per type of goods or services sold, offered
Defendant also claims that its nondisclosure was harmless.           for sale, or distributed, as the court orders just.” 15 U.S.C.
The following factors should be considered in determining            § 1117(c)(1). The statute increases the upper limit of the
whether nondisclosure was harmless:                                  statutory award to $2,000,000 per mark per type of goods or
                                                                     services “if the court finds that the use of the counterfeit mark
   (1) the prejudice or surprise to the party against whom the       was willful.” Id. § 1117(c)(2). The statute is analogous to the
   evidence is offered; (2) the ability of the party to cure the     provision for statutory damages for copyright infringement
   prejudice; (3) the likelihood of disruption to the trial; and     under 17 U.S.C. § 504(c). See Chi-Boy Music v. Charlie
   (4) the bad faith or willfulness involved in not disclosing       Club, Inc., 930 F.2d 1224, 1229 (7th Cir. 1991). In Chi-Boy,
   the evidence at an earlier date.                                  the Seventh Circuit said that courts enjoy wide discretion
Tribble v. Evangelides, 670 F.3d 753, 760 (7th Cir. 2012).           in determining statutory damage figures and may consider
Defendant concedes that plaintiffs may have been surprised           factors such as “the difficulty or impossibility of proving
by its experts' existence, but argues that they should not be        actual damages, the circumstances of the infringement, and
surprised by the content of the expert reports, because they         the efficacy of the damages as a deterrent to future copyright
are consistent with and support “what the defendant [has]            infringement.” Id. (quoting F.E.L. Publications v. Catholic
been claiming throughout this case.” [74] at 4. Defendant            Bishop of Chi., 754 F.2d 216, 219 (7th Cir. 1985)). In addition,
makes no mention at all of the prejudice arising from                in the case of willful infringement, “the statutory damages
plaintiffs' inability to adequately respond to the expert            award may be designed to penalize the infringer and to deter
declarations. “Without proper disclosures, a party may miss          future violations.” Id. at 1230.
its opportunity to disqualify the expert, retain rebuttal experts,
or hold depositions for an expert not required to provide a          Defendant requests that the lowest possible damages award
report.” Tribble, 670 F.3d at 759–60. Plaintiffs had no such         be given, and its primary argument is simple: “It made
opportunity, and defendant has not offered one. Allowing             an unintentional mistake and it is sorry.” [62] at 8. In
defendant to rely on expert reports that were disclosed for          other words, defendant argues that its infringement was not
the first time in a response to plaintiffs' summary judgment         willful, and as a result, the damages award should not be
motion would be prejudicial. Despite defendant's arguments           designed to penalize defendant or deter future infringement.
to the contrary, it had the opportunity to make expert               Infringement was willful if the infringer knew that its conduct
disclosures (or seek permission in advance) but did not,             constituted infringement or if it acted in reckless disregard
and this indicates a willful decision to not comply with the         of the owner's rights. See Wildlife Exp. Corp. v. Carol
rules. The declarations of Li and Malkiewicz are therefore           Wright Sales, Inc., 18 F.3d 502, 511–12 (7th Cir. 1994);
excluded.2                                                           see also Louis Vuitton S.A. v. Lee, 875 F.2d 584, 590
                                                                     (7th Cir. 1989) (“Willful blindness is knowledge enough.”).
                                                                     Knowledge may be inferred from the infringer's conduct.
   B. Liability                                                      Wildlife, 18 F.3d at 511. Plaintiffs argue that the infringement
Plaintiffs seek summary judgment on their federal claims of          was willful, because defendant was aware of the possibility
trademark infringement and counterfeiting under 15 U.S.C. §          that it was selling infringing products but conducted no
1114 (count I) and false designation of origin under 15 U.S.C.


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due diligence of its own. Defendant admits this, but says              willful, which calls for a higher damages award to both
that it relied on the Chinese government and the entities              penalize defendant and deter future infringing activities.
responsible for the online marketplace that hosts defendant's
store, Alibaba and AliExpress, to weed out counterfeiters and           *4 Defendant's remaining arguments relate to its calculation
prevent infringement. And it states, without any supporting            of actual damages incurred. Defendant claims that plaintiffs'
evidence, that it purchased the infringing products from               requested award of $150,000 is excessive in relation to the
another AliExpress store, and that it assumed that store's             actual damages as calculated by defendant's experts, and that
products were not infringing.4 Defendant claims that this              the award would constitute a windfall. Defendant's expert
reflects its naivety, but not a reckless indifference to plaintiffs'   reports are excluded, so its determination of actual damages
rights.                                                                will not be considered. Plaintiffs do not provide a competing
                                                                       assessment of its actual damages, and having elected to
Defendant's argument is unpersuasive. Even if defendant                seek statutory damages under § 1117(c), they do not need
had provided evidence to support its claims that Alibaba               to. It is true that there is no evidence in the record to
and AliExpress actively patrolled the online marketplace               suggest that defendant is a large-scale counterfeiter or that
for infringing activity, it admits that Alibaba's measures             plaintiffs suffered substantial harm. Nevertheless, in light of
consist only of conducting audits on randomly selected                 the undisputed facts supporting a finding of willfulness, the
merchants and removing the listings of infringing products.            requested relief is not so high as to be considered a windfall.
It provides no reason to believe that its listings were ever
audited, or that this practice obviates the need for individual        Plaintiffs emphasize the willfulness of the infringement, and
merchants to monitor their own listings. Defendant does                the fact that defendant had the ability to reach a vast customer
not describe the efforts undertaken by AliExpress or the               base over the internet. These factors do militate in favor of
Chinese government, but it says the Chinese government                 a high award to compensate plaintiff, penalize defendant,
imposes fines on counterfeiters. Defendant's argument                  and deter future infringement. Defendant advertises and sells
actually supports plaintiffs' position. Performing no due              its products worldwide through its online store; it does
diligence of its own on its product listings and risking a fine by     not review its products for possible infringement, though it
the Chinese government is not just naïve, it shows a reckless          understands that such a possibility exists; and the product
indifference to the trademark owner's rights.                          description of the infringing earrings that it did sell was
                                                                       worded to ensure maximum exposure and minimal risk of
Moreover, plaintiffs point out that defendant's wording of             getting caught. The proliferation of lower-quality, counterfeit
the product description, written in English, seems designed            goods damages a brand's value and goodwill, and a significant
to ensure that the product can be easily found by a search             award is required to deter defendant and others from engaging
engine without calling attention to the brand name—it                  in similar conduct. The requested award of $150,000 is also
includes the words “double T” and “branded” but not “Tory              much lower than the maximum award of $2,000,000 that
Burch.” Plaintiffs say this is consistent with the actions of          is authorized under § 1117(c)(2) for instances of willful
an intentional infringer, who would try to maximize sales              infringement. However, defendant's willful infringement is
of infringing products while minimizing the risk of the                mitigated to some extent by the fact that it hired counsel
infringement being discovered. Defendant claims, without               and appeared in this action, rather than defaulting. And
support in the record, that it merely copied the English-              despite defendant's global reach, there is no evidence to
language description from its supplier and, not knowing                suggest that plaintiffs suffered significant damages as a
English, did not have a clear understanding of what it said            result of defendant's conduct. Of all the factors to consider,
                                                                       the need to punish and deter willful infringement is the
or meant, even after looking up a translation.5 Plaintiffs
                                                                       most important under the circumstances of this particular
also argue that the Tory Burch trademark is so popular
                                                                       defendant's conduct, and I conclude that $100,000 is a
and recognizable that defendant must have known that its
                                                                       sufficient award of statutory damages.
products were infringing, while defendant says, again without
support, that it did not recognize the trademark. Defendant's
unsupported arguments are unpersuasive, and even taking                   D. Permanent Injunction
all reasonable inferences in defendant's favor, it is clear            In addition to statutory damages, plaintiffs requests that
that defendant was, at the very least, willfully blind to the          defendant be permanently enjoined from advertising, offering
counterfeit nature of the earrings. Thus, its infringement was         for sale, and selling products that bear a counterfeit Tory


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                                                                   and § 1117(b) in certain circumstances, including when the
Burch trademark or otherwise violate plaintiffs' rights in the
mark. Defendant does not explicitly refer to this request,         infringement was willful. 15 U.S.C. §§ 1117(a)–(b); see
but insists repeatedly that it will never engage in the sale       also BASF Corp. v. Old World Trading Co., 41 F.3d 1081,
of Tory Burch products again. Plaintiffs have established          1099 (7th Cir. 1994). Defendant correctly notes that those
that infringement occurred, and the harm to its brand from         provisions relate to awards of actual damages rather than
the sales of counterfeit goods is irreparable—the confusion        statutory damages, but attorney's fees are available when
caused by knock-off products in the stream of commerce             plaintiffs opt to receive statutory damages under § 1117(c),
damages the value of the brand and cannot be compensated           as well. See Louis Vuitton Malletier S.A. v. LY USA, Inc.,
by money alone. There is no harm to the defendant to               676 F.3d 83, 111 (2d Cir. 2012). Accordingly, reasonable
being enjoined from violating the law, and the public interest     attorney's fees shall be awarded to plaintiffs. Costs are
is served by eliminating potential consumer confusion.             available to plaintiffs, as the prevailing party, under Federal
Plaintiffs request that the permanent injunction order third-      Rule of Civil Procedure 54(d)(1).
party domain name registrars and online marketplaces to
disable any account linked to defendant, linked to any e-
                                                                   IV. Conclusion
mail addresses used by defendant, or linked to the defendant's
                                                                   Plaintiffs' motion for summary judgment, [50], is granted.
internet store. They also request that defendant be enjoined
                                                                   Enter permanent injunction prohibiting defendant from
from owning or operating any domain name or online
                                                                   violating plaintiffs' rights in the Tory Burch mark. Statutory
marketplace account that could be used to sell infringing
                                                                   damages in the amount of $100,000, attorney's fees, and costs
products in the future. These requests are overbroad in that
                                                                   shall be awarded. Plaintiffs' motion for attorney's fees and
they disproportionately harm defendant's ability to conduct
                                                                   bill of costs is due by 9/12/16, defendant's response is due by
legitimate business. The request for injunctive relief is
                                                                   9/26/16, and plaintiffs' reply is due by 10/11/16.
otherwise granted.

                                                                   All Citations
  E. Attorney's Fees and Costs
 *5 Finally, plaintiffs seek recovery of its attorney's fees       Not Reported in Fed. Supp., 2016 WL 4429758
and costs. Attorney's fees are recoverable under § 1117(a)


Footnotes
1      Bracketed numbers refer to entries on the district court docket. The facts are taken from plaintiffs' LR 56.1 statement.
       Because defendant did not follow the court's local rules by submitting a paragraph-by-paragraph response to plaintiffs' LR
       56.1 statement, see LR 56.1(b)(3)(a)–(b), plaintiffs' facts are undisputed. Defendant also decided not to file a statement
       of additional facts, which is authorized under LR 56.1(b)(3)(c). Instead, defendant filed two expert reports that are labeled
       “declarations,” see [62-1] and [62-3], with over 10,000 pages of attachments. These expert reports do not meet the
       requirements of LR 56.1, and “a district court is entitled to expect strict compliance with Rule 56.1.” Ammons v. Aramark
       Unif. Services, Inc., 368 F.3d 809, 817 (7th Cir. 2004). Thus, any statements of facts that may be contained therein will
       not be considered. Defendant also filed with its response brief the declaration of Zhenggui Wang, [62-4], who purports
       to be defendant's president, but neither party mentions that declaration anywhere in the briefing. Wang's declaration is
       therefore excluded, as well.
2      Plaintiffs also stated concerns over the relevance of the reports or the qualifications of the experts, but those concerns
       need not be addressed.
3      Count III of the amended complaint, [21], does not pertain to defendant. That cause of action was alleged against other
       defendants in this case who are not subject to this motion.
4      Defendant's expert declarations are excluded, but it is worth noting that one of them attaches purchase records of the
       infringing products and screenshots from the supplier's website, all of which suggest that defendant bought the products
       from 1688.com, which does not appear to be an AliExpress website. See [62-14].
5      The only possible support for defendant's explanation is a statement in Wang's declaration, [62-4] ¶ 16, but defendant
       does not cite to that declaration. Moreover, defendant's explanation conflicts with an attachment to Li's excluded expert
       declaration, [62-14]. According to Li's declaration, the attachment contains screenshots of the supplier's website and




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       purchase records of the infringing earrings. [62-1] at 15 n.53. None of these documents contain English-language product
       descriptions.


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                                                                 need] not [include] the factual or legal basis of the objection.”
                                                                 Johnson v. Zema Sys. Corp., 170 F.3d 734, 741 (7th Cir.1999).
                  2008 WL 1775512
                                                                 Generally, a district court reviews a magistrate's report
    Only the Westlaw citation is currently available.
                                                                 and recommendation for clear error. Fed.R.Civ.P. 72(a); see
             United States District Court,
                                                                 Hartford Accident & Indemnity v. Sullivan, No. 76 C 3319,
                    N.D. Illinois,
                                                                 1987 WL 9977, at *2 (N.D.Ill. Apr. 20, 1987). However, the
                  Eastern Division.
                                                                 district court undertakes a de novo review of those portions
                                                                 of the Report to which a party specifically objected. Johnson,
      LORILLARD TOBACCO COMPANY,
                                                                 170 F.3d at 741; Fed.R.Civ.P. 72(b).
     a Delaware Corporation, Plaintiff,
                    v.
    MONTROSE WHOLESALE CANDIES                                   ANALYSIS
   AND SUNDRIES, INC., et al., Defendant.
                                                                 On February 25, 2008, Magistrate Judge Cole issued a Report
                                                                 recommending that we deny Defendants' Rule 59(e) motion.
                 Nos. 03 C 5311, 03 C 4844.
                                                                 As the Report correctly indicated, “ ‘[a] court may grant
                              |
                                                                 a Rule 59(e) motion to alter or amend the judgment if the
                       April 17, 2008.
                                                                 movant presents newly discovered evidence that was not
                                                                 available at the time of trial or if the movant points to evidence
                                                                 in the record that clearly establishes a manifest error of law
MEMORANDUM ORDER AND OPINION                                     or fact.’ “ County of McHenry v. Ins. Co. of the W., 438 F.3d
                                                                 813, 819 (7th Cir.2006) (quoting Matter of Prince, 85 F.3d
MARVIN E. ASPEN, District Judge.
                                                                 314, 324 (7th Cir.1996)). However, a party may not use a Rule
*1 On November 18, 2007, we issued a judgment awarding           59(e) motion “to advance arguments or theories that could and
Lorillard Tobacco Company (“Plaintiff”) $2.5 million in          should have been made before the district court rendered a
statutory damages under the Lanham Act.1 Subsequently,           judgment.' “ Id. (quoting LB Credit Corp. v.. Resolution Trust
Montrose Wholesale Candies and Sundries, Inc., Ray               Corp., 49 F.3d 1263 (7th Cir.1995)).
Hazemi, and Sandra Hazemi (collectively referred to as the
“Defendants”) filed a Rule 59(e) motion to alter or amend        Contrary to Defendants' arguments, Magistrate Judge Cole's
that judgment. We referred Defendants' motion to Magistrate      Report found that: (1) we need not conduct an evidentiary
Judge Cole, and he issued a Report and Recommendation            hearing to determine statutory damages in this case; (2) the
on February 25, 2008 (“Report”) recommending that we             Lanham Act authorizes $2.5 million in statutory damages in
                                                                 this case; and (3) Mrs. Hazemi's arguments were insufficient
deny Defendants' motion. Presently before us is Defendants'2
                                                                 to show that the court erred in holding her jointly and
objections to Magistrate Judge Cole's Report. For the reasons
                                                                 severally liable.
set forth below, we overrule Defendants' objections and adopt
the Report.
                                                                  *2 Defendants now object to the Report and argue that we
                                                                 should grant their Rule 59(e) motion because: (1) the court
                                                                 failed to make specific findings and conduct an evidentiary
STANDARD OF REVIEW                                               hearing regarding the amount of statutory damages; (2) the
                                                                 maximum statutory damages recoverable under the Lanham
Federal Rule of Civil Procedure 72(b) sets forth the             Act is $1 million based on the facts of this case; and
procedure for objecting to a magistrate judge's report and       (3) Plaintiff's Second Amended Complaint did not request
recommendation on dispositive matters: “Within 10 days after     statutory damages under the Lanham Act. We address each of
being served with a copy of the recommended disposition,         these objections in turn below.
a party may serve and file specific, written objections to
the proposed findings and recommendations.” Fed.R.Civ.P.
72(b). To comply with the rule in the Seventh Circuit, a party   A. Objections to the Statutory Damages Calculation
must “specify each issue for which review is sought[, but



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Defendants argue that Magistrate Judge Cole erred in denying        are the very reason for the provision allowing statutory
its Rule 59(e) motion because Plaintiff never produced              damages awards; no prove-up is necessary”)).
evidence sufficient to justify the statutory damage award in
this case. Specifically, Defendants now argue for the first time     *3 We agree with Magistrate Judge Cole that the statutory
that we were required to weigh the seven factors listed in the      damage award here may be determined without an evidentiary
Copyright Act in order to award statutory damages in this           hearing. First, requiring an evidentiary hearing for statutory
case.3 (See Def. Objection at 2-4).                                 damages here would defeat the purpose of 15 U.S.C. § 1117(c)
                                                                    (2), which recognized that damages in trademark cases may
While courts have held that the seven factors under the             be difficult to prove due to defendant conduct. See S.Rep.
Copyright Act offer some guidance in Lanham Act cases,              No. 104-177, at *10 (“The committee recognizes that under
see, e.g., Gucci v. Am. Inc. v. Duty Free Apparel, Ltd., 315        current law, a civil litigant may not be able to prove actual
F.Supp.2d 511, 520 (S.D .N.Y.2004), courts are “not required        damages if a sophisticated, large-scale counterfeiter has
to follow any rigid formula” when applying these factors. See       hidden or destroyed information about his counterfeiting.”).
Chi-Boy Music v. Charlie Club, 930 F.2d 1224, 1229 (7th             This purpose is particularly relevant here given Defendants'
Cir.1991). In addition, Magistrate Judge Cole acknowledged          repeated discovery abuses. (See 11/8/05 Report (Case No.
these factors in his September 10, 2007 Report and found            03-4844, Docket No. 197)). In addition, other courts have
that they weighed against Defendants not only because they          awarded statutory damages after default judgment without
are deemed to have acted willfully by virtue of the default         conducting evidentiary hearings.8
judgment, but also because their repeated discovery abuses
prevented actual damages from being proven. (See 9/10/07            Given these considerations and our discretion in determining
Report at 5, 6, 9 (Case No. 03-5311, Docket No. 197)). Thus,        statutory damages awards, we agree with Magistrate Judge
we find that Defendants' objection lacks merit.                     Cole that our award of $2.5 million in statutory damages
                                                                    without an evidentiary hearing was not an error of law.9
To the extent that Defendants repeat their request for an
evidentiary hearing and/or trial in this case to determine
willfulness, we again find that this argument is without merit.4    C. “Type of Goods” Objection
As we have previously indicated, because we entered a               Defendants also argue that the judgment should be amended
default judgment in this case, all allegations of the Plaintiff's   because the maximum statutory damages award recoverable
complaint are taken as true. See Cass County Music Co. v.           in this case is $1 million because only one type of goods
                                                                    (cigarettes) are at issue. (Def. Objection at 4). The Lanham
Muedini, 55 F.3d 263, 266 (7th Cir.1955).5 By virtue of this
                                                                    Act states that “if the court finds that the use of the counterfeit
rule, Defendants are deemed to have acted willfully. (See
                                                                    mark was willful,” then the court may award “not more than
Second Am. Compl. ¶ 20 (alleging that Defendants acted
                                                                    $1,000,000 per counterfeit mark per type of goods or services
“with the intent to confuse and mislead the public”)).6             sold, offered for sale, or distributed.” 15 U.S.C. § 1117(c)(2)
                                                                    (emphasis added).
In addition to the above factors, Defendants also argue
that we were required to conduct an evidentiary hearing on          Magistrate Judge Cole rejected this argument because not
statutory damages. Defendants rely upon Dundee Cement Co.           only had Defendants failed to cite any case law in support of
v. Howard Piper Concrete Products, Inc., for the proposition        its proffered statutory interpretation, but also because other
that even after a default judgment, a hearing on damages            cases indicate that a plaintiff may recover $1 million in
is required unless “the amount claimed is liquidated or             statutory damages for each trademark violated even if only
capable of ascertainment from definite figures contained            one product is involved. (Report at 3); see also Top Brand
in the documentary evidence or in detailed affidavits.”             Co., No. 00 Civ. 8179, 2006 WL 2946472, at *3 (awarding
722 F.2d 1319, 1323 (7th Cir.1983).7 Magistrate Judge               $12 million in statutory damages for three counterfeit
Cole distinguished Dundee Cement, however, because it did           goods each bearing four trademarks and $5 million for one
not involve statutory damages. (See Report at 2; see also           counterfeit good bearing five trademarks); Gucci Am., Inc.,
9/10/07 Report at 6 (explaining that no evidentiary hearing         315 F.Supp.2d at 521 n. 8; Variety Wholesalers, Inc., 274
is necessary because “cases like this, where the information        F.Supp.2d at 1374. Thus, because Plaintiff alleged that five
needed to prove actual damages is in the infringer's control,       of its trademarks were violated, Magistrate Judge Cole found



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                                                                     Second Amended Complaint, Plaintiff specifically asked for
that we have discretion to award up to $5 million in statutory
                                                                     “statutory damages in lieu of actual damages, as provided
damages. (Report at 6; see also Second Amended Compl. ¶
                                                                     in 15 U.S .C. § 1117(c).” (Second Amended Compl. ¶ F).
16).
                                                                     While this request was at the end of the complaint and
                                                                     not specifically under Counts I, II, and III, this is of no
Defendants now claim that Magistrate Judge Cole's
                                                                     consequence since Plaintiff is clearly is requesting relief for
interpretation of the statute defies commonsense and that
                                                                     all of its counts at the end of its complaint and Plaintiff clearly
none of the above cases are controlling in this district.
                                                                     cites to the Lanham Act in Paragraph F. Thus, we agree with
Regardless, Defendants still have not cited one case that
                                                                     Magistrate Judge Cole that this argument is without merit.
supports their interpretation, and we agree with Magistrate
Judge Cole's interpretation of the statutory language.

                                                                     CONCLUSION
C. Dispute regarding Second Amended Complaint
 *4 Defendants finally argue that Plaintiff's Second Amended         For the reasons set forth below, we overrule Defendants'
Complaint never requested statutory damages under the                objections and adopt Magistrate Judge Cole's Report.
Lanham Act specifically, and thus that Magistrate Judge              Accordingly, Defendant's Rule 59(e) motion is denied. It is
Cole Report incorrectly awarded them. Defendants' argument           so ordered.
appears to be essentially that because Plaintiff's statutory
damage request is at the end of its complaint, this means
that Plaintiff is only claiming statutory damages under the          All Citations
last count of its complaint, Inducement to Commit Fraud.
                                                                     Not Reported in F.Supp.2d, 2008 WL 1775512
(Def. Objection at 5). We disagree. Reviewing Plaintiff's


Footnotes
1      Magistrate Judge Cole provided an in-depth description of the history and background of this case in Lorillard Tobacco
       Co. v. Montrose Wholesale Candies & Sundries, et al., Nos. 03 C 5311 and 03 C 4844, 2005 WL 311582, at *1-13 (N.D.Ill.
       Nov. 8, 2005), adopted by Docket No. 229 (N.D.Ill. Jan. 30, 2006). Therefore, we will assume familiarity with the facts
       and only restate them as necessary to examine the issues below.
2      While we acknowledge that Sandra Hazemi filed a separate response on March 3, 2008 (and a virtually identical reply
       on March 24, 2008), for the purpose of this opinion we will assume that Mrs. Hazemi would join in Montrose's and Ray
       Hazemi's arguments. As relevant, we will indicate where Mrs. Hazemi has asserted objections that differ from those of
       the other Defendants.
3      These Copyright Act factors include:
            “(1) the expenses saved and the profits reaped; (2) the revenues lost by the plaintiff; (3) the value of the copyright; (4)
            the deterrent effect on others besides the defendant; (5) whether the defendant's conduct was innocent or willful; (6)
            whether a defendant has cooperated in providing particular records from which to assess the value of the infringing
            material produced; (7) the potential for discouraging the defendant.” Gucci v. Am. Inc. v. Duty Free Apparel, Ltd.,
            315 F.Supp.2d 511, 520 (S.D.N.Y.2004) (internal citations omitted).
4      Mrs. Hazemi's objections focus on this argument and emphasize, as she has in the past, that no evidence has been
       proven against her and that thus she should be afforded a trial to determine the extent of her involvement in the business.
5      Defendants also argue that Top Brand and Gucci support this argument because they require solid evidence of willfulness
       not present here. (Def. Objection ¶ 6). These cases are distinguishable, however, because neither involved a default
       judgment. See Nike, Inc. v. Top Brand, No. 00 Civ. 8179, 2006 WL 2946472, at * 1 (S.D.N.Y. Feb. 27, 2006) (explaining
       that the decision is limited to the defendants whose liability was determined on summary judgment); Gucci Am.,, 315
       F.Supp. at 513 (noting that a two-day bench trial was conducted to determine willfulness).
6      In addition, we agree with Magistrate Judge Cole that Mrs. Hazemi has failed to provide any legal reason why our judgment
       should be vacated against her. In her objections, Mrs. Hazemi insinuates that Magistrate Judge Cole is somehow biased
       against her. Mrs. Hazemi also argues that she is being found guilty by association merely as the wife of Ray Hazemi and
       that she was never given the opportunity to speak at depositions. (See Sandra Hazemi's Objections at 1, 3). However,
       Plaintiff's Second Amended Complaint includes allegations regarding Mrs. Hazemi's involvement, which are taken as
       true upon default judgment. (See Second Am. Compl. ¶ 4); see also Cass County Music Co., 55 F.3d at 266. In addition,


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      while Mrs. Hazemi may not have had the opportunity to say what she wished during depositions, we find that she had
      ample time before we entered judgment to put forth any arguments because this case has been pending for five years
      and she has attended numerous court appearances. (Report at 6). Thus, we do not find that we committed “a manifest
      error of law or fact” by finding her jointly and severally liable in our November 18, 2007 judgment.
7     We note that Defendants only mentioned this argument in one sentence at the end of their brief. (See Def. Objections
      ¶ 13). However, because Defendants' original Rule 59(e) motion had a more lengthy discussion of this case, we will
      address its arguments here. (See Def. Rule 59(e) Motion 4-5).
8     See, e.g., Ortiz-Gonzalez v. Fonovisa, 277 F.3d 59, 63-64 (1st Cir.2002) (finding that no evidentiary hearing on statutory
      damages was required after default judgment since was within district judge's discretion to award within an amount
      within the statutory range); Microsoft Corp. v. Nop, No. CIV S-07-1276, 2008 WL 686584, at *4 (E.D.Cal. Mar. 11,
      2008) (determining amount of statutory damages without an evidentiary hearing and noting that “statutory damages are
      appropriate in default judgment cases because the information needed to prove actual damages is within the infringers'
      control and is not disclosed” (internal citations omitted)); Warner Bros. Records Inc. v. Hentz, No. 06-cv-686-JPG, 2007
      WL 2481289, at *4 (S.D.Ill. Aug. 29, 2007).
9     Defendants also attempt to distinguish the statutory damage awards in the cases cited in Magistrate Judge Cole's Report.
      For example, Defendants argue that: Top Brand is distinguishable because the defendant's infringing operations in that
      case led to the production of millions of infringing goods; Gucci is distinguishable because the defendants continued
      to sell counterfeit goods after the lawsuit was filed; and Variety Wholesalers, Inc. is distinguishable because the court
      awarded less than $2 million in damages even though defendants was a company with over 450 stores and $600 million
      in gross annual sales. (Def. Objections at 3-4).
         However, we find these distinctions irrelevant because these courts also focused upon the defendants' willfulness and
         abusive conduct during the litigation, as has been repeatedly emphasized in this case. See Top Brand, No. 00 Civ.
         8179, 2006 WL 2946472, at *2 (examining the extent of the defendants' operation as only one factors in determining
         the statutory damage amount and also stressing that “the willfulness of their conduct, and their behavior in this litigation
         all weigh towards a grant of the maximum in statutory damages”); Gucci Am., Inc., 315 F.Supp.2d at 521 (determining
         that defendant acted willfully not only because defendant continued to sell counterfeit goods after the suit was filed,
         but also due to defendant's “bold contempt for the law” exhibited both during the two-year period it sold the counterfeit
         goods and during the course of the litigation).
         In addition, Defendants' reliance upon Nike Inc. v. Variety Wholesalers, Inc. as evidence that the award here was
         excessive is misplaced because the award in that case was based upon actual damages determined after a trial, and
         did not involve a willful defendant. See 274 F.Supp.2d 1352, 1374 (S.D.Ga.2003).


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                                                                     to Rules 12, 26 and 37 of the Federal Rules of Civil Procedure,
                                                                     (“Rules”).
                  2004 WL 2534378
    Only the Westlaw citation is currently available.
                                                                     S & M, in its Brief Regarding Damages of August 6, 2004,
             United States District Court,
                                                                     requests that if any damages are awarded, the court should
            N.D. Illinois, Eastern Division.
                                                                     award 15 U.S.C. § 1117(c)'s minimum amount of $500 per
                                                                     infringed mark for a total award of $2,500. S & M also argues
               LORILLARD TOBACCO
                                                                     that an award of attorneys' fees and costs is not appropriate
                COMPANY, Plaintiff,                                  in this case.
                       v.
                                                                     For the reasons set forth below, this court awards to Lorillard,
             S & M CENTRAL SERVICE
                                                                     pursuant to 15 U.S.C. § 1117(c), statutory damages of Fifty
            CORPORATION, Defendant.                                  Thousand Dollars ($50,000) per infringed mark for a total
                                                                     statutory damage award of Two Hundred Fifty Thousand
                         No. 03 C 4986.                              Dollars ($250,000). This court also finds that Lorillard
                                |                                    is entitled to receive reasonable costs and attorneys' fees
                         Nov. 8, 2004.                               pursuant to 15 U.S.C. § 1117(b) but the parties must comply
                                                                     with the requirements of Local Rule 54.3 before this court
                                                                     can calculate a figure for reasonable costs and attorneys'
MEMORANDUM OPINION AND ORDER                                         fees. In addition, this court grants Lorillard's request for
                                                                     a permanent injunction, but denies Lorillard's Motion to
HOLDERMAN, J.
                                                                     Amend the Pleadings to Conform to the Evidence and denies
 *1 Plaintiff Lorillard Tobacco Co., (“Lorillard”), filed suit       Lorillard's August 16, 2004 Motion to Strike S & M's Brief
against defendant S & M Central Service Corporation, (“S             on Damages.
& M”), alleging that S & M infringed of five of Lorillard's
registered trademarks in violation of the Trademark Act
of 1946, 15 U.S.C. § 1051 et seq., (“Lanham Act”), by                BACKGROUND
willfully, or with willful blindness, offering for sale, selling
and distributing counterfeit versions of Lorillard's Newport         A. Lorillard Tobacco Company
cigarettes. At the conclusion of a two day trial on the merits, a    Lorillard is the fourth largest tobacco company in the United
jury returned a verdict in favor of Lorillard and stated: (1) yes,   States. (Stipulation and Statement of Uncontested Facts ¶
consumers would likely confuse the cigarette packs bearing           4, Ex. 1 to the Pre–Trial Order, [hereinafter Uncontested
the counterfeit marks sold by S & M with genuine Newport             Facts].) First introduced into the market in 1956, Newport is
cigarette packs; and (2) yes, S & M's actions were taken             a Lorillard cigarette brand. (Id. at ¶ 6.) Newport is the leading
willfully or committed with willful blindness. (Dkt. No. 49.)        brand of menthol cigarettes sold in the United States, and it
                                                                     is the second leading cigarette brand overall with an eight
Lorillard's August 4, 2004 post-trial motions request this           percent market share. (Id. at ¶ 6–7.)
court to (1) award Lorillard statutory damages of five
hundred thousand dollars, ($500,000),1 pursuant to 15                 *2 Lorillard has protected the value of the Newport brand
U.S.C. § 1117(c); (2) award Lorillard costs and reasonable           by registering the five following trademarks with the United
attorneys' fees pursuant to 15 U.S.C. § 1117(b); (3) enter a         States Patent and Trademark Office: Reg. No. 1,108,876;
permanent injunction barring S & M from selling, offering            Reg. No. 1,178,413; Reg. No. 1,191,816; Reg. No. 1,920,066;
for sale or distributing counterfeit cigarettes, and, (4)            and Reg. No. 2,600,870. (Id. at ¶ 10.) Four of the marks,
amend the pleadings to add Safwan Alkhawan (“Alkhawan”)              Nos. 1,108,876; 1,178,417; 1,191,816; and 1,920,666, have
and Marwan Khawam (“Khawam”) as individually liable                  attained incontestable status under 15 U.S.C. § 1115(b). (Id.)
defendants in order to conform the pleadings to the evidence
presented at trial. Lorillard also submitted a motion on August
                                                                       B. S & M Central Service Corporation and its interaction
16, 2004 to Strike the Defendant's Brief on Damages pursuant
                                                                       with Lorillard



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S & M operates a gas station in Chicago, Illinois. (Trial Tr.       as either a complaint, answer, reply to a counterclaim, an
pg. 59.) The station sells gasoline, operates maintenance bays,     answer to a cross-claim, a third-party complaint, or third-
and sells consumer products including food, magazines and           party answer); see, e.g., E.E.O.C. v. Admiral Maint. Serv.,
cigarettes. (Uncontested Facts at ¶ 3.) Lorillard became aware      L.P., 174 F.R.D. 643, 645–47 (N.D.Ill.1997). Consequently,
of counterfeit Newport cigarettes at S & M when one of              by the plain language of Rules, Rule 12(f) is not applicable.
Lorillard's sales representatives made a sales call to S & M.       The court notes, however, that any evaluation of the facts must
(Id. at 16.) The sales representative purchased two cartons         be based on the record presented to the court and the court
of the counterfeit cigarettes. (Trial Tr. at 42.) On July 18,       will provide proper citations to the record were appropriate.
2003, Lorillard obtained an Ex Parte Seizure Order from this
court authorizing a seizure of counterfeit cigarettes at S &         *3 Furthermore, this court concludes that it will consider the
M. The executed search of S & M resulted in a seizure of 83         tax returns provided by S & M in its brief on damages. The
cartons and 9 packages of counterfeit Newport cigarettes and        language of Rule 37(c) allows a court to consider evidence
associated business records.                                        that otherwise would be excluded when the result is harmless.
                                                                    Fed.R.Civ.P. 37(c). In this case, the court concludes that S &
                                                                    M's decision to provide its 2001, 2003 and 2003 tax returns
                                                                    was harmless to Lorillard and actually undercuts certain of
ANALYSIS
                                                                    S & M's arguments due to the way that S & M uses the tax
   A. Lorillard's Motion to Strike S & M's Brief on Damages         returns in its brief on damages.
On August 16, 2004, Lorillard filed a motion to strike S &
M's August 6, 2004 brief on damages under Rules 12, 26,             S & M provides its tax returns as support for its statement
and 37. Lorillard's motion asserts two separate concerns. First,    that “S & M has not been a profitable enterprise. The attached
Lorillard argues that S & M's brief contains misstatement of        tax returns of 2001, 2002, and 2003 show that there was no
facts unsupported by citation to the record. Second, Lorillard      taxable income to the company. As a result, any award of
argues that S & M improperly included its 2001, 2002, and           damages would cause a hardship to the Defendant.” (Def.
2003 tax returns as an exhibit to S & M's brief on damages.         Br. Regarding Damages of August 6, 2004 at 3.) However,
Lorillard argues that it had requested financial information        the information contained in the tax returns contradict the
included tax returns from S & M during discovery, that S            statement that any award of damages would be a hardship. It
& M had failed to disclose these items, and therefore S &           is true that S & M reported zero taxable income on its 2001,
M should be prohibited from using these documents under             2002 and 2003 federal tax returns. However, the zero taxable
Rule 37. Lorillard requests the court to strike S & M's brief in    figure was the result of a Net Operating Loss deduction,
whole, or in the alternative strike specific offending portions     (“NOL”), that S & M was able to take during those three
of the brief, and the impose sanctions against S & M.               years. A NOL is a non cash deduction that allows a company
                                                                    to “carry-forward” and/or “carry-back” prior year losses and
S & M counters that the documents provided with its brief           recognize them as current year deductions. See 26 U.S.C. §
were specifically requested by the court at the end of the trial,   172. Consequently, S & M's statement that it “has not been
that these documents were not disclosed during discovery            a profitable enterprise” may be technically correct for tax
because they were not relevant and the information contained        purposes since S & M reported no taxable income. However,
in the brief is appropriate since S & M is making arguments         the tax returns actually undermine S & M's statement that
to the court. S & M further argues that Lorillard should be         “any award of damages would cause a hardship for the
sanctioned for bringing its motion to strike.                       Defendant” because S & M recognized a profit before the
                                                                    NOL deduction. S & M's creditability as to its statement of
Lorillard is unable to bring a motion to strike under Rule          financial condition is further undermined by the millions of
12(f). Rule 12(f) provides that “the court may strike from          dollars of wire transfers uncovered by Lorillard. (Pls. Brief on
any pleading any insufficient defense or any redundant,             Damages and Att'ys Fees of August 6, 2004 at Ex. I.) Since
immaterial, impertinent, or scandalous matter.” Fed.R.Civ.P.        the tax returns submitted by S & M are actually harmful to S
12(f). The plain language of Rule 12(f) states that the Rule        & M and helpful to Lorillard, the court concludes there is no
applies to “pleadings.” A memorandum submitted in support           harm as to Lorillard and will deny Lorillard's motion to strike.
of a court's determination of damages is not a pleading             In light of this decision, S & M's motion to sanction Lorillard
under the Rules. See Fed.R.Civ.P. 7(a) (Defining pleadings          for bringing its motion to strike is denied.



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                                                                    Cir.1991). Under the Chi–Boy standard, a court awarding
                                                                    statutory damages is “not required to follow any rigid formula
B. Lorillard's Motion for Statutory Damages under 15 U.S.C.         but instead enjoys wide discretion.” Id. In computing the
§ 1117(c)                                                           award amount, a court may consider factors such as “the
Title 15, Section 1117 allows a plaintiff to elect, at any time     difficulty or impossibility of proving actual damages, the
before final judgment is rendered, one of two alternative           circumstances of the infringement, and the efficacy of the
recovery options for trademark infringement: (1) the actual         damages as a deterrent.” Id. Additionally, statutory damages
damages caused by the infringement, 15 U.S.C. § 1117(a);            are appropriate to “penalize the infringer and deter future
or (2) statutory damages. 15 U.S.C. § 1117(c). Congress             violations” when the infringement was willful. Id. at 1230.
provided the statutory damages option of 15 U.S.C. § 1117(c)
through the Anticounterfeiting Consumer Protection Act of           Lorillard argues for a damages award of at least $100,000
1996, Pub.L. No. 104–153, § 7, 110 Stat. 1368. This option          per each of the five infringed marks for a minimum damage
was added due to the concern that a counterfeiter might             award of $500,000. Lorillard argues that the $500,000 is
hide, alter or destroy records, thus making it impossible for       appropriate in light of (1) S & M's annual total gross sales
a plaintiff to determine the scope of, or be able to prove,         of approximately $1.35 million, (2) S & M's annual total
actual damages. Louis Vuitton v. Veit, 211 F.Supp.2d 567, 583       gross sales of cigarettes of $300,000, (3) the “immeasurable
(E.D.Pa.2002) (citing S.Rep. No. 177, 104 Cong. (1995)).            value” of Lorillard's trademarks and the risk that customers
                                                                    using inferior counterfeit cigarettes will stop buying Newport
 *4 Section 1117(c)(1) allows statutory damages of “not less        products, and, (4) will serve to deter both S & M and other
than $500 and no more than $100,000 per counterfeit mark per        potential infringers. (Pls. Brief on Damages and Att'ys Fees
type of goods or services sold, offered for sale, or distributed,   of August 6, 2004 at pg 12–13, 18.) In addition, Lorillard
as the court considers just.” 15 U.S.C. § 1117(c)(1). In            argues that the court should reject any of the S & M's
addition, Section 1117(c)(2) allows a statutory award of up to      arguments about inability to pay a damages award. According
$1,000,000 per counterfeit mark “if the court finds that the use    to Lorillard, S & M's financial information should be “viewed
of the counterfeit mark was willful.” 15 U.S.C. § 1117(c)(2).       with a healthy degree of skepticism,” since they have failed
                                                                    to provide supporting documentation and Lorillard uncovered
Although section 1117(c) contains the dollar ranges for             “millions of dollars worth of foreign wire transfers” made by
possible statutory damage awards, the statute does not              S & M. (Id. at 13.)
provides guidance on how to select a damage figure within
statutory dollar range. Courts interpreting section 1117(c)          *5 Lorillard also argues for the court to find that S & M was
have looked by analogy to case law applying the statutory           willful in its infringement. A finding of willful infringement
damage provision of the Copyright Act contained in 17               would allow for a damages award of up to $1,000,000 per
U.S.C. § 504(c). Sara Lee v. Bags of New York, Inc .,               counterfeit mark, 15 U.S .C. § 1117(c)(2), for a total potential
36 F.Supp.2d 161, 166 (S.D.N.Y.1999) (“Cases decided                award of $5,000,000. According to Lorillard, evidence of S &
under the Copyright Act, which deals with a similar                 M's willfulness include (1) the purchase of larger than usual
problem and a similar legislative grant to discretion, afford       quantities of purported Newport cigarettes from Cam–Kat at
guidance here.”). Accord, Tommy Hilfiger Licensing, Inc.            a price well below market value and in unusual packaging that
v. Goody's Family Clothing, Inc., No. 1:00–CV–1934–                 differed significantly from the genuine Newport packaging,
BBM, 2003 WL 22331254, at *28 (N.D.Ga. May 9, 2003);                and, (2) the jury's verdict finding willful infringement. (Id. at
Louis Vuitton, 211 F.Supp.2d at 583; Microsoft Corp. v.             15.) Additionally, Lorillard argues that S & M's attempts to
Logical Choice Computers, Inc., No. 99 C 1300, 2001 WL              rebut the question of willfulness merely highlight their own
58950, at *11 (N.D.Ill. Jan. 22, 2001); Microsoft Corp. v.          guilt,” (Id.), and they have exacerbated their willful purchases
Software Wholesale Club, Inc., 129 F.Supp.2d 995, 1008              of counterfeit Newports by “lying throughout this case—from
(S.D.Tex.2000).                                                     the day of the ex parte seizure to the last day of trial.” (Id.
                                                                    at 16.)
The Seventh Circuit's standard for awarding copyright
statutory damages under 17 U.S.C § 504(c), and thus the             S & M argues the court should impose no damages or at the
standard this court will use for awarding trademark statutory       most the minimum statutory penalty of $500 per infringed
damages under 15 U.S.C. § 1117(c), is enumerated in Chi–            mark for a total award of $2,500. S & M argues that (1) the
Boy Music v. Charlie Club. 930 F.2d 1224, 1229 (7th


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conduct of defendants in other reported infringement cases           because Congress' decision to allow statutory damages under
is more willful and done with more disdain than in this              15 U.S.C. § 1117(c) was in direct recognition of the fact that
case, and therefore warranted higher damages, (Defs. Brief           the calculation of the actual damages may be difficult, if not
Regarding Damages of August 6, 2004 at pg 2); (2) S & M              impossible, to determine. Louis Vuitton v. Veit, 211 F.Supp.2d
has not been a profitable enterprise and therefore any damage        567, 583 (E.D.Pa.2002) (citing S.Rep. No. 177, 104 Cong.
award would cause a hardship, (Id.); (3) the actual damage to        (1995)).
Lorillard was very small due to the small number of cartons
of counterfeit product purchased, (Id. at 4.); (4) despite the       The actual damages figure is also less relevant since part
jury's finding of willfulness, the evidence for willfulness was      of the purpose of statutory damages is to deter the current
not overwhelming, (Id.); (5) Lorillard shares some level of          violator and other potential future violators. Thus, the court
responsibility since it possessed specialized and sophisticated      believes that a damage award limited to Lorillard's lost profits
knowledge about how to identify counterfeit packages and             would have little to no deterrent effect on future violations. A
never shared this information with S & M, (Id. at 5); and, (6)       counterfeiter must fear more than just having to turn over his
the court should not be bound by the jury's findings. (Id. at 6)     ill gotten gains to the rightful owners. Instead, the counterfeit
                                                                     must understand that he risks his financial future by engaging
This court concludes that the appropriate damage award in            in his illegal practice. As the Seventh Circuit has held, “one
this case is $50,000 per infringed mark for a total statutory        who undertakes a course of infringing conduct may neither
damages award of $250,000. This amount is appropriate due            sneer in the face of the [trademark] owner nor hide its head
to the value of the trademarks, the conduct by S & M, and            in the sand like an ostrich.” Wildlife Express Corp. v. Carol
the need to deter future conduct by S & M and other potential        Wright Sales, Inc., 18 F.3d 502, 514 (7th Cir.1994) (citations
counterfeiters. Furthermore, this court notes that an award of       omitted).
$250,000 is reasonable and fair in light of the range of awards
provided by other courts awarding damages under 15 U.S.C.            Furthermore, deterring S & M along with potential future
          2
§ 1117(c), and that the total potential award could have been        trademark infringers is an important consideration in light
as high as $5,000,000 due to the maximum statutory award of          of the fact that counterfeiters often times produces lower
$1,000,000 for each willfully infringed trademark.                   quality products than the original. Lorillard properly notes
                                                                     that infringement deprives the rightful owner of profits and
The five trademarks infringed by S & M are of considerable           reduces the value of its brands. But an additional concern,
worth and value. Lorillard has taken considerable action             above and beyond the financial harm, is that counterfeit
to cultivate, maintain and strengthen these trademarks               consumer products can also potentially pose the risk of being
including: (1) registering the trademarks with the United            more harmful or dangerous then the real product. The House
States Patent and Trademark Office, (Uncontested Facts at            of Representatives in its report on the Anticounterfeiting
¶ 8); (2) manufacturing the Newport product through strict           Consumer Protection Act of 1996, Pub.L. No. 104–153,
quality control standards, (Id. at ¶ 5); (3) investing substantial   § 7, 110 Stat. 1368, noted, “even more grievous than the
time, energy and money in advertising and promoting the              enormous economic losses suffered by American companies
Newport product (Id. at ¶ 6); (4) training its sales personnel to    are the serious health and safety hazards caused by criminal
be aware of counterfeit products so, like in this case, they can     counterfeiting.” H. Rep. No. 556, 104 Cong. (1996).
identify and report suspicious items, (Trial Tr. at pg 33.); and,
(5) protecting the value of its trademarks by litigating against     The court is not entering into a discussion of the general health
trademark infringers.                                                effects of cigarettes or whether the counterfeit cigarettes
                                                                     sold by S & M were more harmful than the authentic
 *6 Congress has provided the option of statutory damages            Newport product. Instead, the court is noting that there was
under 15 U.S.C. § 1117(c) and Lorillard has elected to               no proof presented by the parties that the counterfeit Newport
pursue that remedy. Consequently, the significant value of           products are subject to any type of safety review or quality
Lorillard's brand and the efforts taken to protect, promote          control process when manufactured by someone other than
and enhance that brand should be considered by the court             Lorillard. Cigarettes are consumer products and the retail
in the determination of the appropriate dollar figure for the        establishments that sell cigarettes often sell other consumer
award. Furthermore, the actual damages incurred by Lorillard         products such as food, beverages, over-the-counter medicines
are of lesser concern in determining a proper damage award           and cosmetics. S & M sells food and beverages as well as



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cigarettes. (Uncontested Facts at ¶ 3.) The statutory damage           Fifty Thousand Dollars ($250,000). This amount is within
award will deter S & M and other retail establishments                 the range authorized by Congress under the statute and is
from purchasing counterfeit consumer products, and this in             appropriate in light of the evidence presented at trial.
turn will help to reduce the probability that consumers will
purchase counterfeit products that may be more dangerous
than the authentic items.                                                 C. Award of costs and reasonable attorneys' fees pursuant
                                                                          to 15 U.S.C. § 1117(b) and Rule 54(d)(1)
 *7 The court's belief that a $250,000 award is fully                  Lorillard seeks an award of $140,000 for costs and reasonable
supported by its concurrence with the jury's determination             attorneys' fees. As the prevailing party, Lorillard is entitled
of S & M's willful infringement. A finding of willful                  to its costs other than attorneys' fees as a matter of course
infringement allows the court to award the maximum                     pursuant to Rule 54(d)(1). Fed.R.Civ.P. 54(d)(1). “The court
statutory damage amount, if appropriate under the                      in exceptional cases may award reasonable attorney fees to
circumstances of the case, of $1,000,000 per infringed mark,           the prevailing party.” 15 U.S.C. § 1117(a). Exceptional cases
15 U.S.C. § 1117(c), for a total potential award in this case          allowing for an award of attorneys' fees include “acts of
of $5,000,000.                                                         infringement [that] are ‘malicious, fraudulent, deliberate or
                                                                       willful.” ’ BASF Corp. v. Old World Trading Co., Inc., 41 F.3d
“Willful infringement may be attributed to the defendant's             1081, 1099 (7th Cir.1994) (quoting Roulo v. Russ Berrie &
actions where he had knowledge that his conduct constituted            Co., Inc., 886 F.2d 931, 942 (7th Cir.1989)).
infringement or where he showed a reckless disregard for the
owner's rights. Thus, knowledge need not be proved directly,            *8 An award of reasonable attorneys's fees under 15 U.S.C.
but can be inferred from a defendant's conduct.” Logical               § 1117(a) is appropriate in light of the jury's determination,
Choice Computers, Inc., No. 99 C 1300, 2001 WL 58950, at               and the court's concurrence in that determination, of willful
*11 (citing Wildlife Express Corp., 18 F.3d at 511). Willful           infringement by S & M. The parties must comply with the
infringement may be shown by the fact that the “defendant              Local Rule 54.3, before the court can determine the amount
ignored the plaintiff's notices ..., did not seek advice of an         of fees and costs which reasonably should be awarded.
attorney, and passed the matter off as a nuisance.” Wildlife
Express Corp., 18 F.3d at 511.
                                                                          D. Permanent Injunction Barring S & M from Selling,
                                                                          Offering for Sale or Distributing Counterfeit Cigarettes
Several facts support the jury's determination of willfulness.
                                                                       Lorillard seeks a permanent injunction to bar S & M from
S & M purchased the counterfeit cigarettes at a price below
                                                                       selling, offering for sale or distributing counterfeit cigarettes.
the market price. Khawam testified that S & M obtained the
                                                                       This court has power to enter such an injunction, “according
counterfeit cigarettes at a price of $34 per carton instead of the
                                                                       to the principles of equity and upon such terms as the court
normal rate of $40 per carton. (Trial Tr. 155, 161.) Khawam
                                                                       may deem reasonable, to prevent the violation of any right of
admitted during his testimony that price was low enough to
                                                                       the registrant of a mark registered in the Patent and Trademark
make him inspect the tax stamps and the name brands on a
                                                                       Office.” 15 U.S.C. § 1116(a). This court grants the injunction,
sample of the cartons he purchased for Cam–Kat. (Trial Tr.
                                                                       as detailed below, in the “Conclusion” section of this opinion.
160.)

Additionally evidence is that packaging for the counterfeit              E. Lorillard's Motion to Amend the Pleadings to Conform
cigarettes, including the outer boxes, was different from the            to the Evidence Presented at Trial
packaging used for authentic Newport cigarettes. (Trial Ex.            Lorillard moves to amend the pleadings to add
30—32c.) Alkawham, when questioned about the differences               Safwan Alkhawan, (“Alkhawam”), and Marwan Khawam
in the packaging during his testimony, responded, “it's not my         (“Khawam”) as individually liable defendants in order to
business to find out if they're counterfeit or not.” (Trial Tr. 91.)   conform the pleadings to the evidence presented at trial
                                                                       pursuant to Rule 15(b). Alkhawan is the owner of S &
In light of the reasons set forth above, this court awards             M. (Trial at pg. 58.) Alkhawan handles S & M's financial
to Lorillard, pursuant to 15 U.S.C. § 1117(c), statutory               activities including its bank accounts, the paying of bills
damages of Fifty Thousand Dollars ($50,000) per infringed              and the writing of checks. (Trial Tr. pg 60.) Alkhawan has
mark for a total statutory damage award of Two Hundred



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employed his brother Khawam to run the gas station on a daily       Crestview Vill. Apartments v. United States Dep't of Hous.
basis for the past ten years. (Id.)                                 and Urban Dev., 383 F.3d 552, -, No. 03–3063, 2004 WL
                                                                    1965663, at *5 (7th Cir. Sept. 2, 2004) (citing Perkins v.
As a general rule, corporate officers cannot be held personally     Silverstein, 939 F.2d 463, 471–72 (7th Cir.1991)). Lorillard
liable for infringing actions taken by the corporation. Drink       provides no reason for its failure to name Alkhawan and
Group, Inc. v. Gulfstream Communications, 7 F.Supp.2d               Khawam as individual defendants before the trial. Lorillard
1009, 1010 (N.D.Ill.1998) (citing Dangler v. Imperial               was aware of Alkhawan and Khawam existence and their
Mach. Co., 11 F.2d 945, 947 (7th Cir.1926)). However,               roles in the counterfeiting before the trial. Alkhawan was
this court has recognized that an individual may be held            present for this trial, however, his presence was in his capacity
liable for a corporation's infringement under the theory            as the owner of S & M. Whether he and Khawam would have
of vicarious liability or contributory liability. Microsoft         dealt with this case in the same way as S & M, if they were
Corp. v. V3 Solutions, Inc., No. 01 C 4693, 2003                    facing personal liability and a possible judgment against them
WL 22038593, at *13 (N.D.Ill. Aug. 28, 2003) (citing                as individuals, is a matter of speculation. The only way to
Gershwin Publ'g Corp. v. Columbia Artists Mgmt., 443                know would be to retry the case and the court is unwilling
F.2d 1159 (2d Cir.1971)). “Personal liability for trademark         at this point to impose to undertake that burden especially
infringement ... is established if a corporate officer is           when Lorillard could have named Alkhawan and Khawam
a moving, active, conscious force behind the defendant              as defendants much earlier in the litigation. Consequently,
corporation's infringement.” Dynamic Force v. Dynamic               the court denies Lorillard's motion to amend the pleadings to
Force, Ltd., No. 98 C 5922, 1999 WL 342407, at *4 (N.D.Ill.         conform to the evidence presented at trial.
May 14, 1999).

The factual situation in the present case is different from
                                                                    CONCLUSION
the situation in the V3 Solutions and Dynamic Force cases.
In those cases, the individual corporate officer had been           For the reasons set forth above, this court order judgment to
named as a defendant in the original complaint filed with           Plaintiff Lorillard Tobacco Company of statutory damages of
the court. Thus, the question was whether it was appropriate        Fifty Thousand Dollars ($50,000) per infringed mark for a
to find personal liability or only limit liability to the named     total statutory damage award, pursuant to 15 U.S.C. § 1117(c),
corporation. However, in the present case, Alkhawan and             of Two Hundred and Fifty Thousand Dollars ($250,000)
Khawam have never been named as defendants in the case.             from Defendant S & M Central Service Corporation. This
Service of process was only effectuated on S & M, not on            court also finds that Lorillard Tobacco Company is entitled
Alkhawan or Khawam. (Dkt. No. 14.) The U.S. Marshall's              to receive reasonable costs and attorneys' fees from S & M
served Khawam in person on July 18, 2003, however,                  Central Service Corporation, pursuant to 15 U.S.C. § 1117(b),
Khawam was served in his role as an employee of S & M and           but the parties must comply with the requirements of Local
not in his capacity as an individual. (Dkt. No. 13.)                Rule 54.3 as follows: Lorillard must provide S & M with its
                                                                    54.3 material by November 12, 2004 and S & M must provide
 *9 This court does have the ability under Rule 15 to add           Lorillard with its 54.3 material by November 23, 2004.
new defendants after trial and judgment has been entered.           The parties should then attempt to resolve any remaining
However, as the Supreme Court held in Nelson v. Adams, that         disputes over attorneys' fees and costs. If an agreement cannot
if the court adds a new party to the litigation, due process        be reached, Lorillard's further petition for fees and costs,
requires that the new party is given an opportunity to respond      including the joint statement under 54.3(e), is due no later
and contest his personal liability. 529 U.S. 460, 463 (2000).       than December 6, 2004. Response is due December 17, 2004
Thus, this court, although it has the power to add Alkhawan         and the reply is December 28, 2004.
and Khawam, cannot immediately award judgment against
them in favor of Lorillard. Instead, if this court decides to add   This court denies Lorillard's Motion to Amend the Pleadings
Alkhawan and Khawam, it must give them the opportunity to           to Conform to the Evidence and denies Lorillard's August 16,
respond.                                                            2004 Motion to Strike S & M's Brief on Damages.

Furthermore, although Rule 15 provides a liberal policy for          *10 The court orders the clerk of this court to release
amending pleadings, the right to amend is not absolute. See         the five hundred dollar ($500) bond posted by Lorillard



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Tobacco Company at the commencement of this action on                  (vi) discussing or communicating any aspect of the seizure
July 18, 2003, plus interest, be immediately released to Martin        of counterfeit cigarettes or the identifying markers of
Kedziora or Thomas Kost in a check payable to Greenberg                counterfeit cigarettes with any person or entity selling or
Traurig, LLP.                                                          attempting to sell cigarettes to Defendants;

Furthermore, it is therefore ordered that defendant S &                (vii) assisting, aiding, or abetting any other person or
M Central Service Corporation, and their agents, servants,             business entity in engaging in or performing any of the
employees, attorneys, and those personal or entities in                activities referred to in the above paragraphs (i) through
active concert or participating with them who receive actual           (vi); and (viii) other than by an order of this Court,
notice of this order by personal service or otherwise, are
permanently enjoined from doing, or assisting others in doing,           (1) selling, moving, destroying, or otherwise disposing
the following acts:                                                      of any goods, boxes, labels, packaging or other items
                                                                         or documents bearing any reproduction, counterfeit, or
    (i) using any reproduction, counterfeit, copy, or colorable          imitation of the Lorillard Marks, which such use is likely
    imitation of the Lorillard Marks in connection with the              to cause confusion, or to cause mistake, or to deceive;
    importation, sale, offering for sale, or distribution of
    cigarettes in the United States, which cigarettes in fact are        (2) moving, destroying, or otherwise disposing of any
    not connected with Lorillard or are not genuine Lorillard            business records or documents relating in any way
    products, which such use is likely to cause confusion, or to         to the manufacture, importation, acquisition, purchase,
    cause mistake, or to deceive;                                        distribution, or sale of goods or merchandise bearing any
                                                                         of the Lorillard Marks or any reproduction, counterfeit,
    (ii) using the Lorillard Marks or any reproduction,                  or imitation of the Lorillard Marks, which such use is
    counterfeit, copy, or colorable imitation of the same in any         likely to cause confusion, or to cause mistake, or to
    manner likely to cause others to believe that Defendants'            deceive; or
    products are connected with Lorillard or are genuine
    Lorillard products if they are not, which such use is likely          *11 (3) assisting any third party in identifying, moving,
    to cause confusion, or to cause mistake, or to deceive;              destroying, or otherwise disposing of any reproduction,
                                                                         counterfeit or imitation goods, as well as any records
    (iii) passing off, inducing, or enabling others to sell or           pertaining to reproduction, counterfeit or imitation
    pass off any merchandise which is not genuine Lorillard              goods, which such use is likely to cause confusion, or to
    merchandise as and for genuine Lorillard merchandise;                cause mistake, or to deceive.

    (iv) committing any other acts reasonably calculated to         S & M Central Service Corporation and their agents, servants,
    cause purchasers to believe that Defendant's products are
                                                                    employees, attorneys, and those personal or entities in active
    Lorillard's products, when in fact such products are not        concert or participating with them who receive actual notice
    Lorillard products;                                             of this order by personal service or otherwise is warned that
                                                                    any act by them in violation of any of the terms of this Order
    (v) importing, shipping, delivering, distributing, holding
                                                                    may be considered and prosecuted as contempt of this Court.
    for sale, returning, transferring, or otherwise moving or
    disposing of in any manner such cigarettes falsely bearing
    one or more of the Lorillard Marks or any reproduction,         All Citations
    counterfeit, copy, or colorable imitation of the same;
                                                                    Not Reported in F.Supp.2d, 2004 WL 2534378


Footnotes
1        Lorillard arrived at the $500,000 figure by requesting damages of one hundred thousand dollars, ($100,000), for each
         of the five infringed trademarks.
2        A figure of $50,000 per infringed mark for a total award of $250,000 is within the range of statutory awards made by other
         courts under 15 U.S.C. § 1117(c). See Philip Morris USA, Inc. v. Felizardo, No. 03 Civ. 5891, 2004 WL 1375277, at *7
         n.16 (S.D.N .Y. June 18, 2004) ($62,500 statutory damage award for two infringed trademarks when defendant attempted



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       to sell 7500 counterfeit cartons of cigarettes); Philip Morris USA, Inc. v. Castworld Prods., Inc., 219 F.R.D. 494, 501
       (C.D.Cal.2003) ( $2,000,000 statutory damage award for two infringed trademarks when defendant imported 8,000,000
       counterfeit cigarettes); see e.g., Silhouette Int'l Schmied v. Chakhbazian, No. 04 Civ. 3613, at *2 (S.D.N.Y Oct. 4, 2004)
       ($250,000 statutory damage award for infringement of multiple eyewear trademarks); Microsoft Corp v. V3 Solutions, Inc.,
       No. 01 C 4693, 2003 WL 22038593, at *16 (N.D.Ill. Aug. 28, 2003) ($35,000 statutory damage award for seven infringed
       Microsoft software trademarks); Microsoft Corp. v. Logical Choice Computers, Inc., No. 99 C 1300, 2001 WL 58950, at
       *11 (N.D.Ill. Jan. 22, 2001) ($1,400,000 statutory damage for the infringement of seven Microsoft software trademarks).


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                                                                  Luxottica is the exclusive wholesale distributor of genuine
                                                                  Ray–Ban products in the United States and holds the
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                                                                  exclusive right to enforce RAY–BAN trademarks within the
    Only the Westlaw citation is currently available.
                                                                  United States. (Joint Stmt. of Stipulated Facts, ECF No. 75,
             United States District Court,
                                                                  ¶ 1.) RAY–BAN marks have been used continuously and
            N.D. Illinois, Eastern Division.
                                                                  exclusively by Luxottica and its predecessors since as early
                                                                  as 1937. (Id. ¶ 3.) Luxottica has protected the value of the
         LUXOTTICA USA LLC, Plaintiff,
                                                                  Ray–Band brand by registering the following trademarks with
                    v.                                            the United States Patent and Trademark Office: Reg. No.
            THE PARTNERSHIPS                                      1,080,886, Reg. No. 1,320,460, Reg. No. 3,522,603. (Id. ¶ 1.)
          AND UNINCORPORATED
                                                                  Defendant stipulates that up until November 2014, it sold and
         ASSOCIATIONS IDENTIFIED                                  offered for sale knockoff products featuring counterfeit RAY–
        ON SCHEDULE “A”, Defendants.                              BAN trademarks via online marketplace accounts associated
                                                                  with the eBay seller IDs “g7178a” and “qhgypchyh2.” (Id.
                     Case No. 14 c 9061                           ¶¶ 5– 8.) (The introductory paragraph of the parties' joint
                             |                                    statement of stipulated facts refers to the seller IDs as “g7178”
                    Signed June 18, 2015                          and “qhgypchyh.”) Defendant has stipulated to owning the
                                                                  online marketplace accounts associated with these seller IDs,
Attorneys and Law Firms                                           as well as seven PayPal accounts associated with various
                                                                  email addresses. (Id. ¶ 4.) Defendant sold at least 106
Kevin W. Guynn, Amy Crout Ziegler, Jessica Lea Bloodgood,
                                                                  counterfeit Ray–Ban products at prices ranging from $6.29 to
Paul G. Juettner, Justin R. Gaudio, Greer, Burns & Crain, Ltd.,
                                                                  $6.99 each. (Id. ¶ 5.)
Chicago, IL, for Plaintiff.

Lingzhi Zhao, Zhao & Associates, P.C., Michael J. Robins,
Robins & Associates LLC, Chicago, IL, for Defendants.             II. ANALYSIS

                                                                  Luxottica requests that this Court (1) enter summary
MEMORANDUM OPINION AND ORDER                                      judgment in its favor on the two claims asserted against
                                                                  Defendant, (2) award statutory damages of $450,000 pursuant
Harry D. Leinenweber, Judge, United States District Court         to 15 U.S.C. § 1117(c), (3) enter a permanent injunction
                                                                  against Defendant and transfer to Luxottica all assets
 *1 This case arises from the unauthorized sale of counterfeit
                                                                  currently restrained in PayPal accounts that are connected to
Ray–Ban eyewear through various online seller accounts.
                                                                  Defendant, and (4) award attorneys' fees and costs pursuant
Default judgment has been entered against most Defendants,
                                                                  to 15 U.S.C. § 1117(a)–(b).
while others have been voluntarily dismissed. A single
Defendant (“Defendant”), who has been identified by two
eBay seller IDs, remains.
                                                                  A. Summary Judgment
Before the Court is Plaintiff Luxottica USA LLC's
                                                                  Luxottica argues that it is entitled to summary judgment on
(“Luxottica”) Motion for Summary Judgment, Statutory
                                                                  its claims for false designation of origin under the Lanham
Damages of $450,000, Permanent Injunction, and Attorneys'
                                                                  Act, 15 U.S.C. § 1125(a), and violation of the Illinois
Fees and Costs [ECF No. 77]. For the reasons stated herein,
                                                                  Uniform Deceptive Trade Practices Act, 815 ILCS § 510,
Luxottica's Motion is granted, except that the Court awards
                                                                  et seq. Summary judgment is appropriate when “there is no
statutory damages in the amount of $150,000.
                                                                  genuine dispute as to any material fact and the movant is
                                                                  entitled to judgment as a matter of law.” Fed. R. Civ. P.
                                                                  56(a). Defendant has already admitted liability on the above-
I. BACKGROUND                                                     mentioned counts in a Joint Statement of Stipulated Facts
                                                                  filed with the Court on April 7, 2015. (ECF No. 75 ¶¶ 6–


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8 (“Defendant knowingly and willfully offered for sale and           quotations omitted). Courts have also considered the value of
sold at least one hundred six (106) Counterfeit Ray–Ban              a plaintiff's brand, “and the efforts taken to protect, promote,
Products.... Defendant admits liability for false designation        and enhance that brand.” Lorillard, 2004 WL 2534378,
of origin using counterfeit trademarks and violation of the          at *6. Ultimately, § 1117(c) looks to both “compensatory
Illinois Uniform Deceptive Trade Practices Act.”).) Summary          considerations” such as “actual losses and trademark value,”
judgment is therefore entered in favor of Luxottica.                 as well as “punitive considerations” such as “deterrence of
                                                                     other infringers and redress of wrongful defense conduct.”
                                                                     Sara Lee, 36 F.Supp.2d at 165; see also, Sands, Taylor &
                                                                     Wood v. Quaker Oats Co., 34 F.3d 1340, 1347 (7th Cir.1994)
B. Statutory Damages
                                                                     (noting that statutory damages under § 1117(c) are not merely
 *2 Luxottica seeks a total damages award of $450,000 —              remedial but serve an important public interest), modified on
$150,000 for each of the three trademarks that Defendant used        reh'g in part, 44 F.3d 579 (7th Cir.1995).
on the counterfeit products. Defendant argues that statutory
damages of no more than $7,440 are appropriate because it            The Court turns first to compensatory considerations.
generated only $800 in total revenue from the sale of the            Although there is “no necessary mathematical relationship
counterfeit goods, and only a fraction of that amount within         between the size of [a statutory damages award] and the
the United States.                                                   extent or profitability of the defendant's wrongful activities,”
                                                                     Sara Lee, 36 F.Supp.2d at 165, statutory damages must
Under 15 U.S.C. § 1117(c), a plaintiff in a case involving           “bear some relation” to actual damages, Coach, Inc. v. Tom's
the use of a counterfeit mark may elect to recover an award          Treasure Chest, No. 2:10–CV–00243, 2011 WL 4399355,
of statutory damages of “not less than $1,000 or more than           at *3 (N.D.Ind. Sept. 21, 2011) (citation and internal
$200,000 per counterfeit mark per type of goods or services          quotations omitted). Courts may look to the size and scope
sold, offered for sale, or distributed” or, in the case of willful   of a defendant's operations to determine a baseline for
infringement, “not more than $2,000,000 per counterfeit mark         damages. Id. High statutory damages may be appropriate
per type of goods or services sold, offered for sale, or             when counterfeiting activities take place online and are
distributed.” Although the Lanham Act permits a plaintiff to         capable of reaching a wide audience. Id.
choose either actual or statutory damages, statutory damages
are “most appropriate” when an infringer's nondisclosure              *3 Here, Defendant argues that “the parties have a complete
makes actual damages uncertain. Sara Lee Corp. v. Bags of            record of all the sales of the accused products”—namely,
N.Y., Inc., 36 F.Supp.2d 161, 165 (S.D.N.Y.1999).                    PayPal records documenting Defendant's sales, which totaled
                                                                     approximately $800 worldwide and $372 in the United
Though § 1117(c) places a dollar range on possible statutory         States. (Def.'s Resp., ECF No. 82, at 11.) Plaintiff counters
damages awards, the statute provides no guidance on how              that Defendant's evidence—which was submitted without a
to select a figure within that range. Lorillard Tobacco Co.          declaration—is unauthenticated and contains contradictory
v. S & M Cent. Serv. Corp., No. 03 C 4986, 2004 WL                   information. For instance, the figures displayed on the
2534378, at *4 (N.D.Ill. Nov. 8, 2004). Accordingly, “[c]ourts       webpages for Defendant's eBay storefronts indicate that
interpreting section 1117(c) have looked by analogy to case          Defendant sold more than 200 pairs of sunglasses, (see,
law applying the statutory damage provision of the Copyright         Ex. 2 to Joint Stmt. of Stipulated Facts, ECF No. 75–
Act contained in 17 U.S.C. § 504(c).” Id.                            2), but the PayPal figures Defendant submits show only
                                                                     106 pairs of sunglasses sold. (Def.'s Resp., ECF No. 82,
The Seventh Circuit's standard for the award of statutory            at 5.) While the parties dispute the exact sales figures, no
damages in copyright infringement cases is set forth in              evidence submitted suggests that Defendant is a large-scale
Chi–Boy Music v. Charlie Club, Inc., 930 F.2d 1224, 1229             counterfeiter. For instance, all seven PayPal accounts that
(7th Cir.1991). Under Chi–Boy, “district courts enjoy wide           have been “connected” to Defendant contain only $75,000.
discretion in awarding fees and may consider various factors         (See, id. at 2–3.)
such as [1] the difficulty or impossibility of proving actual
damages, [2] the circumstances of the infringement, and              On the other hand, Defendant's counterfeiting took place on
[3] the efficacy of the damages as a deterrent to future             the Internet, enabling Defendant to reach a “vast customer
copyright infringement.” Id. at 1229–30 (citation and internal       base,” Burberry Ltd. & Burberry USA v. Designers Imports,



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Inc., No. 07 CIV. 3997(PAC), 2010 WL 199906, at *10
(S.D.N.Y. Jan. 19, 2010), and making Luxottica's actual losses
                                                                  C. Permanent Injunction
difficult to calculate, Brown v. Walker, No. 1:06–CV–218,
2010 WL 2346242, at *7 (N.D.Ind. May 25, 2010), report and        Luxottica seeks permanent injunctive relief pursuant to 15
recommendation adopted as modified, No. 1:06–CV–218–              U.S.C. § 1116(a), which enables district courts to grant
TLS, 2010 WL 2346225 (N.D. Ind. June 9, 2010). In cases           injunctions, “according to the principles of equity and
involving the online sale of counterfeit goods, courts have       upon such terms as the court may deem reasonable.” A
found substantial damages awards appropriate. See, e.g., id.      plaintiff seeking a permanent injunction must demonstrate the
(awarding $50,000 per mark); Burberry, 2010 WL 199906, at         following:
*10 (awarding $100,000 per mark); Deckers Outdoor Corp.
v. Does 1–55, No. 11 C 10, 2011 WL 4929036, at *5 (N.D.Ill.          (1) that it has suffered an irreparable injury; (2) that
Oct. 14, 2011) (awarding $750,000 per mark). In this case,           remedies available at law, such as monetary damages,
the Court has already awarded damages of $2 million against          are inadequate to compensate for that injury; (3) that,
each defaulting Defendant. (See, ECF No. 65 ¶ 4.)                    considering the balance of hardships between the plaintiff
                                                                     and defendant, a remedy in equity is warranted; and (4) that
In addition, the RAY–BAN marks are well known and highly             the public interest would not be disserved by a permanent
valuable. As noted, Luxottica and its predecessors have used         injunction.
the RAY–BAN marks continuously and exclusively since               *4 eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391
as early as 1937, and the marks at issue in this lawsuit          (2006); accord e360 Insight v. The Spamhaus Project, 500
are all federally registered. Luxottica submits that it has       F.3d 594, 604 (7th Cir.2007).
expended significant resources in promoting the Ray–Ban
brand, making Ray–Ban the “undisputed world leader in the         The Seventh Circuit has “clearly and repeatedly held that
field of sun and prescription eyewear.” (Pl.'s Mem., ECF No.      damage to a trademark holder's goodwill can constitute
78, at 10.) Luxottica has also filed numerous lawsuits within     irreparable injury for which the trademark owner has
this District in an effort to protect the RAY–BAN marks and       no adequate legal remedy.” Re/Max N. Cent., Inc. v.
their associated goodwill. (See, id. at 11 n.6.)                  Cook, 272 F.3d 424, 432 (7th Cir.2001). As this Court
                                                                  recognized in granting Luxottica's Motion for a Temporary
The Court now turns to punitive considerations. “[P]art of        Restraining Order and Preliminary Injunction, counterfeiting
the purpose of statutory damages is to deter the current          has eroded consumer goodwill in the RAY–BAN trademarks
violator and other potential future violators.” Lorillard, 2004   and constitutes irreparable harm for which there is no
WL 2534378, at *6. Damages awards limited to lost profits         adequate remedy at law. Further, because Defendant's conduct
are typically ineffective deterrents because “[a] counterfeiter   was willful, the balance of hardships favors Luxottica.
must fear more than just having to turn over his ill-gotten       See, Bulgari, S.p.A. v. Partnerships & Unincorporated
gains to the rightful owners.” Id. Here, Defendant has            Associations Identified On Schedule “A”, No. 14–CV–4819,
stipulated that it engaged in willful infringement. However,      2014 WL 3749132, at *6 (N.D.Ill. July 18, 2014), report
Defendant has also mitigated the degree of willfulness by         and recommendation adopted, No. 14 CV 4819, 2014 WL
ceasing the sale of the counterfeit products immediately,         3765854 (N.D.Ill. July 29, 2014). The public interest also
retaining an attorney, and voluntarily providing information      favors Luxottica, because “enforcement of the trademark
to Luxottica.                                                     laws prevents consumer confusion,” Eli Lilly & Co. v.
                                                                  Natural Answers, Inc., 233 F.3d 456, 469 (7th Cir.2000), and
Because this is not a case of default, and based on               consumers have a legitimate “interest in knowing with whom
the mitigating factors identified above, the Court finds it       they do business.” Re/Max N. Cent., 272 F.3d at 433.
appropriate to reduce the statutory damages Luxottica seeks
by two-thirds. Pursuant to 15 U.S.C. § 1117(c), the Court         As part of the injunction, Luxottica seeks the immediate
awards Luxottica statutory damages in the amount of $50,000       transfer of “all assets in financial accounts operated by
per mark, for a total award of $150,000.                          PayPal, Inc. and linked to Defendant, as well as any newly
                                                                  discovered assets, to Luxottica.” (Pl.'s Mem., ECF No.
                                                                  78, at 12.) In granting Luxottica's Motion for Preliminary
                                                                  Injunction, the Court previously froze assets held in accounts



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“connected” to Defendant on the basis that Luxottica sought        evidence was not accompanied by a declaration, that the
an accounting of profits as an alternative to statutory damages.   transaction spreadsheet does not identify the quantity of
See, CSC Holdings, Inc. v. Redisi, 309 F.3d 988, 996 (7th          glasses sold, and that Defendant's sales figures contradict
Cir.2002) (upholding asset freeze where plaintiff sought           information displayed on the eBay storefronts. Despite
accounting in the alternative to statutory damages). Now,          Defendant's contention that it is unconnected to five of the
relying on the PayPal records, Defendant argues that the asset     seven PayPal accounts, Defendant has admitted to owning the
freeze is too broad, sweeping up accounts “wholly unrelated        PayPal accounts associated with the email addresses shown
to the accused products.” (Def.'s Resp., ECF No. 82, at 8.)        in the account summaries. (Joint Stmt. of Stipulated Facts,
Defendant urges the Court to scale back the asset freeze           ECF No. 75, ¶ 5.) Luxottica submits that the restraint on
to $7,440, an amount it contends is “more than adequate            these accounts “was based on PayPal, Inc.'s ... determination
to satisfy the Court's interests in preserving any equitable       through PayPal's proprietary methods, which have not been
accounting of profits.” (Id. at 10.)                               disclosed to Luxottica or Luxottica's counsel.” (Gaudio Decl,
                                                                   Ex. 1 to Pl.'s Reply, ECF No. 84–1, ¶ 2.)
In arguing that the asset restraint should be modified,
Defendant relies on Klipsch. In Klipsch, after a preliminary       The Court cannot conclude, based on the evidence before it,
injunction hearing in which a defendant submitted evidence         that Defendant has met its burden in showing that the asset
that it had only sold a few thousand dollars' worth of             restraint should be limited to only a portion of two of the seven
counterfeit goods, a court reduced a prejudgment asset             PayPal accounts and declines to modify the asset restraint on
restraint from $2 million to $20,000. Klipsch Grp., Inc. v. Big    this basis.
Box Store Ltd., No. 12 CIV. 6283 AJN, 2012 WL 5265727,
at *3 (S.D.N.Y. Oct. 24, 2012). The court held that, under the
Supreme Court's ruling in Grupo Mexicano de Desarrollo,
                                                                   D. Attorneys' Fees and Costs
S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308 (1999), asset
freezes are limited to preserving the equitable remedy of an       Finally, Luxottica seeks an award of attorneys' fees and
accounting for profits. Klipsch, 2012 WL 5265727, at *3.           costs. As the prevailing party, Luxottica is entitled to costs
                                                                   under Federal Rule of Civil Procedure 54(d)(1). Under 15
 *5 To exempt assets from an asset freeze, “[t]he burden           U.S.C. § 1117(a), which addresses recovery in terms of
is on the party seeking relief to present documentary proof        profits and actual damages, a court may, “in exceptional
that particular assets [are] not the proceeds of counterfeiting    cases ... award reasonable attorney fees to the prevailing
activities.” N. Face Apparel Corp. v. TC Fashions, Inc., No.       party.” Exceptional cases include those in which a defendant's
05 CIV. 9083(RMB), 2006 WL 838993, at *3 (S.D.N.Y.                 conduct is willful. BASF Corp. v. Old World Trading Co.,
Mar. 30, 2006) (citation and internal quotations omitted).         41 F.3d 1081, 1099 (7th Cir.1994). In assessing damages
Defendant claims that only two of Defendant's seven PayPal         under § 1117(a), courts “shall” award attorneys' fees, absent
accounts contain any profits related to the sale of counterfeit    extenuating circumstances, in cases involving the intentional
Ray–Ban goods. In support of this argument, Defendant              use of a counterfeit mark. 15 U.S.C. § 1117(b). An award of
has submitted a spreadsheet of transactions associated             attorneys' fees is available where, as here, a plaintiff “opt[s]
with one of Defendant's email addresses, as well as an             to receive statutory damages under section 1117(c).” Louis
untranslated Chinese email. (See, Exs. K & L to Def.'s Resp.,      Vuitton Malletier S.A. v. LY USA, Inc., 676 F.3d 83, 111
ECF No. 82–1.) To rule out the five remaining accounts,            (2d Cir.2012); accord Coach, Inc. v. Treasure Box, Inc., No.
Defendant has submitted PayPal account summaries it claims         3:11CV468–PPS, 2014 WL 888902, at *5 (N.D.Ind. Mar.
show no connection to the eBay Seller IDs “g7178a” and             6, 2014). Accordingly, and in light of Defendant's willful
“qhgypchyh2.” (See, Exs. C–I to Def.'s Resp., ECF No. 82–1.)       counterfeiting, Luxottica is awarded reasonable attorneys'
Defendant has also provided several hundred pages of eBay          fees and costs in an amount to be determined by the Court.
feedback ratings associated with the two seller IDs, showing
that it sold a variety of products in addition to sunglasses.
(See, Ex. N to Def.'s Resp., ECF No. 82–1.)
                                                                   III. CONCLUSION
Luxottica, however, disputes the authenticity and validity
of this evidence. For instance, Luxottica notes that the



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                                                                this opinion. The parties are to attempt to reach an agreement
For the reasons stated herein, Luxottica's Motion for
                                                                on the issue of attorneys' fees in accordance with Local Rule
Summary Judgment and Statutory Damages is granted in part
                                                                54.3. If an agreement cannot be reached, Luxottica is to file a
and denied in part.
                                                                Motion for Attorneys' Fees within thirty (30) days of the entry
                                                                of this Order.
The Court enters summary judgment in favor of Luxottica and
against Defendant. Pursuant to 15 U.S.C. § 1117(c), the Court
awards Luxottica $150,000 in statutory damages. The Court       *6 IT IS SO ORDERED.
also awards Luxottica reasonable attorneys' fees and costs,
and will enter a permanent injunction prohibiting Defendant     All Citations
from violating Luxottica's rights in the RAY–BAN marks.
                                                                Not Reported in Fed. Supp., 2015 WL 3818622
Within seven (7) days of the entry of this order, Luxottica
shall submit a revised Final Judgment Order consistent with

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      KeyCite Yellow Flag - Negative Treatment
                                                                          MEMORANDUM OPINION AND ORDER
Distinguished by BBK Tobacco & Foods, LLP v. Galaxy VI Corp., S.D.N.Y.,
September 30, 2019
                                                                          SIFTON, Senior J.
                  2005 WL 2076921
    Only the Westlaw citation is currently available.                      *1 Plaintiff Philip Morris USA, Inc. (“Philip Morris”) brings
             United States District Court,                                this trademark action seeking damages and injunctive relief
                   E.D. New York.                                         against defendants Marboro Express, Tobacco Traders and
                                                                          Trust, Timothy Farnham, individually and doing business as
    PHILLIP MORRIS USA INC. Plaintiff,                                    “Tobacco Traders and Trust” and “Marlboroexpress.com,”
                     v.                                                   Don Doctor, individually and doing business as
                                                                          “Marlboroexpress.com” and “Nativeexpress.com,” Dennis
  MARLBORO EXPRESS, Tobacco Traders
                                                                          Kennedy, individually and doing business as “Double D
  and Trust, Timothy Farnham, individually                                Smoke Shop,” Don Deland, individually and doing business
   and doing business as Tobacco Traders                                  as “Sovereignty Ventures, Inc.,” Iroqois Tobacco Company,
                                                                          Scott Snyder, individually and doing business as “Iroqois
    and Trust and Marlboroexpress.com,
                                                                          Tobacco Company,” and Robert Berardelli.1 Plaintiff's claims
    Mary Kim Jamieson, individually and
                                                                          arise out of defendants' sale of counterfeit Marlboro®
    doing business as Tobacco Traders and                                 brand cigarettes. Specifically, plaintiff alleges the following
    Trust and Marlboroexpress.com, Native                                 claims against the defendants: (1) infringement of plaintiff's
                                                                          registered trademarks in violation of Section 32 of the
     Express, Don Doctor, individually and
                                                                          Lanham Act, 15 U.S.C. § 1114 (Claims 1-4); (2) importation
    doing business as Marlboroexpress.com                                 of counterfeit goods bearing an infringing trademark in
   and Nativeexpress.com, Dennis Kennedy,                                 violation of Section 42 of the Lanham Act, 15 U.S.C. §
                                                                          1124 (Claims 5-6); (3) false designation of origin in violation
      individually and doing business and
                                                                          of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)
      Double D Smoke Shop, Sovereignty                                    (Claims 7-8); (4) trademark dilution in violation of the
    Ventures, Inc., Don Deland, individually                              Federal Trademark Dilution Act, 15 U.S.C. §§ 1125(c) and
       and doing business as Sovereignty                                  1127 (Claims 9-10); (5) “cybersquatting” in violation of the
                                                                          Anti-Cybersquatting Consumer Protection Act, 15 U.S.C. §
        Ventures, Inc., Iroqouis Tobacco                                  1125(d) (Claim 11); (6) unfair competition in violation of
      Company, Scott Snyder, individually                                 the common law of New York (Claim 12); (7) trademark
    and doing business as Iroquois Tobacco                                infringement in violation of the common law of New York
                                                                          (Claim 13); and (8) trademark dilution in violation of New
    Company, Simon Moshel, an individual;
                                                                          York General Business Law § 360-1 et seq. (Claim 14).
     Michael Moshel, an individual, Robert
    Berardelli, an individual, and Does One                               Presently before the court are the following motions: (1)
                                                                          plaintiff's motion for partial summary judgment against
      Through Ten Inclusive Defendants.
                                                                          defendant Snyder on Claims 1,2, 5, and 7 alleged in the
                                                                          complaint, pursuant to Rule 56 of the Federal Rules of
                      No. CV-03-1161 (CPS).
                                                                          Civil Procedure (“Fed. R. Civ.P.”); and (2) plaintiff's motion
                                |
                                                                          for entry of default judgment and order granting damages
                          Aug. 26, 2005.
                                                                          and injunctive relief against defendants Berardelli, Deland,
Attorneys and Law Firms                                                   Farnham, Kennedy, and Doctor (collectively “Default
                                                                          Defendants”), pursuant to Fed.R.Civ.P. 55(b). The defendants
Samuel L. Barkin, Heller Ehrman LLP, New York, NY, for                    have not responded to plaintiff's motions.2 For the reasons set
Plaintiff.                                                                forth below, the motions are granted.




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                                                                Court for the Eastern District of New York against
BACKGROUND                                                      defendants Snyder, Deland, Farnham, Berardelli and others3
                                                                for conspiracy to smuggle and traffic in counterfeit goods,
The following facts are drawn from the pleadings,               in violation of 18 U.S.C. §§ 545 and 2320.4 (See
depositions, answers to interrogatories, and admissions on      Criminal Complaint, United States v. Moshel, et. al., 1:03-
file, together with the affidavits in connection with this      m-276 (E.D.N.Y.), Johnson Decl. Ex. B). On March 20,
motion. The facts are undisputed unless otherwise noted.        2003, defendants Snyder, Deland, Farnham, Berardelli were
                                                                indicted in the United States District Court for the Eastern
Plaintiff Phillip Morris is a corporation organized under the   District of New York on three counts of trafficking and
laws of Virginia with its principal place of business in New    conspiring to traffic counterfeit goods in violation of 18
York. For several decades, Phillip Morris has manufactured      U.S.C. §§ 545 and 2320. (See Indictment, Johnson Decl.
and sold tobacco products under the Marlboro® brand (Pl.        Ex. C). On September 30, 2003, defendant Farnham pled
56.1 Statement ¶ 1). Among the distinctive features of the      guilty before Magistrate Judge Cheryl Pollack to Count One
Marlboro® brand is its pack design, which features the          of the indictment which accused them of knowingly and
Marlboro Roof Design Label® Mark (a pentagonal figure           intentionally conspiring to traffic in counterfeit cigarettes.
with a horizontal top and two vertical sides with two           On October 1, 2003, defendants Snyder and Deland also
upwardly and inwardly sloping diagonals). Phillip Morris        pled guilty before Judge Raymond Dearie to Count One of
is the registered owner of the “Marlboro Marks” on the          the indictment. (See Johnson Decl. Ex. D; Barkin Decl. Ex.
Principal Register of the United States Patent and Trademark
                                                                7-8; Pl. 56.1 Statement ¶ 29).5 Defendant Berardelli pled
Office (“USPTO”). The “Marlboro Marks” include the
                                                                guilty to Count Two of the Indictment which accused him of
Roof Design Label® Mark, Marlboro®, Marlboro Lights®,
                                                                knowingly and intentionally trafficking in counterfeit goods
Marlboro Menthol®, Marlboro Lights Menthol®, Marlboro
                                                                in violation of 18 U.S.C. § 2320.
Ultra Lights®. (See Registration Certificates, Johnson Decl.
Ex. A). Phillip Morris has invested substantial time, effort,
                                                                Plaintiff commenced this action by filing a complaint
and money to advertise and promote the Marlboro Marks, and
                                                                and summons against the defendants on March 10, 2003
as a result, they are widely recognized trademarks for which
                                                                (the “Complaint”). Between March 2003 and June 2003,
significant “good will” has developed.
                                                                plaintiff served process upon each of the defendants. To
                                                                date, defendants Berardelli, Deland, Farnham, Kennedy, and
 *2 Between August 2000 and February 2003, defendants
Snyder, Deland, Farnham, and Berardelli, in conjunction         Doctor6 have not filed an answer or otherwise responded to
with others, imported approximately 200,000 cartons of          the Complaint. On May 11, 2005, the Clerk of this Court
counterfeit Marlboro® and Marlboro Lights® cigarettes from      issued a Notation of Default pursuant to Fed.R.Civ.P. 55(a)
China. (Pl. 56.1 ¶ 3; Johnson Dec. Ex. B). These cartons        against defendants Farnham, Doctor, Kennedy and Deland.7
were imported in at least five separate shipments, and were
monitored by the United States Customs Service after arrival
in the United States from China. (Pl. 56.1 ¶¶ 3-4; Johnson
                                                                DISCUSSION
Dec. Ex. B). Defendants sold counterfeit Marlboro brand
cigarettes at retail stores, including the “Double D Smoke
Shop,” located on the Seneca Indian Cattaraugus reservation     Jurisdiction
and the “Iroqious Tobacco Company,” located in Irving,
New York, and through various Internet websites, including      The Court has jurisdiction over this action pursuant to
“Marlboroexpress.com” and “Smokeheap.com.” (Pl. 56.1 ¶          15 U.S.C. § 1121 and 28 U.S.C. § 1338, which confers
5; Johnson Dec. Ex. C). Defendants purchased counterfeit        jurisdiction over actions involving violations of patents and
cigarettes at prices between $2.00 and $2.20 per carton and     trademarks, 28 U.S.C. § 1331, which authorizes jurisdiction
sold them at retail prices between $19.00 and $29.99 per        over civil actions arising under federal law, and principles of
carton. (Pl. 56.1 ¶ 6; Johnson Dec. Ex. H).                     pendant jurisdiction over the state law claims.


On February 14, 2003, the United States Customs Service
filed a criminal complaint in the United States District



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                                                                     1-800 BEARGRAM Co., 373 F.3d 241, 242 (2d Cir.2004)
                                                                     (“Even when a motion for summary judgment is unopposed,
Motion for Partial Summary Judgment
                                                                     the district court is not relieved of its duty to decide whether
                                                                     the movant is entitled to judgment as a matter of law.”).
Summary Judgment Standard

 *3 A motion for summary judgment may be granted only
where “the pleadings, depositions, answers to interrogatories,       Lanham Act
and admissions on file, together with affidavits, if any, show
                                                                     Plaintiff seeks summary judgment against defendant Snyder
that there is no genuine issue as to any material fact and
                                                                     on its First, Second, Fifth and Seventh Claims for relief, which
that the moving party is entitled to judgment as a matter of
                                                                     allege (1) trademark infringement in violation of Section
law.” Fed.R.Civ.P. 56(c); Celotex Corp. v. Catrett, 477 U.S.
                                                                     32 of the Lanham Act, (2) importation of goods bearing
317, 106 S.Ct. 2548, 91 L.Ed.2d 265 (1986). A motion for
                                                                     an infringing trademark in violation of Section 42 of the
summary judgment may be defeated by the non-moving party
                                                                     Lanham Act, and (3) false designation of origin and trademark
if that party produces sufficient specific facts to establish that
                                                                     and dress infringement in violation of Section 43(a) of the
there is a material issue of fact for trial. See Montana v. First
Federal Sav. & Loan Ass'n of Rochester, 869 F.2d 100, 103            Lanham Act.9 See 15 U.S.C. §§ 1114(1), 1124, 1125(a).
(2d Cir.1989). The role of the court on such a motion is “not
to resolve disputed issues of fact but to assess whether there
are any factual issues to be tried.” Knight v. United States         Sections 32 and 43(a)
Fire Ins. Co., 804 F.2d 6, 11 (2d Cir.1986). The “court must
view the evidence in the light most favorable to the party            *4 Section 32 of the Act prohibits the use in commerce,
against whom summary judgment is sought and must draw                without consent, of any “reproduction, counterfeit, copy,
all reasonable inferences in his favor.” L.B. Foster Co. V.          or colorable imitation of a registered mark in connection
American Piles, Inc., 138 F.3d 81, 87 (2d Cir.1998); Anderson        with the sale, offering for sale, distribution, or advertising
v. Liberty Lobby, Inc., 477 U.S. 242, 255, 106 S.Ct. 2505, 91        of any goods,” in a way that is likely to cause confusion
L.Ed.2d 202 (1986).                                                  with plaintiff's registered trademarks. 15 U.S.C. § 1114(1)
                                                                     (a). Section 43(a) prohibits similar conduct, though it is
                                                                     not limited to registered trademarks, and deems liable for
                                                                     false designation of origin “[a]ny person who ... uses in
Defendant Snyder's Failure to Respond
                                                                     commerce any container for goods ... name, symbol, device ...
Local Rule 56.1 of the Eastern and Southern Districts of             or any false designation of origin..which is likely to cause
New York requires that all summary judgment motions be               confusion.” 15 U.S.C. § 1125(a); see also Chambers v. Time
accompanied by a “short or concise statement of material facts       Warner, Inc., 282 F.3d 147, 155 (2d Cir.2002). Liability is
as to which the moving party contends there is no genuine            established under both Sections 32 and 43(a) of the Lanham
issue to be tried.” Local Rule 56.1(a). The rule also requires       Act if a plaintiff can demonstrate (1) that it has a valid
that the party opposing summary judgment file a response             trademark entitled to protection under the Act, and (2)
setting forth the material facts about which it contends there       defendant's actions are “likely to cause confusion.” Arrow
exists a triable issue. Because defendant Snyder has failed          Fastener v. Stanley Works, 59 F.3d 384, 390 (2d Cir.1995).
to file any response, all facts contained in plaintiff's Rule
                                                                     In this case, plaintiff's certificates of registration with the
56.1 statement are deemed admitted.8 See Local Rule 56.1(b)
                                                                     USPTO for the Marlboro Marks are “prima facie evidence
and (d). However, defendant Snyder's failure to respond to
                                                                     that the mark[s][are] registered and valid (i.e.protectible), that
plaintiff's motion does not mean that plaintiff automatically
                                                                     the registrant owns the mark[s], and that the registrant has
prevails. See e.g. Addickes v. S.H. Kress & Co., 398 U.S.
                                                                     the exclusive right to use the mark[s] in commerce.” Lane
144, 160, 90 S.Ct. 1598, 26 L.Ed.2d 142 (1970). The
                                                                     Capital Management, Inc. v. Lane Capital Management, Inc.,
moving party must “nevertheless offer facts supporting its
                                                                     192 F.3d 337, 345 (2d Cir.1999); 15 U.S.C. § 1067(b) (“A
Rule 56.1 Statement, and must satisfy the movant's Rule 56
                                                                     certificate of registration of a mark ... shall be prima facie
burden.” Smith v. Principi, 2004 WL 1857582, at *1, n. 1
                                                                     evidence of the validity of the registered mark”). Thus, the
(S.D.N.Y.2004); see also Vermont Teddy Bear Co., Inc. v.



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plaintiff has established that its Marlboro Marks are valid and     denied, 486 U.S. 1042, 108 S.Ct. 2033, 100 L.Ed.2d 618
entitled to protection under the Act.                               (1988); Disenos Articos E Industriales, S.A. v. Work, 676
                                                                    F.Supp. 1254, 1271 (E.D.N.Y.1987). In this case, it has not
In considering the likelihood of confusion, district courts         been disputed that defendant Snyder, together with others,
generally apply eight nonexclusive factors, known as the            imported at least five separate shipments of cigarettes from
Polaroid factors:                                                   China bearing counterfeit Marlboro marks.10 Accordingly,
                                                                    plaintiff has established defendant Snyder's liability under
   (1) the strength of the plaintiff's mark; (2) the similarity
   of plaintiff's and defendant's marks; (3) the competitive        Section 42 of the Lanham Act.11
   proximity of their products; (4) the likelihood that plaintiff
   will “bridge the gap” and offer a product like defendant's;
   (5) actual confusion between products; (6) defendant's           Injunctive Relief
   good faith; (7) the quality of defendant's product as
   compared to plaintiff's; and (8) the sophistication of the       Plaintiff seeks to permanently enjoin defendant Snyder from
   purchasers.                                                      future trademark infringement.12 Section 34(a) of the Lanham
Streetwise Maps, Inc. v. VanDam, Inc., 159 F.3d 739, 742-43         Act provides courts with the “power to grant injunctions
(2d Cir.1998) (citing Polaroid Corp. v. Polarad Elecs. Corp.,       according to the principles of equity and upon such terms
287 F.2d 492, 495 (2d Cir.1961). However, in cases involving        as the Court may deem reasonable, to prevent the violation
counterfeit marks, “the Court need not undertake a factor-by-       of any right of the registrant of a mark registered in the
factor analysis under Polaroid because counterfeits, by their       Patent and Trademark Office.” 15 U.S.C. § 1116(a). To
very nature, cause confusion.” Gucci America, Inc. v. Duty          obtain a permanent injunction, plaintiff must demonstrate
Free Apparel, Ltd., 286 F.Supp.2d 284, 287 (S.D.N.Y.2003);          (1) actual success on the merits and (2) irreparable harm.
Phillip Morris USA Inc. v. Felizardo, 2004 WL 1375277, at           See e.g., Gucci America, Inc., 286 F.Supp.2d at 290;
*5 (S.D.N.Y.2004). Thus, the Court “need only determine the         Wojnarowicz v. American Family Ass'n, 745 F.Supp. 130,
more fundamental question of whether there are items to be          148, n. 13 (S.D.N.Y.1990). As previously discussed, plaintiff
confused in the first place-that is, whether the items at issue     has established success on the merits on its Lanham Act
here are, in fact, counterfeit, and whether defendant [Snyder]      claims. Moreover, in this Circuit, “proof of a likelihood
sold those items.” Gucci America, Inc., 286 F.Supp.2d at            of confusion establishes both likelihood of success on the
287. In this case, it has not been disputed that the items          merits and irreparable harm.” Brennan's Inc. v. Bennan's
at issue are counterfeit Marlboro brand cigarettes, and that        Rest., 360 F.3d 125, 29 (2d Cir.2004); Genesee Brewing Co.,
defendant Snyder sold and distributed these items. See Pl.          Inc. v. Stroh Brewing Co., 124 F.3d 137, 142 (2d Cir.1997).
56.1 Statement at ¶ 29. Accordingly, defendant Synder's             Accordingly, plaintiff is entitled to a permanent injunction
actions caused a likelihood of consumer confusion, and              enjoining defendant Snyder from further infringement of
plaintiff has established liability under Sections 32 and 43(a)     plaintiff's trademarks. See e.g., Phillip Morris v. Felizardo,
of the Lanham Act. See Phillip Morris Inc. v. Felizardo, 2004       2004 WL at *7; Gucci America, Inc., 286 F.Supp.2d at 290.
WL at *5.


                                                                    Damages
Section 42
                                                                    Plaintiff seeks statutory damages rather than actual damages
 *5 Section 42 of the Lanham Act, 15 U.S.C. § 1124, provides        for defendant Snyder's infringement. Plaintiff argues that it is
in relevant part that “no article of imported merchandise ...       entitled to recover $4 million in statutory damages based on
which shall copy or simulate a trademark registered in              defendant Snyder's willful use of counterfeit versions of four
accordance with the provisions of this chapter ... shall be         registered Marlboro Marks. Section 35(c) of the Lanham Act
admitted entry at any customhouse of the United States.”            provides that:
The Second Circuit has explained that 15 U.S.C. § 1124
“applies only to merchandise bearing counterfeit or spurious          [i]n a case involving the use of a counterfeit mark ... in
trademarks that copy or simulate genuine trademarks.”                 connection with the sale, offering for sale, or distribution of
Olympus Corp. v. U.S., 792 F.2d 315, 322 (2d.Cir.1986), cert.         good or services, the plaintiff may elect, at any time before



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   final judgment is rendered by the trial court, to recover,          I at 7). Given the evidence of willfulness, demonstrated
   instead of actual damages and profits ..., an award of              by defendant Snyder's own admissions, the size of the
   statutory damages for any such use in connection with the           potential profit, the large quantities of cigarettes involved,
   sale, offering for sale, or distribution of goods or services ...   and the need for a substantial deterrent to future misconduct
 *6 15 U.S.C. § 1117(c). Congress added the statutory                  by Snyder and other similarly situated counterfeit cigarette
damages provision of the Lanham Act in 1995 because                    traffickers, I find that the maximum statutory award is
“counterfeiters' records are frequently nonexistent ... making         warranted. See e.g. Phillip Morris USA, Inc. v. Castworld
proving actual damages in these cases extremely difficult,             Products, Inc., 219 F.R.D. 494, 501-02 (C.D.Cal.2003)
if not impossible.” See Gucci America, Inc., 315 F.Supp.2d             (awarding maximum statutory award of $2 million for
at 520. A plaintiff may recover “not less than $500 or                 the infringement of two trademarks where the defendant
more than $100,000 per counterfeit mark per type of goods              “import[ed] 8,000,000 counterfeit cigarettes, having a street
or services sold ...” 15 U.S.C. § 1117(c)(1). If the Court             value of millions of dollars.”); Phillip Morris USA, Inc.
finds that “the use of the counterfeit mark was willful,”              v. David Banh, et.al., CV-03-4043 (GAF) (C.D.Cal.2005)
then the plaintiff may recover “not more than $1,000,000               (awarding maximum statutory award); Phillip Morris USA,
per counterfeit mark ...” Id. at 1117(c)(2). “The standard             Inc. v. Sheng Chen Lin, CV-03-08923 (CAS) (C.D.Cal.2004)
for willfulness is whether the defendant had knowledge that            (same); Gucci America, Inc., 315 F.Supp.2d at 520-21
[his] conduct represented infringement or perhaps recklessly           (awarding $2 million in statutory damages for use of two
disregarded the possibility.” Kepner Tregoe, Inc. v. Vroom,            counterfeit marks). The counterfeit cigarettes imported and
186 F.3d 283, 299 (2d Cir.1999).                                       sold by defendant Snyder and his co-conspirators infringed
                                                                       upon four of plaintiff's registered and valid trademarks: the
District courts have wide discretion in awarding statutory             Marlboro® brand trademark (i.e. the word “Marlboro”), the
damages. See Cable/Home Communication Corp. v. Network                 Marlboro Roof Design Label® mark (i.e. the red and gold
Prod., Inc., 902 F.2d 829, 852 (11 th Cir.1990). Although              pentagonal label), the Marlboro Lights® brand trademark
Section 1117(c) “does not provide guidelines for courts to             (i.e. the phrase “Marlboro Lights”), and the Marlboro Lights
use” in determining an appropriate statutory damage award,             Roof Design Label® mark (i.e. the gold pentagonal label).
“many courts have found guidance in the caselaw of an                  (See Supplemental Decl. of Samuel Barkin ¶¶ 3-4; Newman
analogous provision of the Copyright Act, 17 U.S.C. §                  Aff. Ex. 1).13 Accordingly, plaintiff is entitled to a maximum
504(c), which also provides for statutory damages for willful          statutory award of $4,000,000.
infringement.” Gucci America, 315 F.Supp.2d at 520; Sara
Lee Corp. v. Bags of New York, Inc., 36 F.Supp.2d 161, 165-67
(S.D.N.Y.1999); Rodgers v. Anderson, 2005 WL 950021,
                                                                       Motion for Default Judgment, Damages and Injunctive Relief
at *2 (S.D.N.Y.2005). Using Copyright Act caselaw as a
guide, courts have considered the following factors in setting
statutory damage awards under the Lanham Act: defendant's              Default Judgment
profits from infringement, the defendant's wilfulness, the size
of defendant's counterfeiting operation, defendant's efforts to         *7 Plaintiff also moves for an entry of default judgment
mislead and conceal, “the deterrent effect on others besides           against defendants Berardelli, Deland, Farnham, Kennedy,
the defendant ... and the potential for discouraging the               and Doctor pursuant to Fed.R.Civ.P. 55(b). Pursuant to
defendant.” Sara Lee Corp. ., 36 F.Supp.2d at 166.                     Fed.R.Civ.P. 55(b), a Court may enter a default judgment
                                                                       against a party who “has failed to plead or otherwise defend”
In this case, I find that defendant Snyder's conduct was               an action, and this constitutes a final judgment in the
willful. Defendant Snyder recently pled guilty to knowingly            action.14 Id. at 325. The Second Circuit has noted that default
and intentionally conspiring to traffic counterfeit cigarettes.        judgments are “left to the sound discretion of the district
(Johnson Decl. Ex. D). Moreover, defendant's counterfeiting            court because it is in the best position to assess the individual
operating was large, involving at least 200,000 cartons and            circumstances of a given case and to evaluate the credibility
millions of cigarettes. (Johnson Decl. Ex. B, Criminal Compl.          and good faith of the parties.” Enron Oil, 10 F.3d at 95. An
at 3). The government, using a conservative retail price               entry of default judgment should be made only where there
of $23.50 per carton, estimated the total value of the five            was willful default, involving more than a failure to answer
infringing shipments to be $4,773,790. (Johnson Decl. Ex.



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as a result of negligence or carelessness. See SEC v. McNulty,       (C.D.Cal.2003) (“failure to grant injunction would needlessly
137 F.3d 732, 738 (2d Cir.1998).                                     expose Plaintiff to the risk of continuing irreparable harm”).

In this case, defendants Berardelli, Deland, Farnham,                *8 Plaintiff also seeks statutory damages against three of
Kennedy, and Doctor have failed to file an answer or                 the defaulting defendants, Berardelli, Deland and Farnham,16
otherwise respond to the complaint, which was filed by               jointly and severally, in the amount of $4 million, based
plaintiff in March 2003, or to respond to plaintiff's application    on their willful use of counterfeit versions of four
for default judgment.15 Having failed to provide any                 Marlboro Marks. (See Pl. Default Judgment Memo at 2,
explanation for their failure to defend, I find that these           9). Plaintiff submits evidence that these defendants, along
defendants have defaulted willfully. See Cablevision Systems         with defendant Snyder and others, imported counterfeit
New York City Corporation v. Leach, 2002 WL 1751343,                 cigarettes that infringed upon four registered Marlboro
at *2 (S.D.N.Y.2002)(default willful where defendant never           Marks: the Marlboro® brand trademark (i.e. the word
responded to the complaint, appeared, or explained default).         “Marlboro”), the Marlboro Roof Design Label® mark
Plaintiff has documented service of its complaint and of its         (i.e. the red and gold pentagonal label), the Marlboro
motion papers. There is no indication that requiring plaintiff       Lights® brand trademark (i.e. the phrase “Marlboro Lights”),
to take further steps prior to a determination on the merits         and the Marlboro Lights Roof Design Label® mark (i.e.
would be effective in eliciting a response. See id. Accordingly,     the gold pentagonal label). (See Supplemental Decl. of
an entry of default judgment is appropriate.                         Samuel Barkin ¶¶ 3-4; Newman Aff. Ex. 1). As previously
                                                                     discussed, under 15 U.S.C. § 1117(c) a plaintiff may
                                                                     elect to pursue statutory rather than actual damages.
                                                                     “Several courts have found statutory damages especially
Damages and Injunctive Relief
                                                                     appropriate in default judgment cases due to infringer
“While a party's default is deemed to constitute a concession        nondisclosure.” PetMed Express, Inc. V, MedPets.Com, Inc.,
of all well pleaded allegations of liability, it is not considered   336 F.Supp.2d 1213, 1219 (S.D.Fla.2004)(citing Sara Lee
an admission of damages.” See Greyhound Exhibitgroup v.              Corp., 36 F.Supp.2d at 165). Here, given the willfulness
E.L.U.L. Realty Corp., 973 F.2d 155, 158 (2d Cir.1992), cert.        of Berardelli, Deland and Farnham who each pled guilty
denied, 506 U.S. 1080, 113 S.Ct. 1049, 122 L.Ed.2d 357               to knowingly trafficking counterfeit cigarettes, the size of
(1993). A plaintiff must substantiate a claim with evidence          the potential profit given the large quantities of cigarettes
to prove the extent of damages. Although an evidentiary              involved, and the need for a substantial deterrent to future
hearing may be held, “it is not necessary for the district court     misconduct by defendants and other counterfeit cigarette
to hold a hearing, as long as ... there was a basis for the          traffickers, I find that plaintiff is entitled to the maximum
damages specified in the default judgment.” Transatlantic            statutory award under 15 U.S.C. § 1117(c)(2)-$4,000,000
Marine Claims Agency, Inc. v. Ace Shipping Corp., 109 F.3d           or $1,000,000 per counterfeit mark. See e.g. Phillip Morris
105, 111 (2d Cir.1997); Tamarin v, Adam Caterers, Inc., 13           USA, Inc. v. Castworld Products, Inc., 219 F.R.D. at 501-02
F.3d 51, 54 (2d Cir.1993)(district judges are given much             (C.D.Cal.2003)(awarding maximum statutory award of $2
discretion to determine whether an inquest need be held).            million for the infringement of two trademarks where the
                                                                     defendant “import [ed] 8,000,000 counterfeit cigarettes,
In this case, plaintiff seeks a permanent injunction against all     having a street value of millions of dollars”); Phillip
defaulting defendants enjoining them from future distribution        Morris USA, Inc. v. Glenda Patton, CV-03-2569 (GAF)
and sale of counterfeit Marlboro brand cigarettes. As                (C.D.Cal.2003) (granting default judgment and awarding
previously discussed, Section 34(a) of the Lanham Act gives          plaintiff maximum statutory damages in the amount of $4
courts the “power to grant injunctions ... to prevent the            million).
violation of any right of the registrant of a mark registered in
the Patent and Trademark Office.” 15 U.S.C. § 1116(a). Given
the risk of irreparable harm caused by default defendants'           CONCLUSION
continued sale of counterfeit Marlboro brand cigarettes, I
find that permanent injunctive relief is warranted. See Phillip      For the reasons set forth above, (1) plaintiff's motion
Morris, USA v. Castworld Products, Inc., 219 F.R.D. 494, 502         for partial summary judgment against defendant Snyder
                                                                     on Claims 1,2, 5, and 7 alleged in the complaint is


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                                                                     Plaintiff is directed to settle a final judgment on notice
granted; (2) plaintiff's motion for an entry of default
                                                                     in accordance with this opinion and its undertaking to
judgment against defendants Berardelli, Deland, Farnham,
                                                                     discontinue claims not made the subject of the motion. The
Kennedy, and Doctor pursuant to Fed.R.Civ.P. 55(b) is
                                                                     Clerk is directed to furnish a filed copy of the within to all
granted; (3) defendants Snyder, Berardelli, Deland, Farnham,
                                                                     parties and to the Magistrate.
Kennedy, and Doctor are permanently enjoined from future
infringement of plaintiff's trademarks; and (4) plaintiff
                                                                      *9 SO ORDERED.
is awarded $4 million in statutory damages, for which
defendants Snyder, Berardelli, Deland, and Farnham are
liable, jointly and severally.                                       All Citations

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Footnotes
1      Plaintiff's complaint also named as defendants Simon Moshel, Michael Moshel and Mary Kim Jamieson. Plaintiff has
       entered a Consent Judgment with defendants Simon and Michael Moshel, which was “so ordered” by this Court on
       February 2, 2005. Pursuant to the Consent Judgment, defendants Simon and Michael Moshel agreed to pay plaintiff
       $150,000 and were permanently enjoined from selling counterfeit or illegally imported Marlboro cigarettes. (See Consent
       Judgment at 2). Plaintiff also filed a notice of voluntary dismissal of the claims asserted against defendant Mary Kim
       Jamieson without prejudice, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure on July 22, 2005.
2      The defendants against whom these motions are brought appear to be proceeding pro se.
3      The criminal complaint also named Simon and Michael Moshel as defendants. (Johnson Dec. Ex. B at 1).
4      18 U.S.C. § 545 provides in relevant part that:
            Whoever knowingly and wilfully ... smuggles or clandestinely introduces ... into the United States any merchandise
            which should have been invoiced .... or fraudulently or knowingly imports or brings into the United States any
            merchandise contrary to law ... [s]hall be fined under this title or imprisoned ...
          18 U.S.C § 2320 provides in relevant part that:
            Whoever intentionally traffics or attempts to traffic in goods or services and knowingly uses a counterfeit mark on or
            in connection with such good or services shall be fined ... or imprisoned ...
5      Defendants Snyder, Deland and Farnham were also charged in the United States District Court for the Western District
       of Texas with smuggling and trafficking counterfeit cigarettes in violation of 18 U.S.C §§ 371, 2342(a) and 2320(a).
       Defendant Synder pled guilty and was sentenced to 27 months imprisonment in December 2003. He was also ordered
       to pay $861,260 in restitution for unpaid cigarette taxes. Phillip Morris is not entitled to any part of that restitution award.
       (See Johnson Decl. Ex. G.). Defendants Deland and Farnham also pled guilty, and were sentenced to 24 and 18 months
       imprisonment, respectively. (See Barkin Decl. Ex. 11-12).
6      Although defendants Kennedy and Doctor were not named in the related criminal action, they are alleged in plaintiff's
       complaint to be co-owners or operators of some of the outlets through which the counterfeit cigarettes were sold, including
       “Double D Smoke Shop,” “Marlboroexpress.com” and “Nativeexpress.com.”
7      Defendant Berardelli is not listed on the Clerk's Notation of Default. However, this appears to be an oversight, as plaintiff
       provided the Clerk of Court with a copy of the summons and complaint served by personal service on defendant Berardelli
       on March 25, 2003. (See Barkin Decl., Ex. 14 ¶¶ 7-8; Ex. 15). The default is hereby noted.
8      Plaintiff filed a “Notice to Pro Se Litigant Opposing Motion for Summary Judgment” on May 23, 2005, informing defendant
       Snyder of the consequences of failing to respond to a summary judgment motion. See Champion v. Artuz, 76 F.3d 483,
       486 (2d Cir.1996) (an “easily comprehensible notice” from the party moving for summary judgment provides sufficient
       notice to a pro se litigant).
9      During oral argument before this Court on July 21, 2005, plaintiff's counsel stated that plaintiff intends to dismiss the
       remaining claims against defendant Snyder if plaintiff's motion for partial summary judgment on the claims which are the
       subject of this motion is granted.
10     I should note that in this case, defendant Snyder has not argued nor do plaintiff's submissions indicate that the cigarettes
       imported by defendant Snyder and his co-conspirators were genuine Marlboro cigarettes bearing a genuine trademark.
       The importation of genuine goods, unlike counterfeit goods, is not actionable under the Lanham Act. Olympus Corp.,
       792 F.2d at 321-22.



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11     While plaintiff moves for summary judgment on this claim, plaintiff does not brief this issue in its supporting memorandum,
       apart from stating that “the same facts that support Phillip Morris USA's First and Second Claims also establish Plaintiff's
       Fifth claim for violation of Section 42 of the Lanham Act, 15 U.S.C. § 1124.” (Pl. Summary Judgment Memo at 1).
12     Specifically, plaintiff seeks to permanently enjoin defendant Snyder from the following: (1) importing, distributing,
       purchasing, selling, offering for sale, or otherwise using in commerce any counterfeit Philip Morris USA branded
       cigarettes; (2) aiding or abetting others in the importation, distribution, purchase, sale, or offering for sale or other use in
       commerce of any Philip Morris USA branded cigarettes; and (3) engaging in any other activity constituting infringement
       of Phillip Morris USA's rights in any Phillip Morris USA trademarks, including without limitation the Marlboro Marks. (See
       Pl. Summary Judgment Memo at 12).
13     Plaintiff's original submissions did not provide sufficient evidence of the number of counterfeit marks used by defendant
       Snyder and his co-conspirators. During oral argument held on July 21, 2005, the Court advised plaintiff to provide
       additional evidence on the issue. Plaintiff subsequently provided an affidavit from Assistant United States Attorney Debra
       D. Newman, the attorney assigned to the criminal proceedings against defendant Snyder and his co-conspirators, dated
       August 2, 2005 (“Newman Aff.”), accompanied by two sample counterfeit cigarette packs that were seized by customs
       officials. The sample packs were packaged to look like genuine Marlboro and Marlboro Lights cigarette packs, and contain
       counterfeit versions of the four trademarks discussed above. (Newman Aff. Ex. 1).
14     Fed.R.Civ.P. 55(a) provides that a “clerk may enter a default upon being advised by affidavit or otherwise that a party
       against whom a judgment for affirmative relief is sought has failed to plead or otherwise defend.” Enron Oil Corp. v.
       Diakuhara, 10 F.3d 90, 95 (2d Cir.1993). Unlike a court's entry of default judgment pursuant to Fed.R.Civ.P. 55(b), a
       clerk's “default notation is an interlocutory action; it is not itself a [final] judgment.” Dow Chemical Pacific Ltd. v. Rascator
       Maritime S.A., 782 F.2d 329, 335 (2d Cir.1986).
15     In a letter to the Court, plaintiff's attorney Samuel Barkin stated that he had “receive[d] a request from defaulting defendant
       Timothy Farnham for a 3 week extension of time to respond to Phillip Morris's default judgment against him.” As a
       result of that letter, oral argument on this motion was continued from June 6 to July 21, 2005. However, since that last
       communication, Farham has not filed any response to the default judgment motion.
16     Plaintiff does not seek any damages against defendants Doctor and Kennedy, the two defendants who were not criminally
       prosecuted. (See Pl. Default Judgment Memo at 10, n. 8).


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